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            EXHIBIT B
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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 Beazley One Management Liability Insurance Policy

 DECLARATIONS


 NOTICE: THIS POLICY IS A CLAIMS MADE AND REPORTED POLICY SUBJECT TO ITS TERMS. IT APPLIES
 ONLY TO ANY CLAIM FIRST MADE AGAINST THE INSURED DURING THE POLICY PERIOD AND REPORTED IN
 WRITING TO THE UNDERWRITERS AS SOON AS PRACTICABLE BUT IN NO EVENT LATER THAN THE END OF
 THE POLICY PERIOD, IN ACCORDANCE WITH AN APPLICABLE EXTENSION PERIOD, OR 60 DAYS AFTER THE
 POLICY PERIOD EXPIRATION DATE IN THE CASE OF A CLAIM FIRST MADE DURING THE LAST 60 DAYS OF
 THE POLICY PERIOD. AMOUNTS INCURRED AS DEFENSE COSTS SHALL REDUCE AND MAY EXHAUST THE
 APPLICABLE LIMITS OF LIABILITY AND ARE SUBJECT TO THE APPLICABLE RETENTIONS. THE
 UNDERWRITERS HAVE NO OBLIGATION TO PAY DEFENSE COSTS OR ANY SETTLEMENTS OR JUDGMENTS
 ONCE THE APPLICABLE LIMIT OF LIABILITY IS EXHAUSTED. PLEASE READ THIS POLICY CAREFULLY.

 These Declarations along with the completed and signed Application and the Policy with endorsements
 shall constitute the contract between the Insureds and Underwriters.

 Underwriters:     Beazley Insurance Company, Inc.                  Policy Number:        V17FCF170301


  Item 1.   Named Insured: Equinox Holdings, Inc.

            Principal Address:
            895 Broadway
            New York, NY 10003

  Item 2.   Policy Period:      From: 10-Mar-2017                  To: 10-Mar-2018

            Both dates at 12:01 a.m. Local Time at the Principal Address stated in Item 1.

  Item 3.   Clauses Forming This Policy
            Policy Terms and Conditions (F00041 042008 ed.)
            Employment Practices Liability Clause (F00038 042008 ed.)
            Employment Event Clause (F00037 042008 ed.)
            Fiduciary Liability Clause (F00040 042008 ed.)
  Item 4.   Aggregate Limit(s) of Liability

            Limits of Liability applicable to each clause are shared or separate under this Policy as indicated:

                       Shared


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               X       Separate (Other than sublimits as indicated)

                       Not Applicable

                                             Clause                                  Aggregate Limit of Liability for
                                                                                          the Policy Period
             All Coverages Under This Policy                                                  $15,000,000
             Additional Defense Limit                                                             N/A
             Employment Practices Liability Limit                                             $10,000,000
             Third Party Wrongful Acts Sublimit                                               $10,000,000
             Employment Event Sublimit                                                          $50,000
             Fiduciary Liability Clause Limit                                                  $5,000,000

 Item 5.     Retention(s)

                                             Clause                                      Retention each Claim:
             Employment Practices Liability Retention                                           $150,000
             Third Party Wrongful Acts Retention                                                $150,000
             Fiduciary Liability Retention                                                         $0

 Item 6.     Premium:

 Item 7.     Optional Extension Period

 a. Premium for Optional Extension Period:            95% of the total annual premium for the Policy

 b. Length of Optional Extension Period:              12 Months

 Item 8.     Notification Under This Policy

 a. Notification pursuant to Clause IX. shall be           b. All other notices under this Policy shall be given to:
    given to:                                                  Beazley Insurance Company, Inc.
   Beazley Insurance Company, Inc.                             30 Batterson Park Road
   30 Batterson Park Road                                      Farmington, CT 06032
   Farmington, CT 06032                                        Tel: (860) 677-3700
   Attn: Claims                                                Fax: (860) 679-0247
   Or by email: claims@beazley.com                             Attn: Claims
                                                               Or by email: claims@beazley.com




 Item 9.     Pending or Prior Litigation Date(s)
                                             Clause                                               Date

             Employment Practices Liability Clause                                            10-Feb-2006

             Third Party Wrongful Acts                                                        10-Feb-2006


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             Fiduciary Liability Clause                                                     10-Feb-2006

 Item 10.    Terrorism Coverage:

             Coverage Purchased:      X Yes         No

             If "Yes", Terrorism Coverage Premium:

 Item 11.    Endorsements Effective at Inception
             1. A00529NYFTZ 122010 ed.          New York Free Trade Zone Amendatory Endorsement to
                                                Employment Practices Liability Clause
             2. A00999NYFTZ 052013 ed.          New York Free Trade Zone Amendatory Endorsement To
                                                Fiduciary Liability Clause
             3. A00531NYFTZ 122010 ed.          New York Free Trade Zone Amendatory Endorsement to Policy
                                                Terms and Conditions
             4. A00530NYFTZ 122010 ed.          New York Required Addendum To Declarations Page and
                                                Application
             5. E06919 032015 ed.               Policyholder Disclosure Notice of Terrorism Insurance
                                                Coverage
             6. E02804ANY 112011 ed.            Sanction Limitation and Exclusion Clause - New York
             7. E00946 012009 ed.               Amend Acquisition Threshold
             8. E01596 122009 ed.               Amend Definition of Application
             9. E07072 052015 ed.               Amend Definition of Discrimination
             10. E00750 092008 ed.              Amend Definition of Employee to Include Future Employees
             11. EEH014NYFTZ 042015 ed.         Amend Definition of Independent Contractor
             12. E01607 122009 ed.              Amend Harassment To Include Bullying
             13. E01961 102011 ed.              Amend Notice Of Claim To Include E-mail
             14. E05546 022014 ed.              Amend Notice of Control Group
             15. E00976 012009 ed.              Amend Other Insurance - Valid And Collectible
             16. E00952 012009 ed.              Amend Sublimit for Voluntary Compliance Fees and Defense
                                                Costs
             17. E00694 082008 ed.              Amend Subsidiary Endorsement
             18. E01617 122009 ed.              Amend Third Party Wrongful Act
             19. E01445 092009 ed.              HIPAA Endorsement
             20. E05495 022014 ed.              Investment Loss
             21. E01321 112009 ed.              Leaders Preferred Endorsement Employment Practices Liability
                                                Clause
             22. E00812 102008 ed.              Optional Extension Period Options
             23. E04714 052013 ed.              Patient Protection and Affordable Care Act
             24. E00903 012009 ed.              Pre-Approved Choice Of Counsel Endorsement
             25. E00903 012009 ed.              Pre-Approved Choice Of Counsel Endorsement
             26. E02496 012011 ed.              Pro Rata Cancellation For Any Reason
             27. E00849 122008 ed.              Retaliation Carveback To NLRA Exclusion
             28. E00978 012009 ed.              Separate Pending And Prior Litigation Date For Excess Limit Of
                                                Liability Under Scheduled Clause
             29. E00691 082008 ed.              Separate Retention For Class or Mass Action Claims
             30. E05121 112013 ed.              Settlor Endorsement
             31. E06786 022015 ed.              Common Claim Tie-In Limits Endorsement

The Insurer has caused this Policy to be signed and attested by its authorized officers, but it shall not be
valid unless also signed by another duly authorized representative of the Insurer.




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          .                                  10-Apr-2017
 Authorized Representative                   Date




 Secretary                                   President




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 Beazley One Management Liability Insurance Policy
 POLICY TERMS AND CONDITIONS

 In consideration of the payment of the premium, in reliance on all statements made in the Application, and
 subject to all of the provisions of this Policy, Underwriters and the Named Insured, on behalf of all Insureds,
 agree as follows:

 I.     DEFINITIONS

        The following terms whenever used in this Clause in boldface type shall have the meanings indicated.
        Terms not defined below, but appearing in boldface type shall have the meanings indicated in the
        applicable Clause.

        A.      “Change of Control” means:

                1.      the acquisition by any person or entity of more than 50% of the outstanding securities
                        or equity interest of the Named Insured representing the present right to vote for the
                        election of directors or Managers; or

                2.      the merger of the Named Insured into another entity such that the Named Insured is
                        not the surviving entity.

        B.      “Financial Impairment” means the appointment by any state or federal official, agency or
                court of any receiver, trustee, examiner, conservator, liquidator, rehabilitator or similar official to
                take control of, supervise, manage or liquidate the Insured Organization.

        C.      “Insured Organization” means the Named Insured and its Subsidiaries, including any such
                organization as a debtor in possession within the meaning of the United States Bankruptcy
                Code or similar legal status under foreign law.

        D.      “Interrelated Wrongful Acts" means any and all Wrongful Acts which have as a common
                nexus any fact, circumstance, situation, event, transaction, cause or series of causally or
                logically connected facts, circumstances, situations, events, transactions or causes.

        E.      “Managers” means all persons who were, now are, or shall be managers, managing
                members, members of the board of managers, managing partners, general partners of a limited
                partnership (including the board of directors of any such general partner that is a corporation) or
                equivalent executives of any Insured Organization.




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       F.     “Named Insured” means the entity designated in Item 1. of the Declarations.

       G.     “Optional Extension Period” means the period described in Clause XI. of the Policy Terms
              and Conditions.

       H.     “Policy Period” means the period from the effective date and hour of this Policy to the Policy
              expiration date and hour as set forth in Item 2. of the Declarations, or its earlier termination, if
              any.

       I.     “Pollutants” means any substance located anywhere in the world exhibiting any hazardous
              characteristics as defined by or identified on a list of hazardous substances issued by the
              United States Environmental Protection Agency or any federal, state, county, municipality or
              locality counterpart thereof. Such substances shall include, without limitation, solids, liquids,
              gaseous or thermal irritants, contaminants or smoke, vapor, soot, fumes, acids, alkalis, mold,
              spores, fungi, germs, chemicals or waste materials. Pollutants shall also mean any other air
              emission, odor, waste water, oil or oil product, infectious or medical waste, asbestos or
              asbestos product, lead or lead product, noise, and electric, magnetic or electromagnetic field.

       J.     “Subsidiary” means:

               1.     any entity, while more than 50% of the outstanding voting securities representing the
                      present right to vote for the election of such entity's directors are owned by the Named
                      Insured directly or indirectly;

               2.     any limited liability corporation while the right to elect or otherwise appoint or designate
                      more than 50% of such limited liability corporation’s Managers is owned or controlled
                      by the Named Insured directly or indirectly; or

               3.     any joint venture, which is a corporate entity, while the Named Insured has managerial
                      control, or while the right to elect or otherwise appoint more than 50% of such entity’s
                      directors, trustees or other equivalent executive is owned or controlled by the Named
                      Insured directly or indirectly

              if such entity or corporation was so owned or controlled as of or prior to the inception date of
              this Policy.

II.    EXCLUSIONS

       The Underwriters shall not be liable to make any payment for Loss in connection with or resulting from
       any Claim:

       A.     based upon, arising out of, directly or indirectly resulting from or in consequence of, or in any
              way involving:

              1.      any demand, suit, or other proceeding pending, or order, decree or judgment entered,
                      against any Insured on or prior to the applicable Pending or Prior Litigation Date set
                      forth in Item 9. of the Declarations, or any Wrongful Act, fact, circumstance or situation


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                     underlying or alleged therein;

             2.      any Wrongful Act or any fact, circumstance, transaction or situation which has been
                     the subject of any notice of a Claim or notice of a potential Claim given prior to the
                     Policy Period under any other policy;

             3.      any other Wrongful Act whenever occurring, which, together with a Wrongful Act
                     which has been the subject of such notice, would constitute Interrelated Wrongful
                     Acts; or

       B.    against any of the Insured Persons of any Subsidiary or against any Subsidiary subsequent
             to the date such entity ceased to be a Subsidiary based upon, arising out of, directly or
             indirectly resulting from or in consequence of, or in any way involving:

             1.      any Wrongful Act occurring prior to the date such entity became a Subsidiary or
                     subsequent to the date such entity ceased to be a Subsidiary; or

             2.      any Wrongful Act occurring while such entity was a Subsidiary which, together with a
                     Wrongful Act occurring prior to the date such entity became a Subsidiary, would
                     constitute Interrelated Wrongful Acts.

III.   LIMITS OF LIABILITY

       A.    Aggregate Limit(s) of Liability

             The amount(s) shown in Item 4. of the Declarations shall be the Underwriters’ maximum
             aggregate limit(s) of liability under the Policy.

       B.    Additional Defense Limit of Liability

             If purchased as indicated in Item 4. of the Declarations, the applicable amount shown in Item 4.
             shall be the Additional Defense Limit of Underwriters applicable only to Defense Costs which
             Limit shall be separate and in addition to any other limit shown in Item 4. of the Declarations.
             Payment of Defense Costs shall erode the Additional Defense Limit first and will not erode any
             other limit shown in Item 4. until the Additional Defense Limit is exhausted.

       C.    If any Claim against the Insureds gives rise to an obligation both under this Policy and any
             other coverage, line slip or policy of insurance issued by Underwriters or any of its affiliates to
             any Outside Entity, Underwriters’ maximum aggregate limit of liability under all such coverage,
             line slips or policies for all Loss from such Claim shall not exceed the greater of:

             1.      the applicable maximum aggregate limit(s) of liability of this Policy; or

             2.      the maximum aggregate limit of liability under any such other coverage, line slip or
                     policy.




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        D.    The payment of Defense Costs by Underwriters reduces and may totally exhaust the
              applicable Limit(s) of Liability.

        E.    More than one Claim involving the same Wrongful Act or Interrelated Wrongful Acts shall
              be deemed to constitute a single Claim and shall be deemed to have been made at the earliest
              of the following times:

              1.     the time at which the earliest Claim involving the same Wrongful Act or Interrelated
                     Wrongful Acts is first made; or

              2.     the time at which the Claim involving the same Wrongful Act or Interrelated
                     Wrongful Acts shall be deemed to have been made pursuant to Clause IX.B.

       F.     If all aggregate limit(s) of liability are exhausted, Underwriters’ obligations under this Policy
              shall be completely fulfilled and extinguished.

IV.    RETENTIONS

       A.     Underwriters shall be liable for only that part of Loss arising from a Claim which is excess of
              the applicable Retention set forth in Item 5. of the Declarations, and such Retention shall be
              borne by the Insureds uninsured and at their own risk. Any payments made to satisfy the
              retention or deductible under another policy of insurance shall not satisfy or apply towards the
              applicable Retention, or any portion thereof, under this Policy. The Retention shall not apply,
              however, if indemnification by the Insured Organization is not permitted by law or if the
              Insured Organization is not able to indemnify solely by reason of its Financial Impairment.

       B.     In the event more than one of the Insuring Clauses are applicable to a Claim, the Retentions
              set forth in Item 5. of the Declarations shall be applied separately to that part of the Loss
              resulting from such Claim covered by each Insuring Clause. The sum of the Retentions so
              applied shall constitute the Retention applicable to such Claim. The total Retention as finally
              determined shall in no event exceed the largest of the Retentions applicable to Insuring
              Clauses that are applicable to such Claim.

V.     PRESUMPTIVE INDEMNIFICATION

       For all purposes under this Policy, the Insured Organization is presumed to indemnify the Insured
       Persons to the fullest extent permitted by law or pursuant to the by-laws or other organizational
       documents of the Insured Organization for any Loss, or to advance any Defense Costs on their
       behalf, except to the extent that the Insured Organization cannot in fact do so for reasons of
       Financial Impairment.

VI.    SETTLEMENT AND DEFENSE

        A.     Underwriters shall have the right and duty to defend any Claim, including the right to select
               defense counsel, even if any of the allegations are groundless, false or fraudulent; provided,
               however, that Underwriters shall not be obligated to defend or to continue to defend any Claim
               after the applicable Limit of Liability set forth in Item 4. of the Declarations has been
               exhausted.



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            B.    The Insureds shall cooperate with Underwriters and, upon Underwriters’ request, assist in the
                  investigation, settlement and defense of Claims and in enforcing rights of contribution or
                  indemnity against any person or entity which may be liable to the Insureds, shall attend
                  hearings and trials and assist in securing and giving evidence and obtaining the attendance of
                  witnesses.

            C.    The Insureds shall not settle any Claim, select any defense counsel, incur any Defense
                  Costs, admit or assume any liability, stipulate to any judgment or otherwise assume any
                  contractual obligation without Underwriters’ prior written consent, which shall not be
                  unreasonably withheld. Underwriters shall not be liable for any settlement, Defense Costs,
                  assumed obligation, admission or stipulated judgment to which it has not consented or for
                  which the Insureds are not legally obligated as a result of a Claim for a Wrongful Act.
                  Notwithstanding the foregoing, if all Insureds are able to fully and finally dispose of, with
                  prejudice, all Claims that are subject to one Retention for an amount not exceeding such
                  Retention, including Defense Costs, then Underwriters’ consent shall not be required for such
                  disposition.

            D.   Underwriters may, with the consent of the Insureds, settle or compromise any Claim as they
                 deem expedient. If the Insureds withhold consent to a settlement or compromise acceptable
                 to the claimant and Underwriters, then Underwriters’ liability for such Claim shall not exceed:

                 1.     the amount for which the Claim could have settled or compromised and the Defense
                        Costs incurred as of the date such settlement or compromise was proposed to the
                        Insureds; plus

                 2.     70% of any Loss incurred after the date such settlement or compromise was proposed
                        to the Insureds, with the remaining 30% of such Loss to be borne by the Insureds at
                        their own risk and uninsured or the applicable limit of liability whichever is less.

VII.   ALLOCATION

       If both Loss covered by this Policy and non-covered loss are incurred, either because the Claim made
        against the Insured includes both covered and non-covered matters, or because a Claim is made
        against both the Insured and others not insured under this Policy, then such covered Loss and non-
        covered loss shall be allocated as follows:

       a.        one hundred percent (100%) of Defense Costs shall be allocated to covered Loss;

       b.        Settlements, judgments, verdicts and awards shall be allocated between covered Loss and non-
                 covered loss based upon the relative legal and financial exposures of, and the relative benefits
                 obtained in connection with the resolution of the Claim as between the Insureds’ or non-Insureds’
                 exposure to non-covered loss, and the Insureds’ exposure to covered Loss. In making such
                 allocation determination, the Insureds and Underwriters agree to use their best efforts to
                 determine a fair and proper allocation. In the event that an allocation cannot be agreed to, then
                 Underwriters shall make an interim payment of the amount of Loss that the parties agree is not in
                 dispute until a final amount is agreed upon or determined pursuant to the provisions of applicable
                 law.



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VIII.   SPOUSAL AND DOMESTIC PARTNER EXTENSION

        Coverage under this Policy will apply to an Insured Person’s lawful spouse, including any natural
        person qualifying as a domestic partner under the provisions of any applicable federal, state, or local
        law in the United States, but solely by reason of such spousal status or such spouse’s ownership
        interest in property or assets that are sought as recovery for Wrongful Acts.

IX.     NOTIFICATION

        A.     In the event any Executive Officer becomes aware that a Claim has been made against any of
               the Insureds, the Insureds shall, as a condition precedent to their rights to payment under this
               Policy, give to Underwriters notice in writing of such Claim as soon as practicable provided all
               Claims must be reported no later than the end of the Policy Period, in accordance the
               requirements of the Optional Extension Period (if applicable), or sixty (60) days after the
               expiration date of the Policy Period in the case of Claims first made against the Insured
               during the last sixty (60) days of the Policy Period.

        B.     If during the Policy Period, except for the Optional Extension Period, the Insureds first
               become aware of a specific Wrongful Act and if the Insureds during the Policy Period, except
               for the Optional Extension Period, give written notice to Underwriters as soon as practicable
               of:

              1.      the specific Wrongful Act;

              2.      the consequences which have resulted or may result therefrom; and

              3.      the circumstances by which the Insureds first became aware thereof,

               then any Claim made subsequently arising out of such Wrongful Act shall be deemed for the
               purposes of this Policy to have been made at the time such notice was first given.

               Underwriters shall have no obligation to cover any amounts, including any legal fees or
               expenses, incurred prior to the time such circumstances result in a Claim.

        C.     Notice to Underwriters provided for in Clause IX.A. and B. shall be given to the firm shown in
               Item 8.(a) of the Declarations. All other notices to Underwriters under this Policy shall be given
               to the firm shown in Item 8.(b) of the Declarations. All notices under any provision of this Policy
               must be made in writing. Notices given as described above shall be deemed to be received
               and effective upon actual receipt thereof by the addressee.

X.      GENERAL CONDITIONS

        A.     Representations.

                By acceptance of this Policy, the Insureds agree:

               1.      that the statements in the Application are their representations, and that this Policy is
                       issued in reliance upon the truth of such representations;


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              2.     that in the event that the Application contains misrepresentations made with the actual
                     intent to deceive, or contains misrepresentations which materially affect either the
                     acceptance of the risk or the hazard assumed by Underwriters under this Policy, this
                     Policy shall not afford any coverage with respect to those Insureds who made or had
                     knowledge of such misrepresentations; and

              3.     that this Policy shall not afford any coverage for amounts paid by the Insured
                     Organization as indemnification of any of the Insureds who made or had knowledge of
                     the misrepresentations set forth in Clause X.A.2.;

             None of the foregoing provisions in Clause X.A. shall in any other way limit or void
             Underwriters’ rights to rescind this Policy; provided, that the Underwriters shall not rescind this
             Policy where coverage is being provided to an Insured Person where indemnification by the
             Insured Organization is not permitted by law or the Insured Organization is not able to
             indemnify solely by reason of its Financial Impairment.

       B.    Run-Off

             1.      In the event any entity ceases to be a Subsidiary as defined herein after the inception
                     date of this Policy, or of any policy issued by Underwriters of which this Policy is a
                     renewal or replacement, this Policy, subject to its terms including without limitation
                     Exclusion B. above, shall continue to apply to any of the Insured Persons who were
                     covered under this Policy because of their service with such entity and to such
                     Subsidiary.

             2.      In the event of a Change of Control after the inception date of this Policy or of any
                     policy issued by Underwriters of which this Policy is a renewal or replacement, this
                     Policy, subject to its terms, shall continue to apply to the Insureds but only with respect
                     to any Wrongful Act committed or allegedly committed prior to the Change of Control.

       C.    Cancellation/Nonrenewal

             1.      By acceptance of this Policy, the Insureds hereby confer the exclusive power and
                     authority to cancel this Policy on their behalf to the Named Insured. Such entity may
                     cancel this Policy by surrender thereof to Underwriters, or by mailing to Underwriters
                     written notice stating when thereafter such cancellation shall be effective. The mailing
                     of such notice shall be sufficient notice and the effective date of cancellation stated in
                     the notice shall become the end of the Policy Period. Delivery of such written notice
                     shall be equivalent to mailing.

             2.      Underwriters may cancel this Policy only for nonpayment of premium by mailing to the
                     Named Insured written notice stating when, not less than ten (10) days thereafter,
                     such cancellation shall be effective. The mailing of such notice shall be sufficient
                     notice and the effective date of cancellation stated in the notice shall become the end
                      of the Policy Period. Delivery of such written notice by Underwriters shall be
                      equivalent to mailing.




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              3.      If this Policy is cancelled pursuant to 1. hereinabove, Underwriters shall retain the
                      customary short rate proportion of the premium hereon. If this Policy is cancelled
                      pursuant to 2. hereinabove, Underwriters shall retain the pro rata proportion of the
                      premium hereon. Payment or tender of any unearned premium by Underwriters shall
                      not be a condition precedent to the effectiveness of cancellation.

              4.      Underwriters may nonrenew this Policy by mailing to the Named Insured written notice
                      of nonrenewal not less than sixty (60) days before the end of the Policy Period. The
                      mailing of such notice shall be sufficient notice. Delivery of such written notice by
                      Underwriters shall be equivalent to mailing.

       D.     Other Insurance

              This Policy shall apply in excess of any other existing valid policy including any self Insured
              retention or deductible portion thereof, whether such other insurance is stated to be primary,
              contributory, excess, contingent or otherwise, and regardless of whether or not any Loss in
              connection with such Claim is collectible or recoverable under such other policy, unless such
              other policy is written only as specific excess insurance over the Limits of Liability of this Policy.

XI.    OPTIONAL EXTENSION PERIOD

       A.     If this Policy is cancelled by the Named Insured or if Underwriters nonrenew this Policy, then
              the Named Insured shall have the right, upon payment of an additional premium calculated at
              that percentage shown in Item 7.a. of the Declarations of the total annual premium for this
              Policy, to an extension of the coverage granted by this Policy with respect to any Claim first
              made during the period of time set forth in Item 7.b. of the Declarations after the end of the
              Policy Period, but only with respect to any Wrongful Act committed before the effective date
              of cancellation or nonrenewal.

       B.     As a condition precedent to the right to purchase the Optional Extension Period, the total
              premium for this Policy must have been paid. The right to purchase the Optional Extension
              Period shall terminate unless written notice together with full payment of the premium for the
              Optional Extension Period is given to Underwriters within thirty (30) days after the effective
              date of cancellation or nonrenewal. If such notice and premium payment is not so given to
              Underwriters, there shall be no right to purchase the Optional Extension Period.

       C.     In the event of the purchase of the Optional Extension Period, the entire premium for the
              Optional Extension Period shall be deemed earned at its commencement.

       D.     The exercise of the Optional Extension Period shall not in any way increase the Limit(s) of
              Liability of Underwriters.

       E.     The offer of renewal terms, conditions or premiums different from those in effect prior to renewal
              shall not constitute a refusal to renew for purposes of this Clause XI.

XII.   ASSISTANCE, COOPERATION AND SUBROGATION

       The Insureds agree to provide Underwriters with such information, assistance and cooperation as
       Underwriters or their counsel may reasonably request, and they further agree that they shall not take

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        any action which in any way increases Underwriters’ exposure under this Policy.

        In the event of any payment under this Policy, Underwriters shall be subrogated to the Insureds’ rights
        of recovery against any person or entity. The Insureds shall execute all papers required and shall do
        everything that may be necessary to secure and preserve such rights including the execution of such
        documents as are necessary to enable Underwriters effectively to bring suit in their name, and shall
        provide all other assistance and cooperation which Underwriters may reasonably require.

XIII.   ACTION AGAINST UNDERWRITERS

        No action shall lie against Underwriters unless, as a condition precedent thereto, the Insureds shall
        have fully complied with all of the terms of this Policy, and the amount of the Insureds’ obligation to
        pay shall have been fully and finally determined either by judgment against them or by written
        agreement between them, the claimant and Underwriters. Nothing contained herein shall give any
        person or organization any right to join Underwriters as a party to any Claim against the Insureds to
        determine their liability, nor shall Underwriters be impleaded by the Insureds or their legal
        representative in any Claim.

XIV.    ENTIRE AGREEMENT

        By acceptance of this Policy, the Insureds agree that this Policy embodies all agreements existing
        between them and Underwriters or any of their agents relating to this insurance. Notice to any agent or
        knowledge possessed by any agent or other person acting on behalf of Underwriters shall not effect a
        waiver or a change in any part of this Policy or estop Underwriters from asserting any right under the
        terms of this Policy, nor shall the terms be waived or changed except by written endorsement or rider
        issued by Underwriters to form a part of this Policy.

XV.     TERRITORY

        This Policy shall apply to Claims made against the Insureds anywhere in the world.

XVI.    VALUATION AND CURRENCY

        All premiums, limits, Retentions, Loss and other amounts under this Policy are expressed and payable
        in the currency of the United States. If judgment is rendered, settlement is denominated or another
        element of Loss under this Policy is stated in a currency other than United States dollars, payment
        under this Policy shall be made in United States dollars at the rate of exchange published in the Wall
        Street Journal on the date the judgment becomes final or payment of the settlement or other element of
        Loss is due.

XVII.   BANKRUPTCY

        Bankruptcy or insolvency of the Insureds shall not relieve Underwriters of their obligations nor deprive
        Underwriters of their rights or defenses under this Policy.

XVIII. AUTHORIZATION

        By acceptance of this Policy, the Named Insured agrees to act on behalf of the Insureds with respect


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       to the giving and receiving of any notice provided for in this Policy, the payment of premiums and the
       receipt of any return premiums that may become due under this Policy, and the agreement to and
       acceptance of endorsements, and the Insureds agree that the Named Insured shall act on their
       behalf.

XIX.   HEADINGS

       The descriptions in the headings and subheadings of this Policy are solely for convenience, and form
       no part of the terms and conditions of coverage.




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.



 Beazley One Management Liability Insurance Policy
 EMPLOYMENT PRACTICES LIABILITY CLAUSE

 I.     INSURING CLAUSES

        A.     Underwriters shall pay on behalf of the Insureds all Loss resulting from any Claim first made
               against any Insured and reported in writing to the Underwriters during the Policy Period or
               Optional Extension Period, if applicable, for a Wrongful Act.

        B.     Underwriters shall pay on behalf of the Insured Persons all Loss resulting from any Claim first
               made against the Insured Persons and reported in writing to the Underwriters during the
               Policy Period or Optional Extension Period, if applicable, for a Wrongful Act committed
               while serving in an Outside Executive Position.

               The coverage afforded by this Insuring Clause shall be specifically excess of any
               indemnification and insurance available to such Insured Persons from the Outside Entity.

        C.     If indicated in Item 3. of the Declarations, Underwriters shall pay on behalf of the Insureds all
               Loss resulting from any Claim first made against any of the Insureds and reported in writing to
               the Underwriters during the Policy Period or Optional Extension Period, if applicable, for a
               Third Party Wrongful Act.

               If a sublimit applicable to Third Party Wrongful Acts is indicated in Item 4. of the Declarations,
               then such amount shall be part of and not in addition to the aggregate limit of liability applicable
               to the Employment Practices Liability Clause.

 II.    DEFINITIONS

        The following terms whenever used in this Clause in boldface type shall have the meanings indicated.
        Terms not defined below, but appearing in boldface type shall have the meanings indicated in the
        Policy Terms and Conditions.

        A.     “Application” means all applications, including all attachments and other materials submitted
               therewith or incorporated therein, and any other documents or information submitted in
               connection with the underwriting of this Policy, including any endorsement or other part thereof,
               or any other employment practices liability policies issued by the Underwriter of which this
               Policy is a renewal, replacement or which it succeeds in time.

        B.     “Claim” means:

               1.      a written demand or request for monetary damages or non-monetary relief against any

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                     of the Insureds, or to toll or waive a statute of limitations;

             2.      a civil, criminal, administrative, investigative or regulatory proceeding initiated against
                     any of the Insureds, including any proceeding before the Equal Employment
                     Opportunity Commission or any similar federal, state or local governmental body,
                     commenced by:

                     a.      the service of a complaint or similar pleading;

                     b.      the filing of a notice of charges, investigative order or similar document;

                     c.      written notice or subpoena from an investigatory authority identifying such
                             Insured as an entity or person against whom a formal proceeding may be
                             commenced;

              3.     in the context of an audit conducted by the Office of Federal Contract Compliance
                     Programs, a Notice of Violation or Order to Show Cause; or

              4.     an arbitration or mediation or other alternative dispute resolution proceeding if the
                     Insured Organization is obligated to participate in such proceeding or if the Insured
                     Organization agrees to participate in such proceeding with Underwriters’ prior written
                     consent, such consent not to be unreasonably withheld.

              However, Claim does not include any labor or grievance arbitration or other proceeding
              pursuant to a collective bargaining agreement.

       C.    “Defense Costs” means reasonable and necessary legal fees and expenses to which
             Underwriters consent in advance and which are incurred by or on behalf of the Insureds in
             defending, settling, appealing or investigating any Claim and the cost of appeal, supersedeas,
             injunction, attachment or similar bonds (provided, however, Underwriters shall have no
             obligation to apply for or furnish any bond for appeal, supersedeas, injunction, attachment or
             any similar purpose), but shall not include salaries, regular or overtime wages, fees or benefit
             expenses associated with Employees or the Insured Organization’s overhead expenses.

       D.    “Discrimination” means any actual or alleged termination of the employment relationship,
             demotion, failure or refusal to hire or promote, denial of an employment benefit or the taking of
             any adverse or differential employment action because of race, color, religion, age, sex,
             disability, pregnancy, sexual orientation, national origin, or any other basis which is or is alleged
             to be prohibited by federal, state or local law.

       E.    “Employee” means all persons whose labor or service is currently or has formerly been
             engaged by and directed by the Insured Organization. This includes applicants for
             employment, employees, volunteers, part time, seasonal, leased and temporary employees as
             well as any individual employed in a supervisory or managerial position and Independent
             Contractors but does not include employees who are leased to another employer.

      F.     “Executive Officer” means any member of the management committee, chairperson, chief
             executive officer, chief operating officer, president, Manager, chief financial officer, risk
             manager, human resources staff or an individual acting in a similar capacity with the Insured
             Organization.




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       G.    “Harassment” means actual or alleged unwelcome sexual advances, requests for sexual
             favors or other verbal, visual or physical conduct of a sexual or non-sexual nature, where such
             harassment is based on an employee’s race, color, religion, age, sex, disability, pregnancy,
             sexual orientation, national origin, or any other basis protected by federal, state or local law and
             is explicitly or implicitly made a condition of employment, used as a basis for employment
             decisions or performance, or creates a hostile, intimidating or offensive work environment or
             that interferes with performance.

       H.    “Inappropriate Employment Conduct” means any of the following:

             1.     actual or constructive termination of an employment relationship in a manner which is
                    alleged to have been against the law or wrongful;

             2.     actual or alleged wrongful demotion, evaluation, deprivation of a career opportunity, or
                    discipline;

             3.     actual or alleged negligent hiring, retention or supervision;

             4.     actual or alleged breach of an express written employment agreement;

             5.     actual or alleged violation of the Family and Medical Leave Act;

             6.     actual or alleged misrepresentation, false imprisonment, detention or malicious
                    prosecution in connection with an employment decision;

             7.     actual or alleged libel, slander, defamation of character or any invasion of right of

             privacy in connection with an employment decision; or

             8.     actual or alleged failure to employ or promote, train, create or enforce adequate
                    workplace or employment policies and procedures, or grant tenure or seniority.

       I.    “Independent Contractor” means any natural person independent contractor who performs
             labor or service for the Insured Organization on a full-time basis pursuant to a written contract
             or agreement, where such labor or service is under the exclusive direction of the Insured
             Organization. The status of an individual as an Independent Contractor shall be determined
             as of the date of an alleged Wrongful Act.

       J.    “Insureds” means the Insured Persons and the Insured Organization.

       K.    “Insured Person” means any person who was, now is, or shall be an Employee or duly elected
             or appointed directors, officers, trustees or Managers of the Insured Organization including all
             persons outside the United States serving in a functionally equivalent role for the Insured
             Organization including their estates, heirs, legal representatives or assigns in the event of their
             death, incapacity or bankruptcy.

       L.    “Loss” means money which an Insured is legally obligated to pay as a result of a Claim
             including compensatory damages, judgments (including prejudgment and post judgment
             interest awarded against an Insured on that part of any judgment paid by Underwriters), back
             pay, front pay, settlements, statutory attorney fees, Defense Costs and punitive, exemplary


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              and multiple damages where insurable by law in the applicable jurisdiction most favoring
              coverage for punitive, exemplary or multiple damages. However, Loss shall not include any of
              the following:

              1.      the cost of providing non-monetary relief (this provision does not apply to Defense
                      Costs where non-monetary relief is sought);

              2.      civil or criminal fines (other than civil fines imposed under the Health Insurance
                      Portability and Accountability Act), penalties, sanctions, liquidated damages (other than
                      those awarded under the Age Discrimination in Employment Act or the Equal Pay Act);
                      payroll or other taxes or other matters that may be deemed uninsurable according to
                      the law under which this policy is construed;

              3.      amounts owed under Wage and Hour Laws;

              4.      severance pay, commissions, bonuses, profit sharing or benefits including but not
                      limited to medical, stock options, vacation, holiday, and/or sick pay;

              5.      future salary, wages, bonus, commissions and/or benefits resulting from a settlement

              of a Claim, judgment, order or award that results in the rehiring, promotion or reinstatement of
                      an Insured Person;

              6.      awards, costs, judgments, or orders resulting from contempt of court or violation of a
                      court order or administrative decree; or

              7.      any amounts incurred in defense of any Claim for which any other insurer has a duty to
                      defend.

       M.     “Outside Entity” means:

              1.      any non-profit corporation, community chest, fund or foundation that is not included in
                      the definition of the Insured Organization and that is exempt from federal income tax;
                      or

              2.      any other entity, if specified in an endorsement to this Policy.

       N.     “Outside Executive Position” means the position of director, officer, trustee or other
              equivalent executive position held by any of the Insured Person in an Outside Entity if
              service in such position is at the specific request of the Insured Organization.

       O.     “Retaliation” means any actual or alleged Discrimination, Harassment, and/or

       Inappropriate Employment Conduct against an Employee on account of such Employee’s exercise
              or attempted exercise of rights protected by law, refusal to violate any law, disclosure or threat
              to disclose to a superior or to any governmental agency alleged violations of the law, or on
              account of the Employee having assisted or testified in or cooperated with a proceeding or
              investigation regarding alleged violations of law.

       P.     “Third Party Wrongful Act” means any actual or alleged discrimination, including
              discriminatory or sexual harassment, by any of the Insureds against any natural person who is
              not an Insured Person or an applicant for employment of the Insured Organization.

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       Q.     “Wage and Hour Law” means any federal, state or local law governing or relating to the
              payment of wages including the payment of overtime, on-call time, rest periods, minimum
              wages or the classification of employees for the purpose of determining employees’ eligibility
              for compensation or other benefits under such law(s) including any statutory or common law
              premised on such law.

       R.     “Wrongful Act” means Inappropriate Employment Conduct, Discrimination, Harassment,
              and/or Retaliation by any of the Insureds against an Insured Person or an applicant for
              employment of the Insured Organization. If indicated in Item 3. of the Declarations, Wrongful
              Act shall also include a Third Party Wrongful Act.

III.   EXCLUSIONS

       The Underwriters shall not be liable to make any payment for Loss in connection with or resulting from
       any Claim:

       A.     for actual or alleged bodily injury, sickness, disease, death, assault, battery, mental anguish,
              emotional distress, invasion of privacy, or damage to or destruction of tangible property
              (including loss of use thereof); provided, however, this exclusion shall not apply to that portion
              of a Claim for a Wrongful Act seeking Loss for mental anguish, emotional distress or
              humiliation;

       B.     for any actual or alleged violation(s) of any of the responsibilities, obligations or duties imposed
              by any law concerning workers’ compensation, disability benefits, unemployment compensation
              law, social security or other employment benefits law, the Fair Labor Standards Act (except the
              Equal Pay Act), the Worker Adjustment and Retraining Notification Act, the Consolidated
              Omnibus Budget Reconciliation Act, the Occupational Safety and Health Act, including any
              similar federal, state or local law, regulations promulgated thereunder, or any amendments
              thereto, or any other law based on the same violations; provided, however, this exclusion shall
              not apply to a Claim for Retaliation;

       C.     for actual or alleged violation(s) of the Employee Retirement Income Security Act of 1974
              (“ERISA”), or any violation of any federal, state, local or foreign statutory law or common law
              that governs the same topic or subject and any rules, regulations and amendments thereto or
              for an Insured’s failure or refusal to establish, contribute to, pay for, insure, maintain, provide
              benefits pursuant to, or enroll or maintain the enrollment of an Insured Person or dependent in,
              any employee benefit plan, fund or program, including contracts or agreements which are not
              subject to the provisions of ERISA; provided, however, this exclusion shall not apply to a Claim
              for Retaliation;

       D.     against any of the Insured Persons serving in an Outside Executive Position:

              1.     based upon, arising out of, directly or indirectly resulting from or in consequence of, or in
                     any way involving any Wrongful Act occurring prior to the date such Insured Person
                     began serving in an Outside Executive Position if any of the Insured Persons, as of
                     such date, knew or could have reasonably foreseen that such Wrongful Act could lead
                     to a Claim under this Policy; or

              2.     by, on behalf of, or for the benefit of the Outside Entity, or one or more of the Outside
                     Entity’s directors, officers, trustees or equivalent executives;



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       E.      based upon, arising out of, directly or indirectly in connection with, related to, or in any way
               involving lockout, strike, picket line, hiring of replacement workers or other similar action in
               connection with any labor dispute or labor negotiation or for or arising out of any alleged
               violation or responsibilities, duties or obligations imposed on an Insured under the National
               Labor Relations Act or amendments thereto or regulations promulgated thereunder, or any
               similar or related federal, state or local law or regulation;


       F.      based upon, arising out of, directly or indirectly in connection with, related to, or in any way
               involving the liability of others assumed by an Insured under any contract or agreement, oral or
               written, except to the extent that the Insured would have been liable in the absence of such
               contract or agreement;

       G.      for breach of an express written employment agreement, or under any policy or procedure
               providing for payment in the event of separation from employment unless such liability would
               have attached in the absence of such contract or agreement; provided, that this Exclusion shall
               not apply to Defense Costs incurred in connection with such Claim; or

       H.      for an alleged violation of the responsibilities, duties or obligations imposed on an Insured
               under any Wage and Hour Law; provided, however, that in the event such Claim also alleges
               a Wrongful Act otherwise covered by this Policy and notwithstanding the provisions of Clause
               VI. Settlement and Defense of the Policy Terms and Conditions and subject to all other terms,
               conditions and exclusions contained in this Policy, this exclusion does not apply to Loss solely
               applicable to that portion of the Claim alleging such Wrongful Act.

IV.    ALLOCATION

       Notwithstanding Clause VII. Allocation of the Policy Terms and Conditions Clause, the Insureds and
       Underwriters agree to use their best efforts to determine a fair and proper allocation of all covered
       Defense Costs and non-covered defense costs associated with the defense of Claims alleging a violation
       of the responsibilities, duties, or obligations imposed under any Wage and Hour Law. In the event that an
       allocation cannot be agreed to, then Underwriters shall make an interim payment of the amount of
       Defense Costs that the parties agree is not in dispute until a final amount is agreed upon or
       determined by applicable law.

V.     ADJUSTMENT

       This Policy is issued and the premium computed on the basis of the information submitted to
       Underwriters as part of the Application. In the event the Named Insured, after the inception date of
       this Policy:

       a.      merges with another entity such that the Named Insured is the surviving entity, or

       b.      acquires assets of another entity or creates or acquires a Subsidiary whose employees
               exceed 25% of the total number of employees of the Insured Organization at the time of
               acquisition,

       coverage shall be afforded for a period of ninety (90) days for any Loss in any way involving the assets
       acquired or the assets, liabilities, directors, officers or employees of the entity acquired or merged with,
       or such Subsidiary. Coverage beyond such ninety (90) day period shall only be available if written
       notice of such transaction or event is given to Underwriters by the Named Insured; the Named


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       Insured provides Underwriters with such information in connection therewith as Underwriters may
       deem necessary; the Insureds accept any special terms, conditions, exclusions or additional premium
       charge as may be required by Underwriters; and Underwriters, at their sole discretion, agree to provide
       such coverage.




VI.    OTHER INSURANCE

       Notwithstanding Clause X.D. Other Insurance of the GeneralTerms and Conditions, solely in respect
       of Claims for Wrongful Acts other than a Third Party Wrongful Acts, this Policy shall apply as
       primary insurance, except with respect to:

       a.     Claims which include allegations covered under both a fiduciary liability policy and this Policy;
              or

       b.     Claims brought by or on behalf of an Independent Contractor or leased or temporary
              Employee

       in which case the provisions of Clause X.D. Other Insurance of the Common Terms and Conditions
       shall apply.




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 Beazley One Management Liability Insurance Policy
 EMPLOYMENT EVENT CLAUSE

 I.     INSURING CLAUSE

        The Underwriters shall pay Employment Event Loss incurred by the Insured Organization solely
        with respect to an Employment Event first occurring during the Policy Period or Optional Extension
        Period, if purchased, and reported in writing to the Underwriters as soon as practicable but in no event
        later than sixty (60) days after the expiration of the Policy Period or the last day of the Optional
        Extension Period, if purchased, from first dollar, provided, that the payment of Employment Event
        Loss shall not waive the Underwriters’ rights under this Policy or at law. Coverage under this Clause I.
        shall apply regardless of whether a Claim is ever made against an Insured arising from such
        Employment Event and, in the case where a Claim is made, regardless of whether the Employment
        Event Loss is incurred prior to or subsequent to the making of the Claim.

        An Employment Event commences when the Insured Organization or any Executive Officer shall
        first become aware of such Employment Event. An Employment Event shall conclude ninety (90)
        days after it first commences or when the Employment Event Sublimit has been exhausted.

 II.    DEFINITIONS

        The following terms whenever used in this Clause in boldface type shall have the meanings indicated.
        Terms not defined below, but appearing in boldface type shall have the meanings indicated in the
        applicable Clause.

        A.      “Employment Advisor” means any public relations firm, security firm or mental health
                professional selected by the Insured with the Underwriters’ consent, such consent not to be
                unreasonably withheld.

        B.      “Employment Event” means any of the following events, which shall be deemed to
                commence (i) when an Executive Officer first believes in good faith that it is more likely than
                not that such event will occur within the next sixty (60) days, or (ii) with respect to 5. below,
                when the event occurs, whichever is earlier:

                1.      layoff/termination of 20% or greater of the Insured Organization’s workforce;

                2.      acquisition of an organization which necessitates a material change in employment
                        status or terms of employment of 20% or greater of the Insured Organization
                        workforce;




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               3.      the public announcement of allegations of discrimination or harassment implicating an
                       Executive Officer; or a Claim alleging a Third Party Wrongful Act;

               4.      receipt by the Insured Organization of notice that a civil rights organization, public
                       interest group or similar organization is investigating the Insured Organization for
                       violations of state or federal employment laws or is distributing literature which
                       accuses the Insured Organization of violations of state or federal employment laws;


               5.      a workplace disaster resulting in loss of life or the imminent threat of or actual use of a
                       lethal weapon which occurs on the Insured Organization’s premises, including
                       without limitation, flood, fire, or workplace violence.

       C.      “Employment Event Loss” means reasonable fees and expenses charged by an
               Employment Advisor in connection with:

               1.      advising the Insured Organization with respect to minimizing potential loss or liability
                       on account of an Employment Event;

               2.      retaining an independent security consultant or for independent security guard
                       services with respect to an Employment Event described in Definition B.1., 2. or 5.;

               3.      managing or administering disclosures to clients, customers, suppliers, investors or the
                       public regarding an Employment Event; or

               4.      providing counseling to any Employee on account of an Employment Event

               provided, that Employment Event Loss shall not include salaries, regular or overtime wages,
               fees or benefit expenses associated with Employees or the Insured Organization’s overhead
               expenses.

III.   EMPLOYMENT EVENT SUBLIMIT

       The Employment Event Sublimit shown in Item 4. of the Declarations shall be the maximum aggregate
       Limit of Liability of the Underwriters for all Employment Event Loss resulting from all Employment
       Events which amount shall be part of, and not in addition to, the Employment Practices Liability Clause
       Limit of Liability shown in Item 4. of the Declarations.




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 Beazley One Management Liability Insurance Policy
 FIDUCIARY LIABILITY CLAUSE

 I.     INSURING CLAUSES

        A.     The Underwriters shall pay on behalf of the Insureds all Loss resulting from any Claim first
               made against any Insured and reported in writing to the Underwriters during the Policy Period
               or Optional Extension Period, if applicable, for a Wrongful Act.

        B.     The Underwriters shall pay on behalf of the Insureds in an amount not to exceed $100,000 any
               Voluntary Compliance Fees and Defense Costs incurred with respect to a Voluntary
               Compliance Notice. Such amount shall be subject to the Retention set forth in Item 5. of the
               Declarations and shall be part of and not in addition to the Limit of Liability set forth in Item 4. of
               the Declarations. This Insuring Clause shall not apply to any Voluntary Compliance Fees and
               Defense Costs incurred with respect to any Insured’s participation in any Voluntary
               Compliance Program initiated prior to the Inception Date of this Policy.

 II.    DEFINITIONS

        The following terms whenever used in this Clause in boldface type shall have the meanings indicated.
        Terms not defined below, but appearing in boldface type shall have the meanings indicated in the
        Policy Terms and Conditions.

        A.     “Administration” means one or more of the following administrative duties or activities with
               respect to a Plan:

               1.      counseling or advising participants or beneficiaries;

               2.      providing interpretations;

               3.      handling of records; or

               4.      affecting enrollment, notification, termination, amendment or cancellation of participants
                       or beneficiaries.

        B.     “Administrator” means a natural person with responsibility for Administration and any third
               party which is included in the definition of Administrator by written endorsement attached
               hereto, but only with respect to a Plan.

        C.     “Application” means all applications, including all attachments and other materials submitted
               therewith or incorporated therein, and any other documents or information submitted in
               connection with the underwriting of this Policy including any endorsement or other part thereof,
               or any other fiduciary liability policy issued by the Underwriters, of which this Policy is a


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             renewal, replacement or which succeed it in time; and any publicly available documents that
             are filed by the Named Insured or Plan prior to the inception date of this Policy with the
             Internal Revenue Service (“IRS”), Department of Labor or Pension Benefit Guaranty
             Corporation (or for any similar federal, state, local or foreign regulatory agency).

       D.    “Benefits” means any obligation under a Plan to a participant or beneficiary of a Plan.
       E.    “Claim” means:

             1.     a written demand or request for monetary damages or non-monetary relief against any
                    of the Insureds, or to toll or waive a statute of limitations;

             2.     a civil, criminal, arbitration, administrative, investigative or regulatory proceeding
                    initiated against any of the Insureds commenced by:

                    a.      the service of a complaint or similar pleading;

                    b.      the filing of a notice of charge, investigative order or similar document; or

                    c.      written notice or subpoena from an investigatory authority identifying such
                            Insured as an entity or person against whom a formal proceeding may be
                            commenced;

             3.     any fact-finding investigation by the Department of Labor, the Pension Benefit Guaranty
                    Corporation or similar governmental agency located outside the United States;

             4.     solely for the purpose of coverage afforded under Insuring Clause I.B., a Voluntary
                    Compliance Notice; or

             5.     an arbitration or mediation or other alternative dispute resolution proceeding if the
                    Insured is obligated to participate in such proceeding or if the Insured agrees to
                    participate in such proceeding with Underwriters’ prior written consent, such consent
                    not to be unreasonably withheld.

       F.    “Defense Costs” means reasonable and necessary legal fees and expenses to which the
             Underwriters consent in advance and which are incurred by or on behalf of the Insureds in
             defending, settling, appealing or investigating any Claim and the cost of appeal, supersedeas,
             injunction, attachment or similar bonds (provided, however, the Underwriters shall have no
             obligation to apply for or furnish any bond for appeal, supersedeas, injunction, attachment or
             any similar purpose), but shall not include salaries, regular or overtime wages, fees or benefit
             expenses associated with Insured Persons or the Insured Organization’s overhead
             expenses.

       G.    “ERISA” means the Employee Retirement Income Security Act of 1974 (including
             amendments relating to the Consolidated Omnibus Budget Reconciliation Act of 1985
             (“COBRA”), and any amendment or revision thereto, or any similar common or statutory law of
             the United States, Canada or any state, foreign or other jurisdiction to which a Plan is subject.
             ERISA shall not include any law concerning worker’s compensation, unemployment insurance,
             social security, government mandated disability benefits or similar law.



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       H.    “ESOP” means any employee stock ownership plan as defined in ERISA or any Plan under
             which investments are made primarily in securities of the Insured Organization.

       I.    “ESOP Administration” means one of more of the following administrative duties or activities
             with respect to an ESOP:

             1.      giving notice to employees, participants or beneficiaries;

             2.      interpreting benefits;

             3.      handling records; or

             4.      effecting enrollment, termination or cancellation of employees, participants, or
                     beneficiaries

             Provided, however, that ESOP Administration does not include the giving of advice or counsel
             with respect to any matter relating to securities issued by the Insured Organization.

       J.    “Executive Officer” means any duly elected officer, director, natural person partner, principal,
             Manager, in-house general counsel or member of the Insured Organization’s legal
             department, trustee or Administrator or individual acting in a similar capacity with the Insured
             Organization.

       K.    “Fiduciary” means a fiduciary of a Plan as defined in ERISA.

       L.    “Insured” means any Insured Person, the Insured Organization and any Plan.

       M.    “Insured Person” means all persons who were, now are, or shall be employees of the
             Insured Organization or a Plan; or duly elected or appointed directors, officers, trustees or
             Managers of the Insured Organization or a Plan in his or her capacity as a Fiduciary or
             Administrator of a Plan including all persons outside the United States of America serving in a
             functionally equivalent role including their estates, heirs, legal representatives or assigns in the
             event of their death, incapacity or bankruptcy.

       N.    “Loss” means money which an Insured is legally obligated to pay as a result of a Claim, other
             than a Voluntary Compliance Notice, including damages, judgments (including prejudgment
             or postjudgment interest awareded against an Insured on that part of any judgment paid by the
             Underwriters), settlements, statutory attorney’s fees, Defense Costs and punitive, exemplary
             and multiple damages where insurable by law in the applicable jurisdiction most favoring
             coverage for punitive, exemplary or multiple damages. However, Loss shall not include:

             1.      taxes or the loss of tax benefits, or civil or criminal fines or penalties imposed by law
                     except for:

                     a.      the five percent (5%) or less civil penalty imposed upon an Insured under
                             Section 502(i) of ERISA;




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                    b.      the twenty percent (20%) or less civil penalty imposed upon an Insured under
                            Section 502(l) of ERISA;

                    c.      Voluntary Compliance Fees; or

                    d.      penalties or other awards imposed by the Pension Ombudsman of England or
                            Occupational Pensions Regulatory Authority of England pursuant to the English
                            Pension Scheme Act 1993, the English Pensions Act 1995, the UK Pensions
                            Act 2004, as amended, and any rules and regulations promulgated thereunder,
                            provided always that no part of the premium for this Policy attributable to this
                            exception has been funded, paid or reimbursed from the funds or assets of any
                            pension scheme insured under this Policy;

             2.     Benefits, which are or may become due except to the extent that such sums are
                    payable as a personal obligation of a natural person Insured because of such natural
                    person Insured’s Wrongful Act;

             3.     any amounts for which the Insureds are legally or financially absolved from payment;

             4.     matters deemed uninsurable under the law pursuant to which this Policy shall be
                    construed; or

             5.     any amounts incurred in defense of any Claim for which any other Underwriter has a
                    duty to defend.

       O.    “Plan” means any plan, fund or program, regardless of whether it is subject to regulation under
             Title I of ERISA or any part thereof, or meets the requirements for qualification under Section
             401 of the Internal Revenue Code of 1986, as amended, and which is:

             1.     a welfare plan as defined in ERISA sponsored solely by the Insured Organization or
                    sponsored jointly by the Insured Organization and a labor organization, solely for the
                    benefit of the employees of the Insured Organization, and which is so sponsored prior
                    to the inception date of this Policy or becomes so sponsored after the inception date of
                    this Policy pursuant to Clause IV.A.;

             2.     a pension plan as defined in ERISA (subject to 7. below) sponsored solely by the
                    Insured Organization or sponsored jointly by the Insured Organization and a labor
                    organization, solely for the benefit of the employees of the Insured Organization, and
                    which is so sponsored prior to the inception date of this Policy or becomes so
                    sponsored after the inception date of this Policy pursuant to Clause IV.A.;

             3.     a plan which is both a welfare plan and a pension plan as defined in ERISA (subject to
                    7. below) sponsored solely by the Insured Organization or sponsored jointly by the
                    Insured Organization and a labor organization solely for the benefit of the employees
                    of the Insured Organization, and which is so sponsored prior to the inception date of
                    this Policy or becomes so sponsored after the inception date of this Policy pursuant to
                    Clause IV.A.;




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             4.     a government-mandated program for unemployment insurance, workers compensation,
                    social security or disability benefits for employees of the Insured Organization;

             5.     any other plan, fund or program which is included in the definition of Plan by written
                    endorsement attached hereto;

             6.     any other employee benefit plan that is not subject to Title I of ERISA, including any
                    fringe benefit or excess benefit plan, that was, is, or becomes sponsored solely by the
                    Insured Organization exclusively for the benefit of employees of the Insured
                    Organization; or

             7.     an ESOP but solely with respect to ESOP Administration. No ESOP is included within
                    the definition of Plan with respect to Claims for any Wrongful Act other than ESOP
                    Administration unless that ESOP is specifically included within the definition of Plan
                    by written endorsement attached hereto.

       P.    “Voluntary Compliance Fees” means any costs of corrections, fees, penalties or sanctions
             imposed by law under a Voluntary Compliance Program that any Insured becomes legally
             obligated to pay as a result of Wrongful Acts, but shall not include any other costs, charges,
             expenses, fees, penalties, sanctions, assessments, damages, taxes or matters that may be
             deemed to be uninsurable under the law pursuant to which this Policy shall be construed.

       Q.    “Voluntary Compliance Notice” means a written notice given to the Underwriters indicating
             an Insured’s intent to participate in a Voluntary Compliance Program during the Policy
             Period.

       R.    “Voluntary Compliance Program” means any voluntary compliance resolution program or
             similar voluntary settlement program administered by the Internal Revenue Service or
             Department of Labor of the United States, including, but not limited to, the Employee Plans
             Compliance Resolution System, the Self Correction Program, the Audit Closing Agreement
             Plan, the Delinquent Filer Voluntary Compliance program and the Voluntary Fiduciary
             Correction program.

       S.    “Wrongful Act” means:

             1.     as respects a Fiduciary, a Plan or the Insured Organization:

                    a.      any actual or alleged violation of any of the responsibilities, obligations or duties
                            imposed on Fiduciaries by ERISA in connection with a Plan; or

                    b.      any matter claimed against an Insured by reason of his, her or its status as a
                            Fiduciary of a Plan;

             2.     as respects an Administrator:

                    a.      any actual or alleged act, error or omission in the performance of
                            Administration; or



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                     b.      any matter claimed against an Administrator by reason of his or her status as
                             such;

              3.     as respects an Insured Person, any matter claimed against him or her arising out of
                     his or her service as a Fiduciary or Administrator of any other plan, including a multi-
                     employer plan, but only if such service is at the specific request of the Insured
                     Organization; or


              4.     any actual or alleged act, error or omission by an Insured Person in the performance
                     of ESOP Administration.

III.   EXCLUSIONS

       The Underwriters shall not be liable to make any payment for Loss or Voluntary Compliance Fees in
       connection with or resulting from any Claim:

       A.     for actual or alleged libel, slander, defamation, bodily injury, sickness, disease, death, false
              arrest, false imprisonment, assault, battery, mental anguish, emotional distress, invasion of
              privacy, or damage to or destruction of any tangible property (including loss of use thereof);

       B.     based upon, arising out of, directly or indirectly resulting from, in consequence of or in any way
              involving:

              1.     the actual, alleged or threatened discharge, release, escape, seepage, migration,
                     dispersal or disposal of Pollutants into or on real or personal property, water or the
                     atmosphere, or

              2.     any direction or request that the Insureds test for, monitor, clean up, remove, contain,
                     treat, detoxify or neutralize Pollutants, or any voluntary decision to do so, including, but
                     not limited to, any Claim alleging damage to the Insured Organization or the Plan or
                     any of their security holders, purchasers or sellers

              provided, however, that this exclusion shall not apply to any Claim by or on behalf of a
              beneficiary of or a participant in any Plan relating to the diminution in value of any securities
              issued by an organization other than the Insured Organization which are owned by the Plan;

       C.     based upon, arising out of, directly or indirectly resulting from, in consequence of or in any way
              involving discrimination in violation of any law other than ERISA or any similar act;

       D.     for liability of others assumed by the Insured under any contract or agreement, either oral or
              written, except to the extent that the Insured would have been liable in the absence of the
              contract or agreement or unless the liability was assumed in accordance with or under the
              agreement or declaration of trust pursuant to which the Plan was established;

       E.     based upon, arising out of, directly or indirectly resulting from, in consequence of or in any way
              involving any act or omission in his, her or its capacity as a Fiduciary or Administrator of any
              plan, fund or program other than a Plan as defined in this Policy, or by reason of his, her or its
              status as a Fiduciary or Administrator of such other plan, fund or program;



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       F.     based upon, arising out of, directly or indirectly resulting from, in consequence of or in any way
              involving any Wrongful Act as respects a Plan taking place at any time when the Insured
              Organization did not sponsor such Plan;

       G.     for any actual or alleged violation of responsibilities, duties or obligations imposed on an
              Insured under any law concerning workers’ compensation, unemployment insurance, Social
              Security, or disability insurance, the Worker Adjustment and Retraining Notification Act, the Fair
              Labor Standards Act, the Occupational Safety and Health Act, the National Labor Relations
              Act, including amendments thereto and regulations promulgated thereunder, or any similar or
              related federal, state or local law other than COBRA;

       H.     for the failure to collect contributions owed to any Plan from any employer unless such failure is
              due to the negligence of an Insured;

       I.     for Benefits, which are or may become due except to the extent that such sums are payable as
              a personal obligation of an Insured Person; provided, however this exclusion shall not apply to
              Defense Costs; or

       J.     based upon, arising out of, directly or indirectly resulting from, in consequence of or in any way
              involving:

              1.     any deliberately dishonest, fraudulent or criminal act, or omission by any of the
                     Insureds; or

              2.     any personal profit or advantage gained by any of the Insured Persons to which they
                     were not legally entitled

              as determined by a judgment, settlement or a final adjudication; provided, however, this
              exclusion shall not apply to Defense Costs incurred up until such determination is made.

       No Wrongful Act shall be imputed to any of the other Insureds for the purpose of determining the
       applicability of any of the Exclusions.

IV.    ACQUISITIONS

       A.     Sponsorship of Another Plan

              In the event the Insured Organization becomes a sponsor of a plan, other than an ESOP,
              after the inception date of this Policy, whether by acquisition of a Subsidiary or another entity,
              merger with another entity where the Insured Organization is the surviving entity or by its own
              creation, and the total assets of such newly sponsored plan do not exceed twenty-five percent
              (25%) of the total consolidated assets of the existing Plans as set forth in the most recent
              audited financial statements, coverage shall be afforded for such Subsidiary or entity, such
              Subsidiary’s or entity’s Plan and its Insured Persons until the end of the Policy Period, but
              only with respect to Wrongful Acts committed or allegedly committed after the effective date of
              such sponsorship by the Insured Organization. Coverage for such Subsidiary or entity, such
              Subsidiary’s or entity’s Plan and its Insured Persons for such Plans whose total assets do
              exceed twenty-five percent (25%) of the total consolidated assets of the existing Plans as set



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             forth in the most recent audited financial statements shall be afforded for a period of ninety (90)
             days, but only with respect to Wrongful Acts committed or allegedly committed after the
             effective date of such sponsorship by the Insured Organization. Coverage beyond such
             ninety (90) days shall only be available if:

             1.      written notice of such sponsorship is given to the Underwriters by the Insured
                     Organization;


             2.      the Insured Organization provides the Underwriters with such information in
                     connection therewith as the Underwriters may deem necessary;

             3.      the Insureds accept any special terms, conditions, exclusions or additional premium as
                     may be required by the Underwriters; and

             4.      the Underwriters, at its sole discretion, agrees to provide such coverage.

             Notwithstanding the foregoing, with respect to an ESOP, coverage shall be granted pursuant to
             this Clause only for Claims relating to ESOP Administration and no coverage shall be
             granted for Claims alleging any other Wrongful Acts unless such ESOP is included in the
             definition of Plan by a written endorsement to this Policy and any related additional premium
             required by the Underwriters has been paid.

       B.    Cessation of Plan Sponsorship and Termination, Sale or Spin-off of Plan

             In the event a Plan ceases to be sponsored by the Insured Organization or ceases to be
             sponsored jointly by the Insured Organization and a labor organization after the Inception
             Date of this Policy, or in the event the Insured Organization terminates, sells or spins off any
             Plan before or after the inception date of this Policy; or of any policy issued by the Underwriters
             of which this Policy is a renewal or replacement, coverage under this Policy with respect to
             such Plan and its Insured Persons shall continue until the end of the Policy Period for those
             who were Insureds at the time such Plan ceased to be sponsored by the Insured
             Organization, or jointly by the Insured Organization and a labor organization, or who were
             Insureds at the time of such Plan termination, sale or spin-off or who would have been
             Insureds at the time of Plan termination, sale or spin-off if this Policy had been in effect, but
             only with respect to Wrongful Acts committed or allegedly committed prior to the date such
             Plan ceased to be sponsored by the Insured Organization, or jointly by the Insured
             Organization and a labor organization, or such Plan termination, sale or spin-off. The
             Insureds shall give notice to the Underwriters of cessation of sponsorship as soon as
             practicable together with such information as the Underwriters may require.

       C.    Merged Plans

             In the event a Plan is merged with another Plan during the Policy Period, this Policy shall
             continue to provide coverage for both Plans for as long as this Policy shall remain in effect and
             subject to all the terms and conditions of this Policy.

             In the event a Plan is merged with another plan for which coverage is not provided under this
             Policy, this Policy shall continue to provide coverage only for the covered Plan for as long as


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             this Policy shall remain in effect and subject to all the terms and conditions of this Policy for
             Claims with regard to Wrongful Acts which took place prior to the date the plans merged.




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

       NEW YORK FREE TRADE ZONE AMENDATORY ENDORSEMENT TO EMPLOYMENT PRACTICES
                                    LIABILITY CLAUSE

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy

      1.      Clause I. INSURING CLAUSES A., B. and C. are amended by adding the phrase “Automatic
              Extension Period or” before each reference to the Optional Extension Period in such Insuring
              Clauses.

      2.      Clause I. INSURING CLAUSES A., B. and C. are amended further by replacing the phrase
              “reported in writing to the Underwriters” each time that it appears with the phrase “reported in
              writing to the Underwriters or to a licensed agent of the Underwriters in the state of New York”.

      3.      Clause II. DEFINITIONS B. is amended by adding the following at the end of such definition:

                      A Claim will be deemed first made when the Underwriter receives written notice of a
                      Claim or suit from the Insured or a third party.

      4.      Clause II. DEFINITIONS L. is amended by deleting the words “or post-judgment interest” and by
              the addition of the following:

              In applying the foregoing, punitive and exemplary damages are not insurable in New York.




      All other terms and conditions of this Policy remain unchanged.



                                                                   __________________________________________
                                                                   Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

           NEW YORK FREE TRADE ZONE AMENDATORY ENDORSEMENT TO FIDUCIARY LIABILITY
                                          CLAUSE

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy



      1.      Clause I. INSURING CLAUSES A. and B. are amended further by replacing the phrase “reported
              in writing to the Underwriters” each time that it appears with the phrase “reported in writing to the
              Underwriters or to a licensed agent of the Underwriters in the state of New York”.


      2.      Clause II. DEFINITIONS N. Loss 1. is amended by deleting the words “or post-judgment interest”
              and by the addition of the following:

              In applying the foregoing, penalties, punitive and exemplary damages are not insurable in New
              York.




      All other terms and conditions of this Policy remain unchanged.




                                                                     __________________________________________
                                                                     Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

           NEW YORK FREE TRADE ZONE AMENDATORY ENDORSEMENT TO POLICY TERMS AND
                                        CONDITIONS

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy
      1.     The Policy Terms and Conditions are amended to include the following NOTICE at the top of
             Page 1:

                     THIS COVERAGE IS PROVIDED ON A CLAIMS MADE BASIS. EXCEPT TO SUCH
                     EXTENT AS MAY OTHERWISE BE PROVIDED HEREIN, THE COVERAGE
                     AFFORDED UNDER THIS INSURANCE POLICY IS LIMITED TO LIABILITY FOR ONLY
                     THOSE COVERED CLAIMS THAT ARE FIRST MADE AGAINST AN INSURED WHILE
                     THE INSURANCE IS IN FORCE. PLEASE REVIEW THE COVERAGE AFFORDED
                     UNDER THIS INSURANCE POLICY CAREFULLY AND DISCUSS THE COVERAGE
                     HEREUNDER WITH YOUR INSURANCE AGENT OR BROKER.

                     THE LIMIT OF LIABILITY SHALL BE REDUCED AND MAY BE COMPLETELY
                     EXHAUSTED BY PAYMENTS OF DEFENSE COSTS.


      2.     Clause I. DEFINITIONS I. is amended by deleting the words “mold, spores, fungi, germs,” and the
             words “noise, and electric, magnetic or electromagnetic field”.

      3.     Clause I. DEFINITIONS is amended by the addition of the following:

              K.     “Termination of Coverage” means the cancellation or nonrenewal of this Policy by the
                     Insured or the Insurer if the Insurer offers to renew this Policy on terms which involve a
                     decrease in the Limit of Liability, a reduction in coverage, an increase in Retention, the
                     addition of an exclusion or any change in coverage less favorable to the Insured.

      4.      Clause III. LIMIT OF LIABILITY is amended by adding the following:

              G.     In the event this Policy provides coverage solely for Claims Expenses arising from an
                     administrative proceeding or other non-judicial dispute resolution forum or in litigation,
                     where the only remedies or relief sought are non-pecuniary in nature and which
                     constitutes Legal Services Insurance subject to Parts 262 and 71 of Title 11 of New York
                     Regulations, such Claims Expenses shall reduce no more than twenty-five percent (25%)
                     of the total of this Policy’s Aggregate Limit of Liability set forth in Item 4 of the
                     Declarations and shall be applied against the Retention set forth in Item 5 of the
                     Declarations, if and to the extent such Limit of Liability and/or Retention is applicable to




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                   the Claim. Such defense-only coverage may not be provided for a claim of legal liability
                   that could be covered by a policy of liability insurance in New York.

   5.     The term "Optional Extension Period," shall be deemed to include "Automatic Extension
          Period" in Clause IX. NOTIFICATION in this Policy.

   6.     Clause IX. NOTIFICATION C. is amended by the addition of the following:

          Provided, however, that failure by the Insureds to give such notice shall not invalidate any Claim
          under the Policy if the Insureds show that it was not reasonably possible to do so and that notice
          was given as soon as was reasonably possible.

          Notwithstanding anything to the contrary in the Declarations or this Clause IX. NOTIFICATION,
          the Insureds also may provide notice of any Claim to any licensed agent of the Underwriter
          located within the state of New York, with particulars sufficient to identify the Insureds.

   7.     Clause X. GENERAL CONDITIONS A. Representations item 2. is amended by deleting the
          words “contains misrepresentations made with the actual intent to deceive, or”.

   8.     The first sentence of Clause X. GENERAL CONDITIONS C. Cancellation/Nonrenewal 2. is
          deleted and replaced with the following:

          2.    If this Policy has been in effect for sixty (60) days or less and is not a renewal Policy, the
               Underwriters may cancel this Policy for any reason by mailing to the Named Insured at the
               address shown in the Declarations written notice of cancellation. Such notice shall be given
               at least fifteen (15) days before the effective date of cancellation for one of more of the
               reasons stated in items i., ii. or iii. below, or twenty (20) days before the effective date of
               cancellation for any other reason. A copy of the notice of cancellation shall be given to the
               Named Insured’s agent or broker of record, if any.

               If this Policy has been in effect for more than sixty (60) days or is a renewal Policy, the
               Underwriters may cancel this Policy by providing fifteen days’ written notice to the Named
               Insured, with a copy to the agent or broker of record, if any, and only for any of the following
               reasons:


                   i.      nonpayment of premium, with the notice of cancellation stating the amount due;
                   ii.     conviction of a crime arising out of acts increasing the hazard insured against;
                   iii.    discovery of fraud or material misrepresentation by the Insured in obtaining the
                           Policy or in presenting any Claim thereunder;
                   iv.     after issuance of this Policy or its last renewal date, discovery of an act or
                           omission, or a violation of any condition of this Policy, that substantially and
                           materially increases the hazard insured against, and which occurred subsequent
                           to inception of the current Policy Period;
                   v.      material change in the nature or extent of the risk, occurring after issuance or last
                           annual renewal anniversary date of this Policy, which causes the risk of loss to be
                           substantially and materially increased beyond that contemplated at the time this
                           Policy was issued or last renewed;
                   vi.     a determination by the Superintendent of Insurance that continuation of the
                           present premium volume or the Underwriters would jeopardize the Underwriters’
                           solvency or be hazardous to the interests of policyholders of the Underwriters, its
                           creditors or the public;
                   vii.    a determination by the Superintendent of Insurance that the continuation of this
                           Policy would violate, or would place the Underwriters in violation of, any provision
                           of the New York Insurance Laws;



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                   viii.   revocation or suspension of an Insured’s license to practice his, her or its
                           profession, or
                   ix.     any other reason permitted under applicable New York or federal law.

               A notice of cancellation shall state the reason for cancellation. The mailing of such notice
               shall be sufficient notice and the effective date of cancellation stated in the notice shall
               become the end of the Policy Period. Delivery of such written notice by the Underwriters
               shall be equivalent to mailing.



   9.     Clause X. GENERAL CONDITIONS C. Cancellation/Nonrenewal 4. is deleted and replaced with
          the following:


          4.       The Underwriters may either (i) not renew this Policy, or (ii) condition its renewal on a
                   change of limits or type of coverage, a reduction of coverage, an increased Deductible or
                   addition of an exclusion, or increased premiums in excess of 10% (excluding a premium
                   increase due to increased exposure units, experience rating, loss rating, retrospective
                   rating or audit) or, in the case of excess coverage, on the satisfaction of requirements
                   pertaining to the underlying insurance (“conditional renewal”), by mailing or delivering
                   written notice of such action to the Named Insured at least sixty (60) (or thirty days for
                   excess coverage) but not more than one hundred twenty (120) days before the
                   expiration date of this Policy, with a copy to the agent or broker of record, if any. If the
                   Underwriters provide such notice late, but before the expiration date of this Policy, the
                   Named Insured has the right to maintain the expiring Policy’s coverage in effect for sixty
                   (60) days after notice is mailed or delivered, except if notice of conditional renewal is
                   given at least thirty (30) days before the expiration date of this Policy then the terms of
                   the notice shall go into effect as of the renewal date. Notice of nonrenewal or conditional
                   renewal shall state the specific reason(s) for nonrenewal or conditional renewal and in
                   the case of conditional renewal, state the amount of any premium increase (or, where
                   such amount cannot reasonably be determined as of the time of the notice, a reasonable
                   estimate of such increase, which shall not exceed 5% of the actual amount), and the
                   nature of any other proposed changes. A copy of such notice shall be provided to the
                   Named Insured’s agent or broker of record, if any.

                   As an alternative to the notice described in the paragraph above, the Underwriters may
                   notify the Named Insured that this Policy will not be renewed or will be renewed
                   conditionally and that a second notice will be provided specifying the Underwriters’
                   intention, provided that this Policy will remain in effect until the later of sixty (60) days
                   after the date of such second notice or the Policy expiration date.

                   Any notice of nonrenewal or conditional renewal described in this item D. will advise the
                   Named Insured and its agent or broker of the availability of loss information which shall
                   be provided within twenty (20) days of receipt of a request for such information.

                   Any extension of the Policy Period as a result of this item D. shall not create a new
                   annual aggregate Limit of Liability, except that the annual aggregate Limit of Liability of
                   this Policy shall be increased in proportion to the length of such extension; provided that
                   if the Named Insured accepts a conditional renewal of this Policy, a new annual
                   aggregate Limit of Liability shall be effective as of the inception date of the renewal.

                   No notice of nonrenewal or conditional renewal is required where the Named Insured,
                   an agent or broker authorized by the Named Insured, or another insurer of the Named




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                 Insured mails or delivers written notice that this Policy is being replaced or no longer is
                 desired.


   10.    Clause XI. OPTIONAL EXTENSION PERIOD is deleted and replaced with the following:

          XI.    EXTENSION PERIODS

                 A.   In the event of a “Termination of Coverage” (meaning, cancellation or non-renewal
                      of this Policy by the Underwriters or the Named Insured or the Underwriters offer to
                      renew this Policy with a decrease in the Limit of Liability, a reduction in coverage, an
                      increase in Deductible, the addition of an exclusion or any change in coverage less
                      favorable to the Named Insured) the Named Insured shall have an automatic sixty
                      (60) day extension to report in writing a Claim otherwise covered by this Policy, but
                      only with respect to a Claim for any act, error or omission or Pollution Condition
                      committed or arising on or after the Retroactive Date and before the effective date of
                      the Termination of Coverage (the “Automatic Extension Period”). The aggregate
                      Limit of Liability for the Automatic Extension Period shall be part of and not in
                      addition to the aggregate Limit of Liability set forth in Item 4 of the Declarations.

                 B.   As an alternative to the Automatic Extension Period, in the event of a Termination of
                      Coverage the Named Insured designated in Item 1. of the Declarations shall have
                      the right to purchase a one-year or three-year extension of the coverage granted by
                      this Policy for the premium set forth in Item 6 of the Declarations with respect to any
                      Claim first made against any Insured and reported in writing to the Underwriters
                      during such extension period, but only with respect to any act, error or omission or
                      Pollution Condition committed or arising on or after the Retroactive Date and
                      before the effective date of the Termination of Coverage (the “Optional Extension
                      Period). If the claims-made relationship between the Underwriters and the Named
                      Insured has been in effect for less than a consecutive three-year period, then the
                      aggregate Limit of Liability for the Optional Extension Period shall be the greater
                      of 50% of the aggregate Limit of Liability set forth in Item 4 of the Declarations or the
                      amount of such Limit of Liability remaining at the end of the Policy Period. If such
                      claims-made relationship has been in effect for three or more consecutive years,
                      then the aggregate Limit of Liability for the Optional Extension Period shall be
                      100% of the Limit of Liability for the expiring Policy Period. The premium set forth in
                      Item 6 of the Declarations shall be adjusted upward to reflect the higher aggregate
                      Limit of Liability for the Optional Extension Period.

                 C.   The Underwriters shall provide written notice to the Named Insured of the
                      Automatic Extension Period and the availability of, the premium for, and the
                      importance of purchasing, the Optional Extension Period within thirty (30) days
                      after the effective date of a Termination of Coverage.

                 D.   As a condition precedent to the right to purchase the Optional Extension Period,
                      the total premium for this Policy must be paid and any money paid for the Optional
                      Extension Period will be applied first to any amount owing for the Policy Period.
                      The right to purchase the Optional Extension Period shall terminate unless written
                      notice together with full payment of the premium for the Optional Extension Period
                      is given to the Underwriters within sixty (60) days from the effective date of the
                      Termination of Coverage, or within thirty (30) days after the date of mailing or
                      delivery of the notice provided by the Underwriters in the above paragraph,
                      whichever is greater. If such notice and premium payment is not so given to the
                      Underwriters, there shall be no right to purchase the Optional Extension Period.
                      Any Automatic or Optional Extension Period shall apply only in regard to that




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                       coverage subject to the Termination of Coverage. If the Termination of Coverage is
                       due only to a decrease in the aggregate Limit of Liability, the aggregate Limit of
                       Liability for the Automatic and any purchased Optional Extension Period shall be
                       no greater than the amount of such decrease.

                  E.   If the claims-made relationship between the Named Insured and the Underwriters
                       has continued for less than one year and this Policy is canceled for nonpayment of
                       premium or fraud, the Named Insured shall not have the right to purchase the
                       Optional Extension Period. If the claims-made relationship has continued for a
                       year or longer and this Policy is canceled for nonpayment or fraud, the Underwriters
                       have no obligation to provide a premium quotation for the Optional Extension
                       Period unless requested by the Named Insured.

                  F.   The Optional Extension Period shall be non-cancelable except for nonpayment of
                       premium, and the entire premium for the Optional Extension Period shall be
                       deemed fully earned at inception. If similar insurance to that provided by this Policy
                       is in force during the Automatic or Optional Extension Period, the coverage
                       afforded by this Policy shall be excess over any such valid and collectible insurance.

                  G.   If the Named Insured is in liquidation or bankruptcy, or permanently ceases
                       operation, and if the Named Insured or its designated trustee, although entitled to,
                       does not purchase the Optional Extension Period, the individual Insureds under
                       this Policy shall have one hundred twenty (120) days from the effective of the
                       Termination of Coverage to buy the Optional Extension Period. The Underwriters
                       have no obligation to provide notice of this right to any individual Insured. Such right
                       must be exercised in accordance with, and is subject to, the provisions of this
                       Clause XI.

   11.    Clause XIII. ACTION AGAINST THE UNDERWRITERS is amended by deleting the words “fully
          and finally” before the word “determined” and by the addition of the following:

                  Provided, however, if the Underwriter does not pay any judgment covered by the terms
                  of this Policy within thirty (30) days from the service of notice of the judgment upon the
                  Insured or its attorney and the Underwriter, then an action may be brought against the
                  Underwriter under the terms of this Policy for the amount of judgment not exceeding the
                  amount of the applicable Limit of Liability under this Policy, except during a stay or
                  limited stay of execution against the Insured on such judgment.

   12.    Clause XVII. BANKRUPTCY is amended by the addition of the words “or of their estates” after
          the words “Insureds”.

   13.    The Policy is amended by the addition of the following Clause XX.:

          XX.     LOSS INFORMATION

                  Upon written request by the Insured or the Insured’s authorized agent or broker, the
                  Insurer shall mail or deliver the following Loss information for the time the Policy was in
                  effect within twenty (20) days of such request:

                  1. information on closed Claims, including the date and description of the Claim, and
                     any payments,




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                   2. information on open Claims, including the date and description of the Claim, and
                      amounts of any payments; and

                   3. information on notice of any Wrongful Acts, including the date and description of
                      such notice.

   All other terms and conditions of this Policy remain unchanged.



                                                                __________________________________________
                                                                Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                                    NEW YORK REQUIRED ADDENDUM TO
                                   DECLARATIONS PAGE AND APPLICATION

      This Addendum provides the Insured with the following Notice about the insurance provided under the
      following:

      Beazley One Management Liability Insurance Policy


      This is a claims-made policy. As such:
      (1)    This Policy provides no coverage for Claims arising out of incidents, occurrences or alleged
             wrongful acts which took place before the Retroactive Date stated in the Declarations Page.
      (2)    This Policy covers only Claims actually made against the Insured while the Policy remains in
             effect (and, solely to the extent provided in this Policy, Circumstances reported to the Insurer as
             provided in this Policy) and all coverage under this Policy ceases upon the termination of this
             Policy, except for the Automatic Extension Period coverage, unless the Named Insured
             purchases an Optional Extension Period.
      (3)    The length of the Automatic Extension Period is sixty (60) days. The length of the Optional
             Extension Period that can be purchased under this Policy is a three-year or a one-year
             Optional Extension Period. The Automatic Extension Period is included as part of the
             Optional Extension Period for purposes of calculating the length of the total extension period
             under this Policy.
      (4)    Because the Optional Extension Period available to be purchased under this Policy is not for
             an unlimited duration, there may be gaps in coverage that may arise upon the expiration of any
             Optional Extension Period purchased under this Policy.
      (5)    During the first several years of a claims-made relationship, claims-made rates are comparatively
             lower than occurrence rates, and the Insured can expect substantial annual premium increases,
             independent of overall rate level increases, until the claims-made relationship reaches maturity.




                                                                   __________________________________________
                                                                   Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. referred to in this endorsement as either the “Insurer” or the
      “Underwriters”



                                POLICYHOLDER DISCLOSURE NOTICE OF
                                  TERRORISM INSURANCE COVERAGE

      You are hereby notified that under the Terrorism Risk Insurance Act of 2002, as amended ("TRIA"),
      insurance coverage provided by this Policy includes losses arising out of acts of terrorism, as defined
      in Section 102(1) of the Act, as amended: The term “act of terrorism” means any act that is certified
      by the Secretary of the Treasury, in consultation with the Secretary of Homeland Security and the
      Attorney General of the United States, to be an act of terrorism; to be a violent act or an act that is
      dangerous to human life, property, or infrastructure; to have resulted in damage within the United
      States, or outside the United States in the case of an air carrier or vessel or the premises of a United
      States mission; and to have been committed by an individual or individuals, as part of an effort to
      coerce the civilian population of the United States or to influence the policy or affect the conduct of the
      United States Government by coercion. Any coverage you purchase for "acts of terrorism" shall expire
      at 12:00 midnight December 31, 2020, the date on which the TRIA Program is scheduled to
      terminate, or the expiry date of the policy whichever occurs first, and shall not cover any losses or
      events which arise after the earlier of these dates.
      YOU SHOULD KNOW THAT COVERAGE PROVIDED BY THIS POLICY FOR LOSSES CAUSED
      BY CERTIFIED ACTS OF TERRORISM IS PARTIALLY REIMBURSED BY THE UNITED STATES
      UNDER A FORMULA ESTABLISHED BY FEDERAL LAW. HOWEVER, YOUR POLICY MAY
      CONTAIN OTHER EXCLUSIONS WHICH MIGHT AFFECT YOUR COVERAGE, SUCH AS AN
      EXCLUSION FOR NUCLEAR EVENTS. UNDER THIS FORMULA, THE UNITED STATES PAYS
      85% THROUGH 2015; 84% BEGINNING ON JANUARY 1, 2016; 83% BEGINNING ON JANUARY 1,
      2017; 82% BEGINNING ON JANUARY 1, 2018; 81% BEGINNING ON JANUARY 1, 2019 AND 80%
      BEGINNING ON JANUARY 1, 2020; OF COVERED TERRORISM LOSSES EXCEEDING THE
      STATUTORILY ESTABLISHED DEDUCTIBLE PAID BY THE INSURER(S) PROVIDING THE
      COVERAGE. YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK INSURANCE ACT, AS
      AMENDED, CONTAINS A USD100 BILLION CAP THAT LIMITS U.S. GOVERNMENT
      REIMBURSEMENT AS WELL AS INSURERS' LIABILITY FOR LOSSES RESULTING FROM
      CERTIFIED ACTS OF TERRORISM WHEN THE AMOUNT OF SUCH LOSSES IN ANY ONE
      CALENDAR YEAR EXCEEDS USD100 BILLION. IF THE AGGREGATE INSURED LOSSES FOR
      ALL INSURERS EXCEED USD100 BILLION, YOUR COVERAGE MAY BE REDUCED.

      (LMA 9104 amended)




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                        SANCTION LIMITATION AND EXCLUSION CLAUSE- NEW YORK

      This endorsement modifies insurance provided under the following:


      Beazley One Management Liability Insurance Policy


      Beazley Insurance Company, Inc. shall not be deemed to provide coverage and shall not be liable to pay
      any claim or provide any benefit hereunder to the extent that the provision of such cover, payment of such
      claim or provision of such benefit would expose Beazley Insurance Company, Inc. to any sanction,
      prohibition or restriction under United Nations resolutions or the trade or economic sanctions, law,
      regulations of the United States of America or on the list of Specially Designated National and Blocked
      Persons issued by the United States Treasury Department’s Office of Foreign Asset Control (OFAC).




      All other terms and conditions of this Policy remain unchanged.



                                                                    __________________________________________
                                                                   Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                                         AMEND ACQUISITION THRESHOLD

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy
      In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause V.
      Adjustment of the Employment Practices Liability Clause is deleted and replaced with the following:
      V.      Adjustment
      This Policy is issued and the premium computed on the basis of the information submitted to the
      Underwriters as part of the Application. In the event the Named Insured, after the inception date of this
      Policy:
      a.      merges with another entity such that the Named Insured is the surviving entity; or
      b.      acquires assets of another entity or creates or acquires a Subsidiary whose employees exceed
              30% of the total number of employees of the Insured Organization at the time of acquisition,
      coverage shall be afforded for a period of ninety (90) days for any Loss in any way involving the assets
      acquired or the assets, liabilities, directors, officers or employees of the entity acquired or merged with, or
      such Subsidiary. Coverage beyond such ninety (90) day period shall only be available if written notice of
      such transaction or event is given to Underwriters by the Named Insured; the Named Insured provides
      Underwriters with such information in connection therewith as Underwriters may deem necessary; the
      Insureds accept any special terms, conditions, exclusions or additional premium charge as may be
      required by Underwriters; and Underwriters, at their sole discretion, agree to provide such coverage.



      All other terms and conditions of this Policy remain unchanged.




                                                                       __________________________________________
                                                                      Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”


                                      AMEND DEFINITION OF APPLICATION


      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy
      In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause II.
      Definitions A. “Application” of the Employment Practices Liability Clause is deleted and replaced with the
      following:


      A.      “Application” means all applications for this Policy, including all attachments and other materials
              submitted therewith or incorporated therein, and any other documents or information submitted in
              connection with the underwriting of this Policy, including any endorsement or other part thereof.




      All other terms and conditions of this Policy remain unchanged.




                                                                    __________________________________________
                                                                    Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. referred to in this endorsement as either the “Insurer” or the
      “Underwriters”


                                    AMEND DEFINITION OF DISCRIMINATION

      This endorsement modifies insurance provided under the following:


      Beazley One Management Liability Insurance Policy
      In consideration of the premium charged for the Policy, it is hereby understood and agreed that
      Clause II. DEFINITIONS D. Discrimination, of the Employment Practices Liability Clause, is
      deleted in its entirety and replaced with the following:


      D.      “Discrimination” means any actual or alleged termination of the employment relationship,
              demotion, failure or refusal to hire or promote, denial of an employment benefit or the taking
              of any adverse or differential employment action because of race, color, religion, age, sex,
              disability, pregnancy, sexual orientation, national origin, or any other basis which is or is
              alleged to be prohibited by federal, state or local law, including The Genetic Information
              Nondiscrimination Act of 2008.


      All other terms and conditions of this Policy remain unchanged.




                                                                   __________________________________________
                                                                   Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                    AMEND DEFINITION OF EMPLOYEE TO INCLUDE FUTURE EMPLOYEES

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy

      In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause II.
      Definitions E. “Employee” of the Employment Practices Liability Clause is deleted and replaced with the
      following:

      E.      Employee means all persons whose labor or service is currently, has formerly or will be engaged
              by and directed by the Insured Organization. This includes applicants for employment,
              employees, volunteers, part time, seasonal, leased and temporary Employees as well as any
              individual employed in a supervisory, managerial or confidential position and Independent
              Contractors. Leased employees are Employees, but only to the extent that such leased
              employee brings a Claim against an Insured. Employees who are leased to another employer
              are not Employees.



      All other terms and conditions of this Policy remain unchanged.



                                                                    __________________________________________
                                                                   Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
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REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                             AMEND DEFINITION OF INDEPENDENT CONTRACTOR

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy


      In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause II.
      Definitions I. “Independent Contractor” of the Employment Practices Liability Clause is deleted and
      replaced with the following:
      I.      “Independent Contractor” means any natural person independent contractor who performs
              labor or service for the Insured Organization pursuant to a written contract or agreement, where
              such labor or service is under the exclusive direction of the Insured Organization. The status of
              an individual as an Independent Contractor shall be determined as of the date of the alleged
              Wrongful Act.




      All other terms and conditions of this Policy remain unchanged.




                                                                    __________________________________________
                                                                   Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                                 AMEND HARASSMENT TO INCLUDE BULLYING

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy
      In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause II.
      Definitions G. “Harassment” of the Employment Practices Liability Clause is deleted and replaced with
      the following:
      G.      “Harassment” means actual or alleged unwelcome sexual advances, requests for sexual favors
              or other verbal, visual or physical conduct, including bullying, of a sexual or non-sexual nature,
              where such harassment is based on an employee’s race, color, religion, age, sex, disability
              pregnancy, sexual orientation, national origin, or any other basis protected by federal, state or
              local law and is explicitly or implicitly made a condition of employment, used as a basis for
              employment decisions or performance, or creates a hostile, intimidating or offensive work
              environment or that interferes with performance.




      All other terms and conditions of this Policy remain unchanged.




                                                                    __________________________________________
                                                                   Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                                 AMEND NOTICE OF CLAIM TO INCLUDE E-MAIL

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy
      In consideration of the premium charged for the Policy, it is hereby understood and agreed that:
      1.      Clause IX. Notification C. of the Policy is deleted and replaced with the following:

              C.      Notice to the Underwriters provided in Clause IX.A. and B shall be given to the firm
                      shown in Item 8.a. of the Declarations. All other notices to the Underwriters under this
                      Policy shall be given to the firm shown in Item 8.b. of the Declarations. All notices under
                      any provision of this Policy must be made in writing and delivered by electronic mail,
                      prepaid express courier, certified mail or fax. Notices given as described above shall be
                      deemed to be received and effective upon actual receipt thereof by the addressee.
      2.      Item 8. of the Declarations is amended to include the following electronic mail address:
              claims@beazley.com




      All other terms and conditions of this Policy remain unchanged.




                                                                      __________________________________________
                                                                     Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                                AMEND NOTICE OF CLAIM TO CONTROL GROUP


      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy


      In consideration of the premium charged for the Policy, it is hereby understood and agreed that:
      1.      Clause IX.A. of the Policy Terms and Conditions is deleted in its entirety and replaced with the
              following:
              A.       In the event the Executive Officer of the Insured Organization becomes aware that a
                       Claim has been made against any of the Insureds, the Insureds shall, as a condition
                       precedent to their rights to payment under this Policy, give to the Underwriters notice in
                       writing of such Claim as soon as practicable but in no event later than the earliest of the
                       following times:
                       1.     90 days after the date the Executive Officer becomes aware of such Claim, or
                       2.     90 days after the end of the Policy Period or the last day of the Optional
                              Extension Period, if purchased.
      2.      Solely with respect to Clause IX.A. of the Policy Terms and Conditions, Clause II. DEFINITIONS
              J. “Executive Officer” of the Fiduciary Liability Clause is deleted in its entirety and replaced with
              the following:
              F.      “Executive Officer” means Risk Manager, General Counsel or Director of Human
                       Resources of the Insured Organization.




      All other terms and conditions of this Policy remain unchanged.




                                                                     __________________________________________
                                                                     Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                           AMEND OTHER INSURANCE – VALID AND COLLECTIBLE

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy
      In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause
      X.D. Other Insurance is deleted and replaced with the following:

      D.      Other Insurance

              This Policy shall apply in excess of any other existing valid and collectible policy including any
              self insured retention or deductible portion thereof, whether such other insurance is stated to be
              primary, contributory, excess, contingent or otherwise, unless such other policy is written only as
              specific excess insurance over the Limits of Liability of this Policy.




      All other terms and conditions of this Policy remain unchanged.




                                                                    __________________________________________
                                                                   Authorized Representative




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       012009 ed.
       Class Code: 2-14057                               80
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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

               AMEND SUBLIMIT FOR VOLUNTARY COMPLIANCE FEES AND DEFENSE COSTS

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy
      In consideration of the premium charged for the Policy, it is hereby understood and agreed that the
      $100,000 sublimit applicable to Voluntary Compliance Fees and Defense Costs incurred with respect
      to a Voluntary Compliance Notice as as set forth in Clause I. Insuring Clauses B. of the Fiduciary
      Liability Clause is deleted and replaced with $150,000. Such amount shall be subject to a Retention set
      forth in Item 5, of the Declarations and shall be part of any not in addition to the Limit of Liability set forth
      in Item 4. of the Declarations. This Insuring Clause shall not apply to any Voluntary Compliance Fees
      and Defense Costs incurred with respect to the Insured’s participation in any Voluntary Compliance
      Program initiated prior to the Inception Date of this Policy.


      All other terms and conditions of this Policy remain unchanged.




                                                                        __________________________________________
                                                                       Authorized Representative




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       012009 ed.
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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                                      AMEND SUBSIDIARY ENDORSEMENT

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy
      In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause I.
      Definitions J. “Subsidiary” of the Policy Terms and Conditions is amended to include the following entity
      (ies):

               EQX Hotel Management, LLC
               Blink Holdings, Inc. (solely with respect to the Fiduciary Liability Clause)




      All other terms and conditions of this Policy remain unchanged.




                                                                   __________________________________________
                                                                   Authorized Representative




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       082008 ed.
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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                                     AMEND THIRD PARTY WRONGFUL ACT

      This endorsement modifies insurance provided under the following:

      Beazley One Management Liability Insurance Policy


      In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause II
      Definitions P, “Third Party Wrongful Act” of the Employment Practices Liability Clause is deleted and
      replaced with the following:
      P.      “Third Party Wrongful Act” means any actual or alleged harassment or discrimination, including
              discriminatory or sexual harassment, by any of the Insureds against any natural person who is
              not an Insured Person or an applicant for employment of the Insured Organization.




      All other terms and conditions of this Policy remain unchanged.




                                                                   __________________________________________
                                                                   Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
      “Underwriters”


                                               HIPAA ENDORSEMENT

      This endorsement modifies insurance provided under the following:


      Beazley One Management Liability Insurance Policy

      In consideration of the premium charged for the Policy, it is hereby understood and agreed that solely
      with respect to any Claim for actual or alleged violations of the Health Insurance Portability and
      Accountability Act (HIPAA):

      1.      Clause II. Definitions B.2. of the Director, Officers and Entity Liability Clause and the Employment
              Practices Liability Clause is deleted. The term “Claim” shall not include any criminal proceeding.

      2.      Clause II. Definitions I.2. of the Director, Officers and Entity Liability Clause and the Employment
              Practices Liability Clause shall not apply.

      3.      The Underwriters maximum aggregate limit of liability for all civil fines for violation of HIPAA shall
              be $150,000 which shall be part of and not in addition to the Limit of Liability shown in Item 4. of
              the Declarations.

      4.      The Underwriters shall not be liable to make any payment for Loss in connection with or resulting
              from any Claim for costs and expenses incurred or to be incurred to comply with an order,
              judgment or award of injunctive or equitable relief of any kind, or that portion of a settlement
              encompassing injunctive or other equitable relief, including but not limited to actual or anticipated
              costs and expenses associated with or arising from an Insured's obligation to comply with
              HIPAA.


      All other terms and conditions of this Policy remain unchanged.




                                                                      __________________________________________
                                                                      Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
      Effective date of this Endorsement: 10-Mar-2017
      This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
      Beazley Insurance Company, Inc. referred to in this endorsement as either the “Insurer” or the
      “Underwriters”

                                                INVESTMENT LOSS


      This endorsement modifies insurance provided under the following:
      Beazley One Management Liability Insurance Policy


      In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause III.
      EXCLUSIONS I. of the Fiduciary Liability Clause is deleted in its entirety and replaced with the following:
      I.      for Benefits which are or may become due, except to the extent that such sums are payable as a
              personal obligation of a natural Insured because of such natural person Insured’s Wrongful
              Act; provided, that this exclusion shall not apply to:
              1.      a monetary award in, or fund for settling, a Claim against any Insured to the extent it
                      alleges a loss to a Plan and/or loss in the actual accounts of participants in a Plan by
                      reason of a change in value of the investments held by that Plan, including, but not
                      limited to, the securities of the Company regardless of whether the amounts sought in
                      such Claim have been characterized by plaintiffs as “benefits” or held by a court to be
                      “benefits”; or
              2.      Defense Costs;




      All other terms and conditions of this Policy remain unchanged.




                                                                    __________________________________________
                                                                    Authorized Representative




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
     Effective date of this Endorsement: 10-Mar-2017
     This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
     Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
     “Underwriters”

                                 LEADERS PREFERREDSM ENDORSEMENT
                                EMPLOYMENT PRACTICES LIABILITY CLAUSE

     This endorsement modifies insurance provided under the following:

     Beazley One Management Liability Insurance Policy
     In consideration of the premium charged for the Policy, it is hereby understood and agreed that:
     1.      Clause VI. Settlement and Defense of the Policy Terms and Conditions is deleted and replaced
             with the following:
             VI.     Settlement and Defense

                      A.      It shall be the duty of the Insureds and not the duty of the Underwriters to
                              defend Claims. The Insured has the right to select defense counsel, subject to
                              Underwriters’ prior written consent, which shall not be unreasonably withheld.
                              Underwriters have the right to rescind consent to counsel selected by the
                              Insured upon sixty (60) days advance notification to the Insured. The maximum
                              rates payable under this Policy for defense counsel selected by the Insured is
                                    per hour for attorneys and       per hour for paralegals. The Underwriters
                              shall have the right and shall be given the opportunity to effectively associate
                              with the Insureds in the investigation, defense and settlement of any Claim that
                              appears reasonably likely to be covered in whole or in part hereunder.

                              Notwithstanding the foregoing, the Named Insured may, at its option and on
                              behalf of all Insureds, tender the defense of any Claim to Underwriters, in
                              which case Underwriters shall assume the duty to defend.

                      B.      The Insureds shall not settle any Claim, admit or assume any liability, stipulate
                              to any judgment or otherwise assume any contractual obligation without the
                              Underwriters’ prior written consent, which shall not be unreasonably withheld.
                              The Underwriters shall not be liable for any settlement, Defense Costs,
                              assumed obligation, admission or stipulated judgment to which they have not
                              consented or for which the Insureds are not legally obligated as a result of a
                              Claim for a Wrongful Act. Notwithstanding the foregoing, if all Insureds are
                              able to fully and finally dispose of, with prejudice, all Claims that are subject to
                              one Retention for an amount not exceeding such Retention, including Defense
                              Costs, then the Underwriters’ consent shall not be required for such disposition.

                      C.      Subject to Clause V. of the Private Organization Directors, Officers and Entity
                              Liability Clause, if applicable and VI.D. below, the Underwriters shall advance on
                              behalf of the Insureds, Defense Costs which the Insureds have incurred in
                              connection with a Claim made against them, prior to the final disposition of such
                              Claim, provided that to the extent it is finally established that any such Defense



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                        Costs are not covered under this Policy, the Insureds, severally according to
                        their interests, shall repay such Defense Costs to the Underwriters. The
                        Underwriters shall pay Defense Costs no more than once every ninety (90)
                        days.

              D.       If the Insureds withhold consent to a settlement acceptable to the claimant and
                       recommended by Underwriters, then the Underwriters liability for such Claim
                       shall not exceed:

                       1.     the amount for which the Claim could have settled and the Defense
                              Costs incurred as of the date such settlement was proposed to the
                              Insureds; plus

                        2.    80% of any Loss incurred after the date such settlement or compromise
                              was proposed to the Insureds, with the remaining 20% of such Loss to
                              be borne by the Insureds at their own risk and uninsured or the
                              applicable limit of liability whichever is less.

2.     Clause VII. Allocation of the Policy Terms and Conditions is deleted and replaced with the
       following:

       VII.   Allocation

               If both Loss covered by this Policy and loss not covered by this Policy are incurred,
               either because a Claim made against the Insured contains both covered and non-
               covered matters, or because a Claim is made against both the Insured and others not
               insured under this Policy, the Insured and the Underwriters will use their best efforts to
               determine a fair and appropriate allocation between that portion of Loss that is covered
               under this Policy and that portion of loss that is not covered under this Policy.

3.     Clause IX.A Notification of the Policy Terms and Conditions is deleted and replaced with the
       following:

       A.     If the applicable Retention indicated in Item 5. of the Declarations Page is $100,000 or
              more, the Insureds shall, as a condition precedent to their rights under this Policy, give
              to Underwriters notice in writing of any Claim as soon as practicable after the Executive
              Officer of the Insured Organization becomes aware that Defense Costs in connection
              with such Claim has exceeded 50% of the Retention provided all such Claims must be
              reported no later than the end of the Policy Period, or Optional Extension Period (if
              applicable). All other Claims must be reported via bordereau not later than 30 days prior
              to expiration of the Policy, or sixty (60) days after the expiration of the Policy Period in
              the case of Claims first made against the Insured during the last sixty (60) days of the
              Policy Period.

              If the applicable Retention indicated in Item 5. of the Declarations Page is less than
               $100,000, the Insureds shall, as a condition precedent to their rights under this Policy,
               give to Underwriters notice in writing of any Claim as soon as practicable after the
               Executive Officer of the Insured Organization becomes aware of such Claim provided
               all such Claims must be reported no later than the end of the Policy Period, in
               accordance with the requirements of the Optional Extension Period (if applicable), or
               sixty (60) days after the expiration of the Policy Period in the case of Claims first made
               against the Insured during the last sixty (60) days of the Policy Period.

4.     Clause X. General Conditions A. of the Policy Terms And Conditions is deleted and replaced with
       the following:




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       A.      In issuing this policy, Underwriters have relied upon the statements and representations
               in the Application. The Insureds represent that all such statements and representations
               are true and deemed material to the acceptance of the risk or the hazard assumed by
               Underwriters under this policy.

               The Insureds agree that in the event any such statements or representations are untrue
               and made with the intent to deceive, this policy will not afford any coverage with respect
               to any of the following Insureds:

               1. any individual Insured who knew the facts that were not truthfully disclosed in the
                  Application, provided that no knowledge possessed by any individual Insured shall
                  be imputed to any other individual Insured; and

               2. the Insured Organization, if an Executive Officer had actual knowledge that the
                  facts were not truthfully disclosed in the Application.

5.     Solely with respect to coverage under the Employment Practices Liability Clause, Clause II.
       Exclusions A.2. of the Policy Terms And Conditions is deleted and replaced with the following:

       2.      any Wrongful Act or any fact, circumstance, transaction or situation which has been the
               subject of any notice of a Claim or notice of a potential Claim given prior to the Policy
               Period under any other employment practices liability policy;

6.     Clause II. Definitions A. “Application” of the Employment Practices Liability Clause is deleted
       and replaced with the following:
       A.      “Application” means the application for this Policy and any attachments thereto.
7.     Clause II. Definitions B.2.b., B.2.c. and B.4. of the Employment Practices Liability Clause are
       deleted and replaced with the following:

       b.       the receipt of a notice of charges, investigative order or similar document;

       c.       receipt of a written notice or subpoena from an investigatory authority identifying such
               Insured as an entity or person against whom a formal proceeding may be commenced;

       4.       an arbitration or mediation or other alternative dispute resolution proceeding.

8.     Clause II. Definitions C. “Defense Costs” of the Employment Practices Liability Clause is deleted
       and replaced with the following:
       C.      “Defense Costs” means reasonable and necessary: (1) legal fees and expenses
                incurred by or on behalf of the Insureds in defending, settling, appealing or investigating
                any Claim and the cost of appeal, supersedeas, injunction, attachment or similar bonds
                (provided, however, Underwriters shall have not obligation to apply for or furnish any
                bond for appeal, supersedeas, injunction, attachment or any similar purpose; and (2)
                those costs previously incurred by the Insured in connection with any regulatory or
                administrative investigations if such investigation results in a Claim. Defense Costs
                does not include salaries, regular or overtime wages, fees or benefit expenses
                associated with Employees or the Insured Organization’s overhead expenses.
9.     Clause II. Definitions D. “Discrimination” of the Employment Practices Liability Clause is
       amended to include actual or alleged termination of the employment relationship, demotion,
       failure or refusal to hire or promote, denial of an employment benefit or the taking of adverse or
       differential employment action because of military status in violation of Uniformed Services
       Employment Reemployment Rights Act (USERRA).




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10.    Clause II. Definitions F. ”Executive Officer” of the Employment Practices Liability Clause is
       deleted and replaced with the following:

       F.      “Executive Officer” means the Risk Manager, General Counsel or Director of Human
                Resources of the Insured Organization.

11.    Clause II. Definitions H. “Inappropriate Employment Conduct” of the Employment Practices
       Liability Clause is amended to include breach of implied employment contract, negligent training
       or invasion of privacy under the Healthcare Insurance Portability and Accountability Act
       (“HIPAA”).
12.    Clause II. Definitions I. “Independent Contractor” of the Employment Practices Liability Clause
       is deleted and replaced with the following:
       I.      “Independent Contractor” means any natural person independent contractor who
                performs labor or service for the Insured Organization on a full-time basis where such
                labor or service is under the exclusive direction of the Insured Organization. An
                Independent Contractor shall be considered an Employee solely for Claims by such
                person for a Wrongful Act taking place while working for the Insured Organization or if
                the Insured Organization would be responsible for such person’s Wrongful Act in the
                absence of an agreement to indemnify.
13.    Clause II. Definitions L. “Loss” of the Employment Practices Liability Clause is amended to
       include costs of educational and sensitivity training programs where required as part of a
       settlement, consent decree, judgement or order; provided, that the Underwriters maximum
       aggregate limit of liability for such costs will be 25% of the limit of liability applicable to the
       Employment Practices Liability Clause stated in Item 4. of the Declarations or $1,000,000
       whichever is less.
14.    Clause II. Definitions L.7. of the Employment Practices Liability Clause is deleted.

15.    Clause III. Exclusions C. of the Employment Practices Liability Clause is deleted and replaced
       with the following:

      C.       for actual or alleged violation(s) of the Employee Retirement Income Security Act of 1974
               (“ERISA”), or any violation of any federal, state, local or foreign statutory law or common
               law that governs the same topic or subject and any rules, regulations and amendments
               thereto or for an Insured’s failure or refusal to establish, contribute to, pay for, insure,
               maintain, provide benefits pursuant to, or enrol or maintain the enrolment of an Insured
               Person or dependent in, any employee benefit plan, fund or program, or contractual
               agreement to provide similar benefits; provided, however this exclusion shall not apply to
               a Claim for Retaliation;

16.    Clause III. Exclusions F. of the Employment Practices Liability Clause is deleted and replaced
       with the following:

       F.      for the liability of others assumed by an Insured under any contract or agreement, oral or
               written, except to the extent that the Insured would have been liable in the absence of
               such contract or agreement; provided, that this Exclusion shall not apply to:


                a.     Defense Costs for which the Underwriters’ maximum aggregate limit of liability
                       for all such Defense Costs under this Policy shall be $1,000,000 which shall be
                       part of and not in addition to the aggregate limit of liability applicable to the
                       Employment Practices Liability Clause set forth in Item 4. of the Declarations; or




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                b.      liability assumed under an indemnification provision of an independent
                        contractor/temporary employment agency agreement for liability arising from the
                        conduct of the Independent Contractor while working with the Insured
                        Organization.
17.     If, prior to the implementation of a Reduction In Force (“RIF”) or prior to the termination of any
        senior level Employee, director or officer, the Insured obtains and adopts the written advice of
        employment counsel as respects such RIF or termination, then the applicable Retention amount
        stated in Item 5. of the Declarations shall be reduced by twenty-five percent (25%) (up to a
        maximum of $75,000) for any Claim commenced by any Employee arising from the events of
        the RIF or termination.
18.     If, per the recommendation of the Underwriters, the Insured agrees to mediate a Claim and
        such mediation results in settlement of that Claim, then the applicable Retention amount stated
        in Item 5. of the Declarations shall be retroactively reduced by ten percent (10%).
19.     In the event that, subsequent to the inception date of this Policy, Underwriters introduce a new
        Employment Practices Liability form or a new version of this Leaders Preferred Endorsement,
        either of which offer broader coverage, this Policy shall be construed to include the broadened
        coverage.




All other terms and conditions of this Policy remain unchanged.




                                                             __________________________________________
                                                             Authorized Representative




 E01321                                                                                     Page 5 of 5
 112009 ed.
 Class Code: 2-14057                               90
    Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 84 of 150 Page ID
                                      #:105



NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

     Effective date of this Endorsement: 10-Mar-2017
     This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
     Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
     “Underwriters”

                                   OPTIONAL EXTENSION PERIOD OPTIONS

     This endorsement modifies insurance provided under the following:

     Beazley One Management Liability Insurance Policy

     In consideration of the premium charged for the Policy, it is hereby understood and agreed that Item 7. of
     the Declarations is deleted and replaced with the following:

     Item 7. Optional Extension Period

     1. (a) Premium for Optional Extension Period:    95 % of the total premium for the Policy

       (b) Length of Optional Extension Period:       12 months

     2. (a) Premium for Optional Extension Period:    125 % of the total premium for the Policy

       (b) Length of Optional Extension Period:       24 months

     3. (a) Premium for Optional Extension Period:    150 % of the total premium for the Policy

       (b) Length of Optional Extension Period:       36 months




     All other terms and conditions of this Policy remain unchanged.




                                                                   __________________________________________
                                                                  Authorized Representative




      E00812                                                                                      Page 1 of 1
      102008 ed.
      Class Code: 2-14057                               91
    Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 85 of 150 Page ID
                                      #:106



NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

     Effective date of this Endorsement: 10-Mar-2017
     This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
     Beazley Insurance Company, Inc. referred to in this endorsement as either the “Insurer” or the
     “Underwriters”

                            PATIENT PROTECTION AND AFFORDABLE CARE ACT

     This endorsement modifies insurance provided under the following:


     Beazley One Management Liability Insurance Policy


     In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause II.
     DEFINITIONS N. “Loss” of the Fiduciary Liability Clause is amended by the addition of the following:


     solely in connection with a Plan, the civil penalties under the Patient Protection and Affordable Care Act
     (PPACA), subject to the aggregate sublimit of $5,000,000, which amount is in part of, and not in addition
     to, the Underwriter’s maximum aggregate Limit of Liability set forth in Item 4. of the Declarations for the
     Fiduciary Liability Clause.

     No Retention shall apply to Loss for civil penalties under the Patient Protection and Affordable Care Act
     (PPACA) solely in connection with a Plan.




     All other terms and conditions of this Policy remain unchanged.




                                                                    __________________________________________
                                                                    Authorized Representative




      E04714                                                                                        Page 1 of 1
      052013 ed.
      Class Code: 2-14057                                 92
    Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 86 of 150 Page ID
                                      #:107



NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

     Effective date of this Endorsement: 10-Mar-2017
     This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
     Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
     “Underwriters”

                           PRE-APPROVED CHOICE OF COUNSEL ENDORSEMENT

     This endorsement modifies insurance provided under the following:


     Beazley One Management Liability Insurance Policy

     In consideration of the premium charged for the Policy, it is hereby understood and agreed that the law
     firm of LaRocca Hornik Rosen Greenberg & Blaha is hereby consented to by the Underwriters as
     approved Defense Counsel for defense of Claims at a maximum rate of               per partner,      per
     associate, and         per paralegal. When a situation arises where rates above the maximum are
     required, such a request will require the Underwriters’ consent.



     All other terms and conditions of this Policy remain unchanged.




                                                                  __________________________________________
                                                                  Authorized Representative




      E00903                                                                                    Page 1 of 1
      012009 ed.
      Class Code: 2-14057                               93
    Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 87 of 150 Page ID
                                      #:108



NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

     Effective date of this Endorsement: 10-Mar-2017
     This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
     Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
     “Underwriters”

                           PRE-APPROVED CHOICE OF COUNSEL ENDORSEMENT

     This endorsement modifies insurance provided under the following:

     Beazley One Management Liability Insurance Policy

     In consideration of the premium charged for the Policy, it is hereby understood and agreed that the law
     firm of Jackson Lewis is hereby consented to by the Underwriters as approved Defense Counsel for
     defense of Claims at a maximum rate of        per partner,        per associate, and     per paralegal.
     When a situation arises where rates above the maximum are required, such a request will require the
     Underwriters’ consent.



     All other terms and conditions of this Policy remain unchanged.




                                                                  __________________________________________
                                                                  Authorized Representative




      E00903                                                                                    Page 1 of 1
      012009 ed.
      Class Code: 2-14057                               94
    Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 88 of 150 Page ID
                                      #:109



NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
     Effective date of this Endorsement: 10-Mar-2017
     This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
     Insurer: Beazley Insurance Company, Inc.

                                PRO RATA CANCELLATION FOR ANY REASON

     This endorsement modifies insurance provided under the following:


     Beazley One Management Liability Insurance Policy


     In consideration of the premium charged for the Policy, it is hereby understood and agreed that the final
     paragraph of Clause X. General Conditions C. Cancellation/Nonrenewal 3. of the Policy Terms and
     Conditions is deleted in its entirety and replaced with the following:
             3.      If this Policy is cancelled for any reason earned premium shall be computed on pro rata
                     basis. Premium adjustment may be made at the time cancellation becomes effective, but
                     payment or tender of unearned Premium is not a condition of cancellation.




     All other terms and conditions of this Policy remain unchanged.




                                                                  __________________________________________
                                                                  Authorized Representative




      E02496                                                                                     Page 1 of 1
      012011 ed.
      Class Code: 2-14057                               95
    Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 89 of 150 Page ID
                                      #:110



NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
     Effective date of this Endorsement: 10-Mar-2017
     This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
     Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
     “Underwriters”

                              RETALIATION CARVEBACK TO NLRA EXCLUSION

     This endorsement modifies insurance provided under the following:

     Beazley One Management Liability Insurance Policy
     In consideration of the premium charged for the Policy, it is hereby understood and agreed that Clause III.
     Exclusions E. of the Employment Practices Liability Clause shall not apply to any Claim for Retaliation.




     All other terms and conditions of this Policy remain unchanged.




                                                                   __________________________________________
                                                                   Authorized Representative




      E00849                                                                                      Page 1 of 1
      122008 ed.
      Class Code: 2-14057                                96
    Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 90 of 150 Page ID
                                      #:111



NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

     Effective date of this Endorsement: 10-Mar-2017
     This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
     Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
     “Underwriters”

      SEPARATE PENDING AND PRIOR LITIGATION DATE FOR EXCESS LIMIT OF LIABILITY UNDER
                                   SCHEDULED CLAUSE

     This endorsement modifies insurance provided under the following:

     Beazley One Management Liability Insurance Policy


     In consideration of the premium charged for the Policy, it is hereby understood and agreed that with
     respect to the $5,000,000 limit of liability in excess of $5,000,000 under the Employment Practices
     Liability Clause(s) of this Policy, Item 9. of the Declarations is deleted and replaced with the following:
     9.        Prior and Pending Litigation Date: 10-Feb-2011


     All other terms and conditions of this Policy remain unchanged..




                                                                   __________________________________________
                                                                   Authorized Representative




      E00978                                                                                      Page 1 of 1
      012009 ed.
      Class Code: 2-14057                                97
    Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 91 of 150 Page ID
                                      #:112



NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

     Effective date of this Endorsement: 10-Mar-2017
     This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
     Beazley Insurance Company, Inc. Referred to in this endorsement as either the “Insurer” or the
     “Underwriters”

                       SEPARATE RETENTION FOR CLASS OR MASS ACTION CLAIMS

     This endorsement modifies insurance provided under the following:

     Beazley One Management Liability Insurance Policy

     In consideration of the premium charged for the Policy, it is hereby understood and agreed that
     1.      For purposes of this endorsement, the term “Class Action Claim or Mass Action Claim” means
             any Claim brought or maintained by or on behalf of, or for the benefit of:

             a.      three or more natural persons who are acting in concert, whether or not such natural
                     persons are represented by one or more legal counsel;

             b.      more than one natural persons if any of such natural persons are alleging systemic
                     Wrongful Acts or a pattern and practice of Wrongful Acts and are seeking monetary
                     relief on behalf of a class or group of complainants in order to resolve such Claim,
                     whether or not such natural persons are represented by one or more legal counsel; or

             c.      a governmental entity, department or agency alleging systemic Wrongful Acts or a
                     pattern and practice of Wrongful Acts and seeking monetary relief on behalf of a class
                     or group of complainants in order to resolve such Claim.

     2.      Solely with respect to any Class Action Claim or Mass Action Claim, the Retention set forth in
             Item 5. of the Declarations is deleted and replaced with the following:

             Item 5. Retention(s):

                                                                       Retention Each Claim:
             Each Class Action Claim or Mass Action Claim              $250,000



     All other terms and conditions of this Policy remain unchanged.




                                                                   __________________________________________
                                                                  Authorized Representative




      E00691                                                                                      Page 1 of 1
      082008 ed.
      Class Code: 2-14057                               98
    Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 92 of 150 Page ID
                                      #:113



NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.
     Effective date of this Endorsement: 10-Mar-2017
     This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
     Beazley Insurance Company, Inc. referred to in this endorsement as either the “Insurer” or the
     “Underwriters”
                                           SETTLOR ENDORSEMENT
     This endorsement modifies insurance provided under the following:
     FIDUCIARY LIABILITY CLAUSE
     In consideration of the premium charged for the Policy, it is hereby understood and agreed that:
     1.    Clause I. INSURING CLAUSES A. of the Fiduciary Liability Clause is deleted in its entirety and
           replaced with the following:
           A.    The Underwriters shall pay on behalf of the Insureds:
                 1.    all Loss resulting from any Claim first made against any Insured and reported in
                       writing to the Underwriters during the Policy Period or Optional Extension Period,
                       if applicable, for a Wrongful Act (other than a Settlor Wrongful Act); or
                 2.    Defense Costs only resulting from any Claim first made against any Insured and
                       reported in writing to the Underwriters during the Policy Period or Optional
                       Extension Period, if applicable, for a Settlor Wrongful Act.
     2.    Clause II. DEFINITIONS M. “Insured Person” of the Fiduciary Liability Clause is deleted in its
           entirety and replaced with the following:
           M.      “Insured Person” means all persons who were, now are, or shall be employees of the
                   Insured Organization or a Plan; or duly elected or appointed directors, officers, trustees
                   or Managers of the Insured Organization or a Plan in his or her capacity as a
                   Fiduciary, Administrator or settlor of a Plan including all persons outside the United
                   States of America serving in a functionally equivalent role including their estates, heirs,
                   legal representatives or assigns in the event of their death, incapacity or bankruptcy.
     3.    Clause II. DEFINITIONS O. “Plan” of the Fiduciary Liability Clause is amended by the addition
           of the following:
           8.      any plan described in paragraphs 1., 2. or 3. above while such plan is being actively
                   developed, formed or proposed by the Insured Organization prior to the formal creation
                   of such plan.
     4.    Clause II. DEFINITIONS S. “Wrongful Act” of the Fiduciary Liability Clause is amended by the
           addition of the following:
           5.      Settlor Wrongful Act.
     5.    Clause II. DEFINITIONS of the Fiduciary Liability Clause is amended by the addition of:
           “Settlor Wrongful Act” means any actual or alleged act, error or omission by any Insured
           while acting in a settlor capacity in connection with a Plan.
     All other terms and conditions of this Policy remain unchanged.




      E05121                                                                                      Page 1 of 2
      112013 ed.
      Class Code: 2-14057                               99
Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 93 of 150 Page ID
                                  #:114




                                            __________________________________________
                                            Authorized Representative




 E05121                                                                   Page 2 of 2
 112013 ed.
 Class Code: 2-14057                 100
Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 94 of 150 Page ID
                                  #:115



NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND
RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK
INSURANCE LAW AND REGULATIONS.

Effective date of this Endorsement: 10-Mar-2017
This Endorsement is attached to and forms a part of Policy Number: V17FCF170301
Insurer: Beazley Insurance Company, Inc.

                           COMMON CLAIM TIE-IN LIMITS ENDORSEMENT

This endorsement modifies insurance provided under the following:

Beazley One Management Liability Insurance Policy
In consideration of the premium charged for the Policy, it is hereby understood and agreed that
notwithstanding anything to the contrary contained in this Policy, in the event a Claim is made against the
Insured under this Policy and Blink Holdings Inc under V1DF79170101 alleging the same set of facts,
circumstances or arising out of the same Wrongful Acts, the Underwriters maximum Aggregate Limit of
Liability under this Policy and V1DF79170101 shall not exceed the amount of the largest applicable Limit
of Liability.




All other terms and conditions of this Policy remain unchanged.




                                                         ______________________________________
                                                         Authorized Representative




E06786
022015 ed.
Class Code: 2-14057                                                                            Page 1 of 1

                                                   101
Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 95 of 150 Page ID
                                  #:116




          EXHIBIT C
      Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 96 of 150 Page ID
                                        #:117
                      Home Office
                  Madison, Wisconsin
                  Administrative Office:
8877 North Gainey Center Drive • Scottsdale, Arizona 85258
                                                                     COMMONPOLICY – DECLARATIONS
                    1-800-423-7675
                  A STOCK COMPANY

Policy No. KKO0000005740000
Previous Policy No. KKO0000004742300
NAMED INSURED AND ADDRESS:                                                  PRODUCER’S NAME AND ADDRESS:
EQUINOX HOLDINGS, INC.                                                      K&KInsurance
ONE PARK AVENUE                                                             1712 Magnavox Way
NEW YORK, NY 10016                                                          P.O. Box 2338
                                                                            Fort Wayne, IN 46801

POLICY PERIOD: From                 09/01/15          to             09/15/16
                     at 12:01 a.m. Standard Time at your mailing address shown above.




BUSINESS DESCRIPTION: HEALTH CLUB
In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy.
This policy consists of the following coverage parts and separate policies for which a premium is indicated. This premium
may be subject to adjustment.
                                                                                                         PREMIUM
 NOTICE: THESE POLICY                            Commercial Property Coverage Part
 FORMS AND THE                                   Commercial General Liability Coverage Part        $     756,946
                                                 Commercial Inland Marine Coverage Part
 APPLICABLE RATES ARE                            Commercial Crime Coverage Part
 EXEMPT FROMTHE                                  Commercial Auto Coverage Part                     $       22,564
 FILING REQUIREMENTS                             Liquor Liability Coverage Part                    $        6,303
 OF THE NEWYORK                                  Employee Benefits Liability                       $        3,462
                                                 Errors and Omission Coverage Part
 INSURANCE LAWAND                                Employment-Related Practices Liability
 REGULATIONS.
 HOWEVER, THE FORMS
                                                                           Minimum Premium
 ANDRATES MUST MEET                                                        TOTAL PREMIUM
                                                                                                   $
                                                                                                   $
                                                                                                           3,000
                                                                                                         789,275
 THE MINIMUM                                                           NY MVLEF                    $          70.00
 STANDARDS OF THE
 NEWYORKINSURANCE
 LAWAND
 REGULATIONS.
1-44311
     FORMSAPPLICABLE TOALL COVERAGE PARTS: UT-COVPG-NY(03/13)                           KR-SP-1(04/07)
     IL0017(11/98)




                                 09/01/15
     COUNTERSIGNED                                           by:
                                DATE                                     AUTHORIZED REPRESENTATIVE
KR-D-1-NY                                                                                                           04/10
                                                               102
     Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 97 of 150 Page ID
                                       #:118


                                                  Home Office:
                                               Madison, Wisconsin
                                              Administrative Office:
                            8877 North Gainey Center Drive • Scottsdale, Arizona 85258
                                                 1-800-423-7675
                                              A STOCK COMPANY


       NOTICE:
       THESE POLICY FORMS AND THE APPLICABLE RATES ARE
       EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
       INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS
       AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
       YORK INSURANCE LAWAND REGULATIONS.




      In Witness Whereof, the Company has caused this policy to be executed and attested.




              Secretary                                                   President
      The information contained herein replaces any similar information contained elsewhere in the policy.




UT-COVPG-NY(3-13)
                                                        103
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                                      #:119
Policy No. KKO0000005740000                                                               Declarations Extension

The Named Insured, wherever it may appear throughout the policy, shall read as follows:
THROUGHOUT THIS POLICY THE WORDS "YOU" AND "YOUR" REFER TO THE NAMED INSURED SHOWN IN
THE DECLARATIONS AND ANY BUSINESS ENTITY INCORPORATED OR ORGANIZED UNDER THE LAWS OF THE
UNITED STATES OF AMERICA (INCLUDING ANY STATE THEREOF), ITS TERRITORIES OR POSSESSIONS OR
CANADA (INCLUDING ANY PROVINCE THEREOF) IN WHICH THE NAMED INSURED SHOWN IN THE
DECLARATIONS OWNS, DURING THE POLICY PERIOD, AN INTEREST OF MORE THAN 50 PERCENT. IF OTHER
VALID AND COLLECTIBLE INSURANCE IS AVAILABLE TO ANY BUSINESS ENTITY COVERED BY THIS POLICY
SOLELY BY REASON OF OWNERSHIP BY THE NAMED INSURED SHOWN IN THE DECLARATIONS IN EXCESS
OF 50 PERCENT, THIS INSURANCE IS EXCESS OVER THE OTHER INSURANCE, WHETHER PRIMARY, EXCESS,
CONTINGENT, OR ON ANY OTHER BASIS.




KR-SP-1                                                                                                     04/07
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                                      #:120
POLICY NUMBER: KKO0000005740000                                           IL 00 17 11 98

                                       COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                             b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the                                     and
        Declarations may cancel this policy by mailing or                   c. Recommend changes.
        delivering to us advance written notice of                      2. We are not obligated to make any inspections,
        cancellation.                                                      surveys, reports or recommendations and any
   2.   We may cancel this policy by mailing or delivering                 such actions we do undertake relate only to
        to the first Named Insured written notice of                       insurability and the premiums to be charged. We
        cancellation at least:                                             do not make safety inspections. We do not
        a. 10 days before the effective date of                            undertake to perform the duty of any person or
            cancellation if we cancel for nonpayment of                    organization to provide for the health or safety of
            premium; or                                                    workers or the public. And we do not warrant that
                                                                           conditions:
        b. 30 days before the effective date of
            cancellation if we cancel for any other reason.                 a. Are safe or healthful; or
   3.   We will mail or deliver our notice to the first                    b. Comply with laws, regulations, codes or
        Named Insured's last mailing address known to                          standards.
        us.                                                             3. Paragraphs 1. and 2. of this condition apply not
   4.   Notice of cancellation will state the effective date               only to us, but also to any rating, advisory, rate
        of cancellation. The policy period will end on that                service or similar organization which makes
        date.                                                              insurance inspections, surveys, reports or
                                                                           recommendations.
   5.   If this policy is cancelled, we will send the first
        Named Insured any premium refund due. If we                     4. Paragraph 2. of this condition does not apply to
        cancel, the refund will be pro rata. If the first                  any      inspections,     surveys,   reports     or
        Named Insured cancels, the refund may be less                      recommendations we may make relative to
        than pro rata. The cancellation will be effective                  certification, under state or municipal statutes,
        even if we have not made or offered a refund.                      ordinances or regulations, of boilers, pressure
                                                                           vessels or elevators.
   6.   If notice is mailed, proof of mailing will be
        sufficient proof of notice.                                  E. Premiums
B. Changes                                                              The first Named Insured shown in the Declarations:
   This policy contains all the agreements between you                  1. Is responsible for the payment of all premiums;
   and us concerning the insurance afforded. The first                     and
   Named Insured shown in the Declarations is                           2. Will be the payee for any return premiums we pay.
   authorized to make changes in the terms of this policy            F. Transfer Of Your Rights And Duties Under This
   with our consent. This policy's terms can be amended                 Policy
   or waived only by endorsement issued by us and
   made a part of this policy.                                          Your rights and duties under this policy may not be
                                                                        transferred without our written consent except in the
C. Examination Of Your Books And Records                                case of death of an individual named insured.
   We may examine and audit your books and records                      If you die, your rights and duties will be transferred to
   as they relate to this policy at any time during the                 your legal representative but only while acting within
   policy period and up to three years afterward.                       the scope of duties as your legal representative. Until
D. Inspections And Surveys                                              your legal representative is appointed, anyone having
   1. We have the right to:                                             proper temporary custody of your property will have
                                                                        your rights and duties but only with respect to that
      a. Make inspections and surveys at any time;                      property.




IL 00 17 11 98                         Copyright, Insurance Services Office, Inc., 1998                            Page 1 of 1
                                                               105
       Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 100 of 150 Page ID
THE FOLLOWING INTERLINE FORMS APPLY TOTHE COVERAGE
                                            #:121 PART IDENTIFIED:
FORM NUMBER        COVERAGE PART
IL0023(07/02)      COMMERCIAL GENERAL LIABILITY, COMMERCIAL LIQUOR LIABILITY



IL0183(08/08)      COMMERCIAL AUTOMOBILE



IL0268(01/14)      COMMERCIAL GENERAL LIABILITY, COMMERCIAL LIQUOR LIABILITY



UT-131G(03/92)     COMMERCIAL AUTOMOBILE, COMMERCIAL GENERAL LIABILITY, COMMERCIAL LIQUOR LIABILITY,,,




KR-SP-2                                                                                                  04/07
                                                     106
      Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 101 of 150 Page ID
                                         #:122
                                                                                         ENDORSEMENT
                                                                                         NO. 0000
     ATTACHED TO AND
    FORMING A PART OF   ENDORSEMENT EFFECTIVE DATE                       NAMED INSURED         AGENT NO.
      POLICY NUMBER       (12:01 A.M. STANDARD TIME)




KKO0000005740000               09/01/15                EQUINOX HOLDINGS, INC.



TITLE: SCHEDULE A
CONTINUED FROM FORM KR-GL-D-1 "COMMERCIAL GENERAL LIABILITY-DECLARATIONS"

0015: 450 WEST 17TH STREET, NEW YORK, NY 10011
0016: 1431 SECOND AVENUE, NEW YORK, NY 10021
0017: 203 E. 86TH ST., NEW YORK, NY 10028
0018: 344 AMSTERDAM AVENUE, NEW YORK, NY 10024
0019: 204 W. 77TH ST., NEW YORK, NY 10024
0020: 421 HUDSON STREET, NEW YORK, NY 10014
0021: 45 ROCKEFELLER PLAZA, NEW YORK, NY 10111
0022: 1095 6TH AVE, NEW YORK, NY 10036
0023: 225 LIBERTY STREET, NEW YORK, NY 10281
0024: 194 JORALEMON STREET, BROOKLYN, NY 11201
0025: 101 WEST 67TH STREET, NEW YORK, NY 10023
0026: 330-334 EAST 61ST STREET, NEW YORK, NY 10021
0027: 800 WHITE PLAINS ROAD, SCARSDALE, NY 10583
0028: 72 HEIGHTS ROAD, DARIEN, CT 06820
0029: 7550 JERICHO TURNPIKE, WOODBURY, NY 11797
0030: 90 NORTHERN BOULEVARD, ROSLYN, NY 11548
0031: 1053 WEST BOSTON POST ROAD, MAMARONECK, NY 10543
0032: 90 EAST SHORE ROAD, GREAT NECK, NY 11023
0033: 16 OLD TRACK ROAD, GREENWICH, CT 06830
0034: 99 BUSINESS PARK DRIVE, ARMONK, NY 10504
0035: 68 RIVER RD, SUMMIT, NJ 07901
0036: 776 RTE 17 N, PARAMUS, NJ 07652
0037: 131 DARTMOUTH STREET, BOSTON, MA 02116
0038: 225 FRANKLIN STREET, BOSTON, MA 02110
0039: 200 BOYLSTON STREET, CHESTNUT HILL, MA 02467
0040: 4 AVERY STREET, BOSTON, MA 02111
0041: 8065 LEESBURG PIKE, VIENNA, VA 22182
0042: 4905 ELM ST., BETHESDA, MD 20814
0043: 2200 M STREET, NW, WASHINGTON, DC 20031
0044: 520 COLLINS AVENUE, MIAMI BEACH, FL 33139
0045: THE VILLAGE OF MERRICK PARK, CORAL GABLES, FL 33146
0046: 19021 BISCAYNE BLVD., AVENTURA, FL 33180
0047: 1441 BRICKELL AVENUE, MIAMI, FL 33131
0048: 1750 NORTH CLARK STREET, CHICAGO, IL 60614
0049: 900 NORTH MICHIGAN AVENUE, CHICAGO, IL 60611
0050: 799 CENTRAL AVENUE, HIGHLAND PARK, IL 60035
0051: 200 WEST MONROE STREET, CHICAGO, IL 60606
0052: 4023 OAK LAWN AVENUE, DALLAS, TX 75219
0053: 8611 HILLCREST RD., DALLAS, TX 75225
0054: 300 EAST COLORADO BOULEVARD SUITE 201, PASADENA, CA 91101
0055: 8590 SUNSET BOULEVARD SUITE 100, WEST HOLLYWOOD, CA 90069

CONTINUED ON NEXT PAGE



                                                            AUTHORIZED REPRESENTATIVE       DATE
UT-3g (3-92)
                                                               107
      Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 102 of 150 Page ID
                                         #:123
                                                                                         ENDORSEMENT
                                                                                         NO. 0000
     ATTACHED TO AND
    FORMING A PART OF   ENDORSEMENT EFFECTIVE DATE                       NAMED INSURED         AGENT NO.
      POLICY NUMBER       (12:01 A.M. STANDARD TIME)




KKO0000005740000               09/01/15                EQUINOX HOLDINGS, INC.



SCHEDULE A - CONTINUED
CONTINUED FROM FORM KR-GL-D-1 "COMMERCIAL GENERAL LIABILITY-DECLARATIONS"

0056: 201 SANTA MONICA BOULEVARD, SANTA MONICA, CA 90401
0057: 10960 WILSHIRE BOULEVARD, LOS ANGELES, CA 90024
0058: 550 DEEP VALLEY DRIVE, ROLLING HILLS ESTATE, CA 90274
0059: 10220 CONSTELLATION BOULEVARD, CENTURY CITY, CA 90067
0060: 21530 OXNARD STREET, WOODLAND HILLS, CA 91367
0061: 5400 ROSECRANS AVE, HAWTHORNE, CA 90250
0062: 13445 MAXELLA BLVD, LOS ANGELES, CA 90292
0063: 9601 WILSHIRE BLVD, BEVERLY HILLS, CA 90210
0064: 1835 SEPULVEDA BLVD, LOS ANGELES, CA 90025
0065: 16830 VENTURA BLVD, ENCINO, CA 91436
0066: 444 S. FLOWER, LOS ANGELES, CA 90071
0067: 112 S. LAKEVIEW CANYON ROAD, THOUSAND OAKS, CA 91362
0068: 207 GOODE AVENUE, GLENDALE, CA 91203
0069: 301 PINE STREET, SAN FRANCISCO, CA 94104
0070: 4 EAST 4TH AVENUE, SAN MATEO, CA 94401
0071: 440 PORTAGE AVENUE, PALO ALTO, CA 94306
0072: 2055 UNION ST, SAN FRANCISCO, CA 94123
0073: 747 MARKET STREET, SAN FRANCISCO, CA 94103
0074: 19540 JAMBOREE ROAD, IRVINE, CA 92612
0075: 1980 MAIN ST, IRVINE, CA 92614
0076: 9465 WILSHIRE BOULEVARD SUITE 200, BEVERLY HILLS, CA 90212
0077: ONE PARK AVE, NEW YORK, NY 10016
0078: 895 BROADWAY, NEW YORK, NY 10003
0079: 21010 PACIFIC COAST HIGHWAY, SUITE A105, HUNTINGTON BEACH, CA 92648
0080: 4444 WESTHEIMER RD, HOUSTON, TX 77027
0081: 10 EAST 53RD ST, NEW YORK, NY 10022
0082: EQUINOX 92ND ST, TBD, NEW YORK, NY 10128
0083: EQUINOX HOLLYWOOD, TBD, HOLLYWOOD, CA 90028




                                                            AUTHORIZED REPRESENTATIVE       DATE
UT-3g (3-92)
                                                               108
        Case 2:19-cv-02175-PSG-JPR Document 1-1 Filed 03/22/19 Page 103 of 150 Page ID
                                           #:124
                       Home Office
                   Madison, Wisconsin
                  Administrative Office:
                                                                                                                       KR-GL-D-1
8877 North Gainey Center Drive • Scottsdale, Arizona 85258                                                                (07/07)
                     1-800-423-7675
                  A STOCK COMPANY


                       COMMERCIAL GENERAL LIABILITY - DECLARATIONS
Policy No.      KKO0000005740000                               Policy Period: 09/01/15     to 09/15/16     12:01 am Standard Time
Replacement No. KKO0000004742300
NAMEDINSURED AND ADDRESS:                                          FORMOF BUSINESS
EQUINOX HOLDINGS, INC.                                                 Individual          Limited Liability Company
ONE PARK AVENUE                                                        Partnership       X Organization, including a
NEW YORK, NY 10016                                                                       Corporation (but not including a
                                                                                         Partnership, Joint Venture or Limited
                                                                                         Liability Company)
                                                                     Joint Venture
RETROACTIVE DATE: (CG 00 02 only) This insurance does not apply to “bodily injury” or “property damage” or “personal
injury and advertising injury” which occurs before the following Retroactive Date:       (Enter date or NONE if no
Retroactive Date Applies)
LIMITS OF INSURANCE
    General Aggregate Limit (Other than Products – Completed Operations)                     NONE
    Products – Completed Operations Aggregate Limit                                  $ 2,000,000
    Personal and Advertising Injury Limit                                            $ 1,000,000
    Each Occurrence Limit                                                            $ 1,000,000
    Damage to Premises Rented to You Limit                                           $ 1,000,000         any one premises
    Medical Expense Limit                                                            EXCLUDED            any one person




SCHEDULE OF LOCATIONS:
0001         897 BROADWAY, NEW YORK, NY 10003
0002         2465 BROADWAY, NEW YORK, NY 10025
0003         205 EAST 85TH STREET, NEW YORK, NY 10028
0004         140 EAST 63RD STREET, NEW YORK, NY 10021
0005         250 EAST 54TH STREET, NEW YORK, NY 10022
0006         1633 BROADWAY, NEW YORK, NY 10019
0007         521 FIFTH AVENUE, NEW YORK, NY 10175
0008         420 LEXINGTON AVENUE, NEW YORK, NY 10170
0009         14 WALL STREET, NEW YORK, NY 10005
0010         54 MURRAY STREET, NEW YORK, NY 10007
0011         97 GREENWICH AVENUE, NEW YORK, NY 10014
0012         10 COLUMBUS CIRCLE, NEW YORK, NY 10019
0013         69 PRINCE STREET, NEW YORK, NY 10012
0014         ONE PARK AVENUE, NEW YORK, NY 10016
             CONTINUED ON FORM UT-3G SCHEDULE A
PREMIUM
Advance Premium for this Coverage Part is       $      756,946
Premium above includes $              23,706
for the Terrorism Risk Insurance Act.
ENDORSEMENTS ATTACHED TO THIS COVERAGE PART:
KR-GL-SP-2(04/14)          KR-GL-SP-1(04/07)          CG0001(04/13)              KR-GL-67(04/07)             KR-GL-94(01/08)
KR-GL-43(04/07)            KR-GL-51(10/11)            KR-GL-36(04/07)            UT-3G(03/92)                KR-GL-48(04/07)
KR-GL-79(04/07)            KR-GL-37(04/07)            GL-58S(12/93)              KR-GL-109(07/09)            KR-GL-119(10/11)
KR-GL-136(10/11)           UT-3G-1 (03/92)            CG0224(10/93)              CG0429(12/04)               CG2001(04/13)
CG2002(11/85)              CG2011(04/13)              CG2018(04/13)              CG2026(04/13)               CG2028(04/13)
CG2106(05/14)              CG2116(04/13)              CG2135(10/01)              CG2147(12/07)               CG2167(12/04)
CG2196(03/05)              CG2407(01/96)              CG2170(01/08)              CG2176(01/08)               CG0104(12/04)
CG0163(07/11)              CG2621(10/91)
KR-GL-D-1                                                    (Page 1 of 1)                                                       07/07
                                                                 109
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                                     #:125
KKO0000005740000
                                    QUICKREFERENCE
                        COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                         Please read your policy carefully.



DECLARATIONS PAGES
           Named Insured and Mailing Address
           Policy Period
           Description of Business and Location
           Coverages and Limits of Insurance
SECTIONI - COVERAGES                                                                                                                       Beginning on Page
      Coverage A -                                                             Insuring Agreement.......................................... 1
               Bodily Injury
               and Property Damage                                             Exclusions ....................................................... 2
               Liability
      Coverage B -                                                             Insuring Agreement.......................................... 5
               Personal and
               Advertising                                                     Exclusions ....................................................... 6
               Injury Liability
      Coverage C -                                                             Insuring Agreement.......................................... 7
               Medical Payments                                                Exclusions ....................................................... 7
SECTIONII - WHO IS ANINSURED............................................................................................................................. 8
SECTIONIII - LIMITS OF INSURANCE ........................................................................................................................ 9
SECTIONIV - COMMERCIAL GENERAL LIABILITY CONDITIONS
      Bankruptcy ..................................................................................................................................................... 10
      Duties In The Event of Occurrence, Claim or Suit........................................................................................... 10
      Legal Action Against Us .................................................................................................................................. 10
      Other Insurance............................................................................................................................................... 11
      Premium Audit ................................................................................................................................................. 11
      Representations............................................................................................................................................... 11
      Separation of Insureds..................................................................................................................................... 11
      Transfer of Rights of Recovery Against Others To Us .................................................................................... 12
      When We Do Not Renew ................................................................................................................................ 12
SECTIONV – DEFINITIONS........................................................................................................................................ 12
COMMONPOLICY CONDITIONS
           Cancellation
           Changes
           Examination of Your Books and Records
           Inspections and Surveys
           Premiums
           Transfer of Your Rights and Duties Under This Policy
ENDORSEMENTS (If Any)




KR-GL-SP-2                                                                                                                                                       04/14
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                                      #:126
POLICY NUMBER: KKO0000005740000                          COMMERCIAL GENERAL LIABILITY
                                                                         CG 00 01 04 13

                   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.               b. This insurance applies to "bodily injury" and
Read the entire policy carefully to determine rights,                   "property damage" only if:
duties and what is and is not covered.                                  (1) The "bodily injury" or "property damage"
Throughout this policy the words "you" and "your" refer                      is caused by an "occurrence" that takes
to the Named Insured shown in the Declarations, and                          place in the "coverage territory";
any other person or organization qualifying as a                        (2) The "bodily injury" or "property damage"
Named Insured under this policy. The words "we", "us"                        occurs during the policy period; and
and "our" refer to the company providing this
insurance.                                                              (3) Prior to the policy period, no insured
                                                                             listed under Paragraph 1. of Section II –
The word "insured" means any person or organization                          Who Is An Insured and no "employee"
qualifying as such under Section II – Who Is An                              authorized by you to give or receive
Insured.                                                                     notice of an "occurrence" or claim, knew
Other words and phrases that appear in quotation                             that the "bodily injury" or "property
marks have special meaning. Refer to Section V –                             damage" had occurred, in whole or in
Definitions.                                                                 part. If such a listed insured or
SECTIONI – COVERAGES                                                         authorized "employee" knew, prior to
                                                                             the policy period, that the "bodily injury"
COVERAGE A – BODILY INJURY AND PROPERTY                                      or "property damage" occurred, then
DAMAGE LIABILITY                                                             any continuation, change or resumption
1. Insuring Agreement                                                        of such "bodily injury" or "property
                                                                             damage" during or after the policy
   a. We will pay those sums that the insured                                period will be deemed to have been
         becomes legally obligated to pay as                                 known prior to the policy period.
         damages because of "bodily injury" or
         "property damage" to which this insurance                 c.   "Bodily injury" or "property damage" which
         applies. We will have the right and duty to                    occurs during the policy period and was not,
         defend the insured against any "suit" seeking                  prior to the policy period, known to have
         those damages. However, we will have no                        occurred by any insured listed under
         duty to defend the insured against any "suit"                  Paragraph 1. of Section II – Who Is An
         seeking damages for "bodily injury" or                         Insured or any "employee" authorized by you
         "property damage" to which this insurance                      to give or receive notice of an "occurrence"
         does not apply. We may, at our discretion,                     or claim, includes any continuation, change
         investigate any "occurrence" and settle any                    or resumption of that "bodily injury" or
         claim or "suit" that may result. But:                          "property damage" after the end of the policy
                                                                        period.
         (1) The amount we will pay for damages is
              limited as described in Section III –                d.   "Bodily injury" or "property damage" will be
              Limits Of Insurance; and                                  deemed to have been known to have
                                                                        occurred at the earliest time when any
         (2) Our right and duty to defend ends when                     insured listed under Paragraph 1. of Section
              we have used up the applicable limit of                   II – Who Is An Insured or any "employee"
              insurance in the payment of judgments                     authorized by you to give or receive notice of
              or settlements under Coverages A or B                     an "occurrence" or claim:
              or medical expenses under Coverage
              C.                                                        (1) Reports all, or any part, of the "bodily
                                                                            injury" or "property damage" to us or
         No other obligation or liability to pay sums or                    any other insurer;
         perform acts or services is covered unless
         explicitly provided for under Supplementary                    (2) Receives a written or verbal demand or
         Payments – Coverages A and B.                                      claim for damages because of the
                                                                            "bodily injury" or "property damage"; or




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         (3) Becomes aware by any other means        (2) The furnishing of alcoholic beverages to
               that "bodily injury" or "property damage"                      a person under the legal drinking age or
               has occurred or has begun to occur.                            under the influence of alcohol; or
     e.   Damages because of "bodily injury" include                      (3) Any statute, ordinance or regulation
          damages claimed by any person or                                    relating to the sale, gift, distribution or
          organization for care, loss of services or                          use of alcoholic beverages.
          death resulting at any time from the "bodily                    This exclusion applies even if the claims
          injury".                                                        against any insured allege negligence or
2.   Exclusions                                                           other wrongdoing in:
     This insurance does not apply to:                                         (a) The         supervision,        hiring,
     a.   Expected Or Intended Injury                                               employment, training or monitoring
                                                                                    of others by that insured; or
          "Bodily injury" or "property damage" expected
          or intended from the standpoint of the                               (b) Providing or failing to provide
          insured. This exclusion does not apply to                                 transportation with respect to any
          "bodily injury" resulting from the use of                                 person that may be under the
          reasonable force to protect persons or                                    influence of alcohol;
          property.                                                       if the "occurrence" which caused the "bodily
     b. Contractual Liability                                             injury" or "property damage", involved that
                                                                          which is described in Paragraph (1), (2) or
          "Bodily injury" or "property damage" for which                  (3) above.
          the insured is obligated to pay damages by
          reason of the assumption of liability in a                      However, this exclusion applies only if you
          contract or agreement. This exclusion does                      are in the business of manufacturing,
          not apply to liability for damages:                             distributing, selling, serving or furnishing
                                                                          alcoholic beverages. For the purposes of this
          (1) That the insured would have in the                          exclusion, permitting a person to bring
               absence of the contract or agreement;                      alcoholic beverages on your premises, for
               or                                                         consumption on your premises, whether or
          (2) Assumed in a contract or agreement                          not a fee is charged or a license is required
               that is an "insured contract", provided                    for such activity, is not by itself considered
               the "bodily injury" or "property damage"                   the business of selling, serving or furnishing
               occurs subsequent to the execution of                      alcoholic beverages.
               the contract or agreement. Solely for the             d. Workers' Compensation And Similar Laws
               purposes of liability assumed in an
               "insured contract", reasonable attorneys'                  Any obligation of the insured under a
               fees and necessary litigation expenses                     workers' compensation, disability benefits or
               incurred by or for a party other than an                   unemployment compensation law or any
               insured are deemed to be damages                           similar law.
               because of "bodily injury" or "property               e.   Employer's Liability
               damage", provided:                                         "Bodily injury" to:
               (a) Liability to such party for, or for the                (1) An "employee" of the insured arising out
                     cost of, that party's defense has                        of and in the course of:
                     also been assumed in the same
                     "insured contract"; and                                  (a) Employment by the insured; or
               (b) Such attorneys' fees and litigation                        (b) Performing duties related to the
                    expenses are for defense of that                                 conduct of the insured's business;
                    party against a civil or alternative                             or
                    dispute resolution proceeding in                      (2) The spouse, child, parent, brother or
                    which damages to which this                               sister of that "employee" as a
                    insurance applies are alleged.                            consequence of Paragraph (1) above.
     c.   Liquor Liability                                                This exclusion applies whether the insured
          "Bodily injury" or "property damage" for which                  may be liable as an employer or in any other
          any insured may be held liable by reason of:                    capacity and to any obligation to share
                                                                          damages with or repay someone else who
          (1) Causing or contributing to the                              must pay damages because of the injury.
               intoxication of any person;



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      This exclusion does not apply to liability          (ii) Any person or organization for
         assumed by the insured under an "insured                                      whom you may be legally
         contract".                                                                    responsible; or
    f.   Pollution                                                            (d) At or from any premises, site or
         (1) "Bodily injury" or "property damage"                                 location on which any insured or
             arising out of the actual, alleged or                                any contractors or subcontractors
             threatened        discharge,      dispersal,                         working directly or indirectly on any
             seepage, migration, release or escape                                insured's behalf are performing
             of "pollutants":                                                     operations if the "pollutants" are
                                                                                  brought on or to the premises, site
             (a) At or from any premises, site or                                 or location in connection with such
                   location which is or was at any time                           operations by such insured,
                   owned or occupied by, or rented or                             contractor     or     subcontractor.
                   loaned to, any insured. However,                               However, this subparagraph does
                   this subparagraph does not apply                               not apply to:
                   to:
                                                                                  (i) "Bodily injury" or "property
                   (i) "Bodily injury" if sustained                                     damage" arising out of the
                        within a building and caused                                    escape of fuels, lubricants or
                        by smoke, fumes, vapor or                                       other operating fluids which
                        soot produced by or originating                                 are needed to perform the
                        from equipment that is used to                                  normal electrical, hydraulic or
                        heat, cool or dehumidify the                                    mechanical              functions
                        building, or equipment that is                                  necessary for the operation of
                        used to heat water for                                          "mobile equipment" or its
                        personal use, by the building's                                 parts, if such fuels, lubricants
                        occupants or their guests;                                      or other operating fluids
                   (ii) "Bodily injury" or "property                                    escape from a vehicle part
                        damage" for which you may be                                    designed to hold, store or
                        held liable, if you are a                                       receive them. This exception
                        contractor and the owner or                                     does not apply if the "bodily
                        lessee of such premises, site                                   injury" or "property damage"
                        or location has been added to                                   arises out of the intentional
                        your policy as an additional                                    discharge, dispersal or release
                        insured with respect to your                                    of the fuels, lubricants or other
                        ongoing operations performed                                    operating fluids, or if such
                        for that additional insured at                                  fuels, lubricants or other
                        that premises, site or location                                 operating fluids are brought on
                        and such premises, site or                                      or to the premises, site or
                        location is not and never was                                   location with the intent that
                        owned or occupied by, or                                        they be discharged, dispersed
                        rented or loaned to, any                                        or released as part of the
                        insured, other than that                                        operations being performed by
                        additional insured; or                                          such insured, contractor or
                                                                                        subcontractor;
                  (iii) "Bodily injury" or "property
                      damage" arising out of heat,                                (ii) "Bodily injury" or "property
                      smoke or fumes from a                                             damage" sustained within a
                      "hostile fire";                                                   building and caused by the
                                                                                        release of gases, fumes or
             (b) At or from any premises, site or                                       vapors from materials brought
                 location which is or was at any time                                   into that building in connection
                 used by or for any insured or others                                   with       operations      being
                 for the handling, storage, disposal,                                   performed by you or on your
                 processing or treatment of waste;                                      behalf by a contractor or
             (c) Which are or were at any time                                          subcontractor; or
                 transported,      handled,   stored,                             (iii) "Bodily injury" or "property
                 treated, disposed of, or processed                                     damage" arising out of heat,
                 as waste by or for:                                                    smoke or fumes from a
                 (i) Any insured; or                                                    "hostile fire".


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                                                #:129
           (e) At or from any premises, site or       This exclusion does not apply to:
               location on which any insured or       (1) A watercraft while ashore on premises
                  any contractors or subcontractors                            you own or rent;
                  working directly or indirectly on any
                  insured's behalf are performing                        (2) A watercraft you do not own that is:
                  operations if the operations are to                        (a) Less than 26 feet long; and
                  test for, monitor, clean up, remove,
                  contain,      treat,    detoxify    or                     (b) Not being used to carry persons or
                  neutralize, or in any way respond                               property for a charge;
                  to, or assess the effects of,                          (3) Parking an "auto" on, or on the ways
                  "pollutants".                                              next to, premises you own or rent,
         (2) Any loss, cost or expense arising out of                        provided the "auto" is not owned by or
             any:                                                            rented or loaned to you or the insured;
             (a) Request, demand, order or                               (4) Liability assumed under any "insured
                  statutory or regulatory requirement                        contract"       for    the      ownership,
                  that any insured or others test for,                       maintenance or use of aircraft or
                  monitor, clean up, remove, contain,                        watercraft; or
                  treat, detoxify or neutralize, or in                   (5) "Bodily injury" or "property damage"
                  any way respond to, or assess the                          arising out of:
                  effects of, "pollutants"; or
                                                                             (a) The operation of machinery or
             (b) Claim or suit by or on behalf of a                               equipment that is attached to, or
                  governmental         authority     for                          part of, a land vehicle that would
                  damages because of testing for,                                 qualify under the definition of
                  monitoring, cleaning up, removing,                              "mobile equipment" if it were not
                  containing, treating, detoxifying or                            subject to a compulsory or financial
                  neutralizing, or in any way                                     responsibility law or other motor
                  responding to, or assessing the                                 vehicle insurance law where it is
                  effects of, "pollutants".                                       licensed or principally garaged; or
               However, this paragraph does not apply                        (b) The operation of any of the
               to liability for damages because of                                machinery or equipment listed in
               "property damage" that the insured                                 Paragraph f.(2) or f.(3) of the
               would have in the absence of such                                  definition of "mobile equipment".
               request, demand, order or statutory or
               regulatory requirement, or such claim or             h. Mobile Equipment
               "suit" by or on behalf of a governmental                  "Bodily injury" or "property damage" arising
               authority.                                                out of:
    g. Aircraft, Auto Or Watercraft                                      (1) The       transportation     of    "mobile
         "Bodily injury" or "property damage" arising                         equipment" by an "auto" owned or
         out of the ownership, maintenance, use or                            operated by or rented or loaned to any
         entrustment to others of any aircraft, "auto"                        insured; or
         or watercraft owned or operated by or rented                    (2) The use of "mobile equipment" in, or
         or loaned to any insured. Use includes                               while in practice for, or while being
         operation and "loading or unloading".                                prepared for, any prearranged racing,
         This exclusion applies even if the claims                            speed, demolition, or stunting activity.
         against any insured allege negligence or                   i.   War
         other wrongdoing in the supervision, hiring,
                                                                         "Bodily injury" or "property damage", however
         employment, training or monitoring of others                    caused, arising, directly or indirectly, out of:
         by that insured, if the "occurrence" which
         caused the "bodily injury" or "property                         (1) War, including undeclared or civil war;
         damage"      involved    the     ownership,                     (2) Warlike action by a military force,
         maintenance, use or entrustment to others of                          including action in hindering or
         any aircraft, "auto" or watercraft that is                            defending against an actual or expected
         owned or operated by or rented or loaned to                           attack, by any government, sovereign or
         any insured.                                                          other authority using military personnel
                                                                               or other agents; or



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      (3) Insurrection, rebellion, revolution,       k. Damage To Your Product
             usurped power, or action taken by                          "Property damage" to "your product" arising
             governmental authority in hindering or                     out of it or any part of it.
             defending against any of these.
                                                                   l.   Damage To Your Work
    j.   Damage To Property
                                                                        "Property damage" to "your work" arising out
         "Property damage" to:                                          of it or any part of it and included in the
         (1) Property you own, rent, or occupy,                         "products-completed operations hazard".
              including any costs or expenses                           This exclusion does not apply if the damaged
              incurred by you, or any other person,                     work or the work out of which the damage
              organization or entity, for repair,                       arises was performed on your behalf by a
              replacement, enhancement, restoration                     subcontractor.
              or maintenance of such property for any
              reason, including prevention of injury to            m. Damage To Impaired Property Or Property
              a person or damage to another's                         Not Physically Injured
              property;                                                 "Property damage" to "impaired property" or
         (2) Premises you sell, give away or                            property that has not been physically injured,
              abandon, if the "property damage"                         arising out of:
              arises out of any part of those premises;                 (1) A defect, deficiency, inadequacy or
         (3) Property loaned to you;                                          dangerous condition in "your product" or
                                                                              "your work"; or
         (4) Personal property in the care, custody
             or control of the insured;                                 (2) A delay or failure by you or anyone
                                                                              acting on your behalf to perform a
         (5) That particular part of real property on                         contract or agreement in accordance
             which you or any contractors or                                  with its terms.
             subcontractors working directly or
             indirectly on your behalf are performing                   This exclusion does not apply to the loss of
             operations, if the "property damage"                       use of other property arising out of sudden
             arises out of those operations; or                         and accidental physical injury to "your
                                                                        product" or "your work" after it has been put
         (6) That particular part of any property that                  to its intended use.
              must be restored, repaired or replaced
              because "your work" was incorrectly                  n. Recall Of Products, Work Or Impaired
              performed on it.                                        Property
         Paragraphs (1), (3) and (4) of this exclusion                  Damages claimed for any loss, cost or
         do not apply to "property damage" (other                       expense incurred by you or others for the
         than damage by fire) to premises, including                    loss of use, withdrawal, recall, inspection,
         the contents of such premises, rented to you                   repair, replacement, adjustment, removal or
         for a period of seven or fewer consecutive                     disposal of:
         days. A separate limit of insurance applies to                 (1) "Your product";
         Damage To Premises Rented To You as
         described in Section III – Limits Of                           (2) "Your work"; or
         Insurance.                                                     (3) "Impaired property";
         Paragraph (2) of this exclusion does not                       if such product, work, or property is
         apply if the premises are "your work" and                      withdrawn or recalled from the market or
         were never occupied, rented or held for                        from use by any person or organization
         rental by you.                                                 because of a known or suspected defect,
         Paragraphs (3), (4), (5) and (6) of this                       deficiency, inadequacy or dangerous
         exclusion do not apply to liability assumed                    condition in it.
         under a sidetrack agreement.                              o. Personal And Advertising Injury
         Paragraph (6) of this exclusion does not                       "Bodily injury" arising out of "personal and
         apply to "property damage" included in the                     advertising injury".
         "products-completed operations hazard".




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   p. Electronic Data                              becomes legally obligated to pay as
         Damages arising out of the loss of, loss of                       damages because of "personal and
         use of, damage to, corruption of, inability to                    advertising injury" to which this insurance
         access, or inability to manipulate electronic                     applies. We will have the right and duty to
         data.                                                             defend the insured against any "suit" seeking
                                                                           those damages. However, we will have no
         However, this exclusion does not apply to                         duty to defend the insured against any "suit"
         liability for damages because of "bodily                          seeking damages for "personal and
         injury".                                                          advertising injury" to which this insurance
         As used in this exclusion, electronic data                        does not apply. We may, at our discretion,
         means information, facts or programs stored                       investigate any offense and settle any claim
         as or on, created or used on, or transmitted                      or "suit" that may result. But:
         to or from computer software, including                           (1) The amount we will pay for damages is
         systems and applications software, hard or                             limited as described in Section III –
         floppy disks, CD-ROMs, tapes, drives, cells,                           Limits Of Insurance; and
         data processing devices or any other media
         which are used with electronically controlled                     (2) Our right and duty to defend end when
         equipment.                                                            we have used up the applicable limit of
                                                                               insurance in the payment of judgments
    q. Recording And Distribution Of Material Or                               or settlements under Coverages A or B
       Information In Violation Of Law                                         or medical expenses under Coverage C.
         "Bodily injury" or "property damage" arising                    No other obligation or liability to pay sums or
         directly or indirectly out of any action or                     perform acts or services is covered unless
         omission that violates or is alleged to violate:                explicitly provided for under Supplementary
         (1) The Telephone Consumer Protection                           Payments – Coverages A and B.
              Act (TCPA), including any amendment                     b. This insurance applies to "personal and
              of or addition to such law;                                advertising injury" caused by an offense
         (2) The CAN-SPAM Act of 2003, including                         arising out of your business but only if the
              any amendment of or addition to such                       offense was committed in the "coverage
              law;                                                       territory" during the policy period.
         (3) The Fair Credit Reporting Act (FCRA),                 2. Exclusions
              and any amendment of or addition to                      This insurance does not apply to:
              such law, including the Fair and
              Accurate Credit Transactions Act                        a. Knowing Violation Of Rights Of Another
              (FACTA); or                                                  "Personal and advertising injury" caused by
         (4) Any federal, state or local statute,                          or at the direction of the insured with the
              ordinance or regulation, other than the                      knowledge that the act would violate the
              TCPA, CAN-SPAM Act of 2003 or                                rights of another and would inflict "personal
              FCRA and their amendments and                                and advertising injury".
              additions, that addresses, prohibits, or                b. Material Published With Knowledge Of
              limits the printing, dissemination,                        Falsity
              disposal, collecting, recording, sending,                    "Personal and advertising injury" arising out
              transmitting,      communicating          or                 of oral or written publication, in any manner,
              distribution of material or information.                     of material, if done by or at the direction of
         Exclusions c. through n. do not apply to                          the insured with knowledge of its falsity.
         damage by fire to premises while rented to                   c. Material Published Prior To Policy Period
         you or temporarily occupied by you with
         permission of the owner. A separate limit of                      "Personal and advertising injury" arising out
         insurance applies to this coverage as                             of oral or written publication, in any manner,
         described in Section III – Limits Of                              of material whose first publication took place
         Insurance.                                                        before the beginning of the policy period.
COVERAGE B – PERSONAL AND ADVERTISING                                 d. Criminal Acts
INJURY LIABILITY                                                           "Personal and advertising injury" arising out
1. Insuring Agreement                                                      of a criminal act committed by or at the
                                                                           direction of the insured.
    a. We will pay those sums that the insured



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    e. Contractual Liability                       For the purposes of this exclusion, the
         "Personal and advertising injury" for which                   placing of frames, borders or links, or
         the insured has assumed liability in a                        advertising, for you or others anywhere on
         contract or agreement. This exclusion does                    the Internet, is not by itself, considered the
         not apply to liability for damages that the                   business of advertising, broadcasting,
         insured would have in the absence of the                      publishing or telecasting.
         contract or agreement.                                   k. Electronic Chatrooms Or Bulletin Boards
    f.   Breach Of Contract                                            "Personal and advertising injury" arising out
         "Personal and advertising injury" arising out                 of an electronic chatroom or bulletin board
         of a breach of contract, except an implied                    the insured hosts, owns, or over which the
         contract to use another's advertising idea in                 insured exercises control.
         your "advertisement".                                    l.   Unauthorized Use Of Another's Name Or
    g. Quality Or Performance Of Goods –                               Product
       Failure To ConformTo Statements                                 "Personal and advertising injury" arising out
         "Personal and advertising injury" arising out                 of the unauthorized use of another's name or
         of the failure of goods, products or services                 product in your e-mail address, domain
         to conform with any statement of quality or                   name or metatag, or any other similar tactics
         performance made in your "advertisement".                     to mislead another's potential customers.
    h. Wrong Description Of Prices                                m. Pollution
         "Personal and advertising injury" arising out                 "Personal and advertising injury" arising out
         of the wrong description of the price of                      of the actual, alleged or threatened
         goods, products or services stated in your                    discharge, dispersal, seepage, migration,
         "advertisement".                                              release or escape of "pollutants" at any time.
    i.   Infringement Of Copyright, Patent,                       n. Pollution-related
         Trademark Or Trade Secret                                     Any loss, cost or expense arising out of any:
         "Personal and advertising injury" arising out                 (1) Request, demand, order or statutory or
         of the infringement of copyright, patent,                         regulatory requirement that any insured
         trademark, trade secret or other intellectual                     or others test for, monitor, clean up,
         property rights. Under this exclusion, such                       remove, contain, treat, detoxify or
         other intellectual property rights do not                         neutralize, or in any way respond to, or
         include the use of another's advertising idea                     assess the effects of, "pollutants"; or
         in your "advertisement".                                      (2) Claim or suit by or on behalf of a
         However, this exclusion does not apply to                         governmental authority for damages
         infringement, in your "advertisement", of                         because of testing for, monitoring,
         copyright, trade dress or slogan.                                 cleaning up, removing, containing,
    j.   Insureds In Media And Internet Type                               treating, detoxifying or neutralizing, or in
         Businesses                                                        any way responding to, or assessing the
                                                                           effects of, "pollutants".
         "Personal and advertising injury" committed
         by an insured whose business is:                         o. War
         (1) Advertising, broadcasting, publishing or                  "Personal and advertising injury", however
              telecasting;                                             caused, arising, directly or indirectly, out of:
         (2) Designing or determining content of web                   (1) War, including undeclared or civil war;
              sites for others; or                                     (2) Warlike action by a military force,
         (3) An Internet search, access, content or                         including action in hindering or
              service provider.                                             defending against an actual or expected
                                                                            attack, by any government, sovereign or
         However, this exclusion does not apply to                          other authority using military personnel
         Paragraphs 14.a., b. and c. of "personal and                       or other agents; or
         advertising injury" under the Definitions
         section.                                                      (3) Insurrection,    rebellion,    revolution,
                                                                            usurped power, or action taken by
                                                                            governmental authority in hindering or
                                                                            defending against any of these.



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    p. Recording And Distribution Of Material Or       (2) Necessary medical, surgical, X-ray and
       Information In Violation Of Law                     dental services, including prosthetic
         "Personal and advertising injury" arising                            devices; and
         directly or indirectly out of any action or                      (3) Necessary        ambulance,  hospital,
         omission that violates or is alleged to violate:                     professional     nursing and funeral
         (1) The Telephone Consumer Protection                                services.
              Act (TCPA), including any amendment                 2. Exclusions
              of or addition to such law;                            We will not pay expenses for "bodily injury":
         (2) The CAN-SPAM Act of 2003, including                     a. Any Insured
              any amendment of or addition to such
              law;                                                        To any insured, except "volunteer workers".
         (3) The Fair Credit Reporting Act (FCRA),                   b. Hired Person
             and any amendment of or addition to                          To a person hired to do work for or on behalf
             such law, including the Fair and                             of any insured or a tenant of any insured.
             Accurate Credit Transactions Act
             (FACTA); or                                             c. Injury On Normally Occupied Premises
         (4) Any federal, state or local statute,                         To a person injured on that part of premises
             ordinance or regulation, other than the                      you own or rent that the person normally
             TCPA, CAN-SPAM Act of 2003 or FCRA                           occupies.
             and their amendments and additions,                     d. Workers' Compensation And Similar Laws
             that addresses, prohibits, or limits the
             printing,     dissemination,      disposal,                  To a person, whether or not an "employee" of
             collecting,      recording,       sending,                   any insured, if benefits for the "bodily injury"
             transmitting,      communicating         or                  are payable or must be provided under a
             distribution of material or information.                     workers' compensation or disability benefits
                                                                          law or a similar law.
COVERAGE C – MEDICAL PAYMENTS
                                                                     e. Athletics Activities
1. Insuring Agreement
                                                                          To a person injured while practicing,
   a. We will pay medical expenses as described                           instructing or participating in any physical
        below for "bodily injury" caused by an                            exercises or games, sports, or athletic
        accident:                                                         contests.
         (1) On premises you own or rent;                            f.   Products-Completed Operations Hazard
         (2) On ways next to premises you own or                          Included within the       "products-completed
               rent; or                                                   operations hazard".
         (3) Because of your operations;                             g. Coverage AExclusions
         provided that:                                                   Excluded under Coverage A.
              (a) The accident takes place in the                 SUPPLEMENTARY PAYMENTS – COVERAGES A
                  "coverage territory" and during the             AND B
                  policy period;
                                                                  1. We will pay, with respect to any claim we
               (b) The expenses are incurred and                     investigate or settle, or any "suit" against an
                  reported to us within one year of the              insured we defend:
                  date of the accident; and
                                                                     a. All expenses we incur.
              (c) The injured person submits to
                  examination, at our expense, by                    b. Up to $250 for cost of bail bonds required
                  physicians of our choice as often as                    because of accidents or traffic law violations
                  we reasonably require.                                  arising out of the use of any vehicle to which
                                                                          the Bodily Injury Liability Coverage applies.
    b. We will make these payments regardless of                          We do not have to furnish these bonds.
       fault. These payments will not exceed the
       applicable limit of insurance. We will pay                    c. The cost of bonds to release attachments, but
       reasonable expenses for:                                           only for bond amounts within the applicable
                                                                          limit of insurance. We do not have to furnish
       (1) First aid administered at the time of an                       these bonds.
             accident;



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    d. All reasonable expenses incurred by the          (b) Immediately send us copies of any
         insured at our request to assist us in the                                demands, notices, summonses or
         investigation or defense of the claim or "suit",                          legal papers received in connection
         including actual loss of earnings up to $250 a                            with the "suit";
         day because of time off from work.                                   (c) Notify any other insurer whose
    e. All court costs taxed against the insured in                               coverage is available to the
        the "suit". However, these payments do not                                indemnitee; and
        include attorneys' fees or attorneys' expenses                        (d) Cooperate with us with respect to
        taxed against the insured.                                                coordinating      other    applicable
   f. Prejudgment interest awarded against the                                    insurance     available     to     the
        insured on that part of the judgment we pay.                              indemnitee; and
        If we make an offer to pay the applicable limit                   (2) Provides us with written authorization to:
        of insurance, we will not pay any prejudgment
        interest based on that period of time after the                       (a) Obtain records and other information
        offer.                                                                       related to the "suit"; and
   g. All interest on the full amount of any judgment                          (b) Conduct and control the defense of
        that accrues after entry of the judgment and                                 the indemnitee in such "suit".
        before we have paid, offered to pay, or                      So long as the above conditions are met,
        deposited in court the part of the judgment                  attorneys' fees incurred by us in the defense of
        that is within the applicable limit of insurance.            that indemnitee, necessary litigation expenses
   These payments will not reduce the limits of                      incurred by us and necessary litigation expenses
   insurance.                                                        incurred by the indemnitee at our request will be
                                                                     paid        as        Supplementary        Payments.
2. If we defend an insured against a "suit" and an                   Notwithstanding the provisions of Paragraph
   indemnitee of the insured is also named as a                      2.b.(2) of Section I – Coverage A – Bodily Injury
   party to the "suit", we will defend that indemnitee if            And Property Damage Liability, such payments
   all of the following conditions are met:                          will not be deemed to be damages for "bodily
   a. The "suit" against the indemnitee seeks                        injury" and "property damage" and will not reduce
        damages for which the insured has assumed                    the limits of insurance.
        the liability of the indemnitee in a contract or             Our obligation to defend an insured's indemnitee
        agreement that is an "insured contract";                     and to pay for attorneys' fees and necessary
   b. This insurance applies to such liability                       litigation expenses as Supplementary Payments
        assumed by the insured;                                      ends when we have used up the applicable limit of
   c. The obligation to defend, or the cost of the                   insurance in the payment of judgments or
        defense of, that indemnitee, has also been                   settlements or the conditions set forth above, or
        assumed by the insured in the same "insured                  the terms of the agreement described in
        contract";                                                   Paragraph f. above, are no longer met.
    d. The allegations in the "suit" and the                      SECTIONII – WHOIS AN INSURED
         information we know about the "occurrence"               1. If you are designated in the Declarations as:
         are such that no conflict appears to exist                  a. An individual, you and your spouse are
         between the interests of the insured and the                     insureds, but only with respect to the conduct
         interests of the indemnitee;                                     of a business of which you are the sole
    e.   The indemnitee and the insured ask us to                         owner.
         conduct and control the defense of that                     b. A partnership or joint venture, you are an
         indemnitee against such "suit" and agree that                    insured. Your members, your partners, and
         we can assign the same counsel to defend                         their spouses are also insureds, but only with
         the insured and the indemnitee; and                              respect to the conduct of your business.
    f.   The indemnitee:                                             c.   A limited liability company, you are an
         (1) Agrees in writing to:                                        insured. Your members are also insureds, but
             (a) Cooperate with         us in the                         only with respect to the conduct of your
                  investigation, settlement or defense                    business. Your managers are insureds, but
                  of the "suit";                                          only with respect to their duties as your
                                                                          managers.




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    d. An organization other than a partnership, joint       (b) Rented to, in the care, custody or
      venture or limited liability company, you are                                    control of, or over which physical
      an insured. Your "executive officers" and                                        control is being exercised for any
      directors are insureds, but only with respect to                                 purpose by; you, any of your
      their duties as your officers or directors. Your                                 "employees", "volunteer workers",
      stockholders are also insureds, but only with                                    any partner or member (if you are a
      respect to their liability as stockholders.                                      partnership or joint venture), or any
   e. A trust, you are an insured. Your trustees are                                   member (if you are a limited liability
      also insureds, but only with respect to their                                    company).
      duties as trustees.                                               b. Any person (other than your "employee" or
2. Each of the following is also an insured:                                 "volunteer worker"), or any organization while
                                                                             acting as your real estate manager.
   a. Your "volunteer workers" only while
      performing duties related to the conduct of                       c. Any person or organization having proper
      your business, or your "employees", other                              temporary custody of your property if you die,
      than either your "executive officers" (if you are                      but only:
      an organization other than a partnership, joint                        (1) With respect to liability arising out of the
      venture or limited liability company) or your                               maintenance or use of that property; and
      managers (if you are a limited liability                               (2) Until your legal representative has been
      company), but only for acts within the scope                                appointed.
      of their employment by you or while
      performing duties related to the conduct of                       d. Your legal representative if you die, but only
      your business. However, none of these                                  with respect to duties as such. That
      "employees" or "volunteer workers" are                                 representative will have all your rights and
      insureds for:                                                          duties under this Coverage Part.
      (1) "Bodily injury" or "personal and                         3.   Any organization you newly acquire or form, other
            advertising injury":                                        than a partnership, joint venture or limited liability
                                                                        company, and over which you maintain ownership
            (a) To you, to your partners or                             or majority interest, will qualify as a Named
                 members (if you are a partnership                      Insured if there is no other similar insurance
                 or joint venture), to your members (if                 available to that organization. However:
                 you are a limited liability company),
                 to a co-"employee" while in the                        a. Coverage under this provision is afforded only
                 course of his or her employment or                        until the 90th day after you acquire or form
                 performing duties related to the                          the organization or the end of the policy
                 conduct of your business, or to your                      period, whichever is earlier;
                 other "volunteer workers" while                        b. Coverage A does not apply to "bodily injury"
                 performing duties related to the                          or "property damage" that occurred before
                 conduct of your business;                                 you acquired or formed the organization; and
            (b) To the spouse, child, parent, brother                   c. Coverage B does not apply to "personal and
                 or sister of that co-"employee" or                         advertising injury" arising out of an offense
                 "volunteer       worker"      as     a                     committed before you acquired or formed the
                 consequence of Paragraph (1)(a)                            organization.
                 above;
                                                                   No person or organization is an insured with respect to
            (c) For which there is any obligation to               the conduct of any current or past partnership, joint
                 share damages with or repay                       venture or limited liability company that is not shown
                 someone else who must pay                         as a Named Insured in the Declarations.
                 damages because of the injury
                 described in Paragraph (1)(a) or (b)              SECTIONIII – LIMITS OF INSURANCE
                 above; or                                         1. The Limits of Insurance shown in the Declarations
                (d) Arising out of his or her providing or              and the rules below fix the most we will pay
                 failing to provide professional health                 regardless of the number of:
                 care services.                                         a. Insureds;
         (2) "Property damage" to property:                             b. Claims made or "suits" brought; or
             (a) Owned, occupied or used by;                            c. Persons or organizations making claims or
                                                                            bringing "suits".



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2. The General Aggregate Limit is the most we will       2. Duties In The Event Of Occurrence, Offense,
   pay for the sum of:                                      ClaimOr Suit
   a. Medical expenses under Coverage C;                    a. You must see to it that we are notified as
   b. Damages under Coverage A, except                          soon as practicable of an "occurrence" or an
          damages because of "bodily injury" or                         offense which may result in a claim. To the
          "property damage" included in the "products-                  extent possible, notice should include:
          completed operations hazard"; and                             (1) How, when and where the "occurrence"
     c.   Damages under Coverage B.                                          or offense took place;
3. The Products-Completed Operations Aggregate                          (2) The names and addresses of any injured
   Limit is the most we will pay under Coverage A for                        persons and witnesses; and
     damages because of "bodily injury" and "property                   (3) The nature and location of any injury or
     damage" included in the "products-completed                            damage arising out of the "occurrence"
     operations hazard".                                                    or offense.
4.   Subject to Paragraph 2. above, the Personal And                b. If a claim is made or "suit" is brought against
     Advertising Injury Limit is the most we will pay                  any insured, you must:
     under Coverage B for the sum of all damages                       (1) Immediately record the specifics of the
     because of all "personal and advertising injury"                       claim or "suit" and the date received; and
     sustained by any one person or organization.
                                                                        (2) Notify us as soon as practicable.
5. Subject to Paragraph 2. or 3. above, whichever
     applies, the Each Occurrence Limit is the most we                 You must see to it that we receive written
     will pay for the sum of:                                          notice of the claim or "suit" as soon as
                                                                       practicable.
     a. Damages under Coverage A; and
                                                                    c. You and any other involved insured must:
     b. Medical expenses under Coverage C
                                                                        (1) Immediately send us copies of any
   because of all "bodily injury" and "property                             demands, notices, summonses or legal
   damage" arising out of any one "occurrence".                             papers received in connection with the
6. Subject to Paragraph 5. above, the Damage To                             claim or "suit";
   Premises Rented To You Limit is the most we will                    (2) Authorize us to obtain records and other
   pay under Coverage A for damages because of                              information;
   "property damage" to any one premises, while
   rented to you, or in the case of damage by fire,                    (3) Cooperate with us in the investigation or
   while rented to you or temporarily occupied by you                       settlement of the claim or defense
   with permission of the owner.                                            against the "suit"; and
7. Subject to Paragraph 5. above, the Medical                          (4) Assist us, upon our request, in the
     Expense Limit is the most we will pay under                            enforcement of any right against any
     Coverage C for all medical expenses because of                         person or organization which may be
     "bodily injury" sustained by any one person.                           liable to the insured because of injury or
                                                                            damage to which this insurance may also
The Limits of Insurance of this Coverage Part apply                         apply.
separately to each consecutive annual period and to
any remaining period of less than 12 months, starting               d. No insured will, except at that insured's own
with the beginning of the policy period shown in the                   cost, voluntarily make a payment, assume
Declarations, unless the policy period is extended after               any obligation, or incur any expense, other
issuance for an additional period of less than 12                      than for first aid, without our consent.
months. In that case, the additional period will be              3. Legal Action Against Us
deemed part of the last preceding period for purposes
of determining the Limits of Insurance.                             No person or organization has a right under this
                                                                    Coverage Part:
SECTIONIV – COMMERCIAL GENERAL LIABILITY
CONDITIONS                                                          a. To join us as a party or otherwise bring us
                                                                       into a "suit" asking for damages from an
1. Bankruptcy                                                          insured; or
     Bankruptcy or insolvency of the insured or of the              b. To sue us on this Coverage Part unless all of
     insured's estate will not relieve us of our                       its terms have been fully complied with.
     obligations under this Coverage Part.




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    A person or organization may sue us to recover                                   for which you have been added as
    on an agreed settlement or on a final judgment                                   an additional insured.
    against an insured; but we will not be liable for                      (2) When this insurance is excess, we will
    damages that are not payable under the terms of                            have no duty under Coverages A or B to
    this Coverage Part or that are in excess of the                            defend the insured against any "suit" if
    applicable limit of insurance. An agreed                                   any other insurer has a duty to defend
    settlement means a settlement and release of                               the insured against that "suit". If no other
    liability signed by us, the insured and the claimant                       insurer defends, we will undertake to do
    or the claimant's legal representative.                                    so, but we will be entitled to the insured's
4. Other Insurance                                                             rights against all those other insurers.
    If other valid and collectible insurance is available                  (3) When this insurance is excess over other
    to the insured for a loss we cover under                                   insurance, we will pay only our share of
    Coverages A or B of this Coverage Part, our                                the amount of the loss, if any, that
    obligations are limited as follows:                                        exceeds the sum of:
    a. Primary Insurance                                                        (a) The total amount that all such other
        This insurance is primary except when                                       insurance would pay for the loss in
        Paragraph b. below applies. If this insurance                               the absence of this insurance; and
        is primary, our obligations are not affected                            (b) The total of all deductible and self-
        unless any of the other insurance is also                                   insured amounts under all that other
        primary. Then, we will share with all that                                  insurance.
        other insurance by the method described in                         (4) We will share the remaining loss, if any,
        Paragraph c. below.                                                    with any other insurance that is not
    b. Excess Insurance                                                        described in this Excess Insurance
       (1) This insurance is excess over:                                      provision and was not bought specifically
                                                                               to apply in excess of the Limits of
           (a) Any of the other insurance, whether                             Insurance shown in the Declarations of
                    primary, excess, contingent or on                          this Coverage Part.
                    any other basis:
                                                                       c. Method Of Sharing
                    (i) That       is Fire, Extended
                         Coverage, Builder's Risk,                         If all of the other insurance permits
                         Installation Risk or similar                      contribution by equal shares, we will follow
                         coverage for "your work";                         this method also. Under this approach each
                                                                           insurer contributes equal amounts until it has
                    (ii) That is Fire insurance for                        paid its applicable limit of insurance or none
                         premises rented to you or                         of the loss remains, whichever comes first.
                         temporarily occupied by you
                         with permission of the owner;                     If any of the other insurance does not permit
                                                                           contribution by equal shares, we will
                    (iii) That is insurance purchased by                   contribute by limits. Under this method, each
                         you to cover your liability as a                  insurer's share is based on the ratio of its
                         tenant for "property damage" to                   applicable limit of insurance to the total
                         premises rented to you or                         applicable limits of insurance of all insurers.
                         temporarily occupied by you
                         with permission of the owner;              5. PremiumAudit
                         or                                            a. We will compute all premiums for this
                    (iv) If the loss arises out of the                     Coverage Part in accordance with our rules
                         maintenance or use of aircraft,                   and rates.
                         "autos" or watercraft to the                  b. Premium shown in this Coverage Part as
                         extent not subject to Exclusion                   advance premium is a deposit premium only.
                         g. of Section I – Coverage A –                    At the close of each audit period we will
                         Bodily Injury And Property                        compute the earned premium for that period
                         Damage Liability.                                 and send notice to the first Named Insured.
                (b) Any other primary insurance                            The due date for audit and retrospective
                    available to you covering liability for                premiums is the date shown as the due date
                    damages arising out of the                             on the bill. If the sum of the advance and
                    premises or operations, or the                         audit premiums paid for the policy period is
                    products and completed operations,                     greater than the earned premium, we will
                                                                           return the excess to the first Named Insured.


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   c. The first Named Insured must keep records       b. Regarding web sites, only that part of a web
        of the information we need for premium                           site that is about your goods, products or
        computation, and send us copies at such                          services for the purposes of attracting
        times as we may request.                                         customers or supporters is considered an
6. Representations                                                       advertisement.
    By accepting this policy, you agree:                        2. "Auto" means:
    a. The statements in the Declarations are                      a. A land motor vehicle, trailer or semitrailer
        accurate and complete;                                         designed for travel on public roads, including
                                                                       any attached machinery or equipment; or
    b. Those statements are based upon
        representations you made to us; and                         b. Any other land vehicle that is subject to a
                                                                       compulsory or financial responsibility law or
    c. We have issued this policy in reliance upon                     other motor vehicle insurance law where it is
        your representations.                                          licensed or principally garaged.
7. Separation Of Insureds                                          However, "auto" does not include "mobile
    Except with respect to the Limits of Insurance,                equipment".
    and any rights or duties specifically assigned in           3. "Bodily injury" means bodily injury, sickness or
    this Coverage Part to the first Named Insured, this            disease sustained by a person, including death
    insurance applies:                                             resulting from any of these at any time.
    a. As if each Named Insured were the only                   4. "Coverage territory" means:
         Named Insured; and
                                                                   a. The United States of America (including its
    b. Separately to each insured against whom                          territories and possessions), Puerto Rico and
         claim is made or "suit" is brought.                            Canada;
8. Transfer Of Rights Of Recovery Against                          b. International waters or airspace, but only if
   Others To Us                                                         the injury or damage occurs in the course of
    If the insured has rights to recover all or part of                 travel or transportation between any places
    any payment we have made under this Coverage                        included in Paragraph a. above; or
    Part, those rights are transferred to us. The                  c. All other parts of the world if the injury or
    insured must do nothing after loss to impair them.                  damage arises out of:
    At our request, the insured will bring "suit" or
    transfer those rights to us and help us enforce                      (1) Goods or products made or sold by you
    them.                                                                     in the territory described in Paragraph a.
                                                                              above;
9. When We Do Not Renew
                                                                         (2) The activities of a person whose home is
    If we decide not to renew this Coverage Part, we                          in the territory described in Paragraph a.
    will mail or deliver to the first Named Insured                           above, but is away for a short time on
    shown in the Declarations written notice of the                           your business; or
    nonrenewal not less than 30 days before the
    expiration date.                                                     (3) "Personal and advertising injury"
                                                                              offenses that take place through the
    If notice is mailed, proof of mailing will be                             Internet or similar electronic means of
    sufficient proof of notice.                                               communication;
SECTIONV – DEFINITIONS                                             provided the insured's responsibility to pay
1. "Advertisement" means a notice that is broadcast                damages is determined in a "suit" on the merits, in
    or published to the general public or specific                 the territory described in Paragraph a. above or in
    market segments about your goods, products or                  a settlement we agree to.
    services for the purpose of attracting customers or         5. "Employee" includes a "leased worker".
    supporters. For the purposes of this definition:               "Employee" does not include a "temporary
    a. Notices that are published include material                 worker".
        placed on the Internet or on similar electronic         6. "Executive officer" means a person holding any of
        means of communication; and                                 the officer positions created by your charter,
                                                                    constitution, bylaws or any other similar governing
                                                                    document.




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7. "Hostile fire" means one which becomes              (a) Preparing, approving, or failing to
     uncontrollable or breaks out from where it was                                 prepare or approve, maps, shop
     intended to be.                                                                drawings, opinions, reports, surveys,
8.   "Impaired property" means tangible property,                                   field orders, change orders or
     other than "your product" or "your work", that                                 drawings and specifications; or
     cannot be used or is less useful because:                                 (b) Giving directions or instructions, or
     a. It incorporates "your product" or "your work"                                failing to give them, if that is the
          that is known or thought to be defective,                                  primary cause of the injury or
          deficient, inadequate or dangerous; or                                     damage; or
     b. You have failed to fulfill the terms of a                          (3) Under which the insured, if an architect,
          contract or agreement;                                                engineer or surveyor, assumes liability
                                                                                for an injury or damage arising out of the
     if such property can be restored to use by the                             insured's rendering or failure to render
     repair, replacement, adjustment or removal of                              professional services, including those
     "your product" or "your work" or your fulfilling the                       listed in (2) above and supervisory,
     terms of the contract or agreement.                                        inspection, architectural or engineering
9.   "Insured contract" means:                                                  activities.
     a. A contract for a lease of premises. However,              10. "Leased worker" means a person leased to you by
        that portion of the contract for a lease of                   a labor leasing firm under an agreement between
        premises that indemnifies any person or                       you and the labor leasing firm, to perform duties
        organization for damage by fire to premises                   related to the conduct of your business. "Leased
        while rented to you or temporarily occupied                   worker" does not include a "temporary worker".
        by you with permission of the owner is not an             11. "Loading or unloading" means the handling of
        "insured contract";                                           property:
     b. A sidetrack agreement;                                        a. After it is moved from the place where it is
     c. Any easement or license agreement, except                         accepted for movement into or onto an
        in connection with construction or demolition                     aircraft, watercraft or "auto";
        operations on or within 50 feet of a railroad;                b. While it is in or on an aircraft, watercraft or
     d. An obligation, as required by ordinance, to                       "auto"; or
        indemnify a municipality, except in connection                c. While it is being moved from an aircraft,
        with work for a municipality;                                      watercraft or "auto" to the place where it is
     e. An elevator maintenance agreement;                                 finally delivered;
     f. That part of any other contract or agreement                  but "loading or unloading" does not include the
        pertaining to your business (including an                     movement of property by means of a mechanical
        indemnification of a municipality in connection               device, other than a hand truck, that is not
        with work performed for a municipality) under                 attached to the aircraft, watercraft or "auto".
        which you assume the tort liability of another            12. "Mobile equipment" means any of the following
        party to pay for "bodily injury" or "property                 types of land vehicles, including any attached
        damage" to a third person or organization.                    machinery or equipment:
        Tort liability means a liability that would be
        imposed by law in the absence of any                          a. Bulldozers, farm machinery, forklifts and
        contract or agreement.                                            other vehicles designed for use principally off
                                                                          public roads;
        Paragraph f. does not include that part of any
        contract or agreement:                                        b. Vehicles maintained for use solely on or next
                                                                           to premises you own or rent;
        (1) That indemnifies a railroad for "bodily
             injury" or "property damage" arising out                 c.   Vehicles that travel on crawler treads;
             of construction or demolition operations,                d. Vehicles, whether self-propelled or not,
             within 50 feet of any railroad property                       maintained primarily to provide mobility to
             and affecting any railroad bridge or                          permanently mounted:
             trestle, tracks, road-beds, tunnel,                           (1) Power cranes, shovels, loaders, diggers
             underpass or crossing;                                            or drills; or
         (2) That indemnifies an architect, engineer                       (2) Road construction or resurfacing
                or surveyor for injury or damage arising                       equipment such as graders, scrapers or
                out of:                                                        rollers;


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    e. Vehicles not described in Paragraph a., b., c.       d. Oral or written publication, in any manner, of
       or d. above that are not self-propelled and             material that slanders or libels a person or
         are maintained primarily to provide mobility to                  organization or disparages a person's or
         permanently attached equipment of the                            organization's goods, products or services;
         following types:                                             e. Oral or written publication, in any manner, of
         (1) Air compressors, pumps and generators,                      material that violates a person's right of
              including spraying, welding, building                      privacy;
              cleaning,      geophysical     exploration,             f. The use of another's advertising idea in your
              lighting and well servicing equipment; or                  "advertisement"; or
         (2) Cherry pickers and similar devices used                  g. Infringing upon another's copyright, trade
              to raise or lower workers;                                 dress or slogan in your "advertisement".
    f.   Vehicles not described in Paragraph a., b., c.           15. "Pollutants" mean any solid, liquid, gaseous or
         or d. above maintained primarily for purposes                thermal irritant or contaminant, including smoke,
         other than the transportation of persons or                  vapor, soot, fumes, acids, alkalis, chemicals and
         cargo.                                                       waste. Waste includes materials to be recycled,
         However, self-propelled vehicles with the                    reconditioned or reclaimed.
         following types of permanently attached                  16. "Products-completed operations hazard":
         equipment are not "mobile equipment" but will
         be considered "autos":                                       a. Includes all "bodily injury" and "property
                                                                          damage" occurring away from premises you
         (1) Equipment designed primarily for:                            own or rent and arising out of "your product"
              (a) Snow removal;                                           or "your work" except:
              (b) Road maintenance,          but     not                  (1) Products that are still in your physical
                  construction or resurfacing; or                              possession; or
              (c) Street cleaning;                                        (2) Work that has not yet been completed or
         (2) Cherry pickers and similar devices                                abandoned. However, "your work" will be
              mounted on automobile or truck chassis                           deemed completed at the earliest of the
              and used to raise or lower workers; and                          following times:
         (3) Air compressors, pumps and generators,                             (a) When all of the work called for in
              including spraying, welding, building                                 your contract has been completed.
              cleaning,     geophysical      exploration,                       (b) When all of the work to be done at
              lighting and well servicing equipment.                                the job site has been completed if
    However, "mobile equipment" does not include                                    your contract calls for work at more
    any land vehicles that are subject to a compulsory                              than one job site.
    or financial responsibility law or other motor                             (c) When that part of the work done at a
    vehicle insurance law where it is licensed or                                 job site has been put to its intended
    principally garaged. Land vehicles subject to a                               use by any person or organization
    compulsory or financial responsibility law or other                           other than another contractor or
    motor vehicle insurance law are considered                                    subcontractor working on the same
    "autos".                                                                      project.
13. "Occurrence" means an accident, including                                 Work that may need service,
    continuous or repeated exposure to substantially                          maintenance, correction, repair or
    the same general harmful conditions.                                      replacement, but which is otherwise
14. "Personal and advertising injury" means injury,                           complete, will be treated as completed.
    including consequential "bodily injury", arising out              b. Does not include "bodily injury" or "property
    of one or more of the following offenses:                            damage" arising out of:
    a. False arrest, detention or imprisonment;                          (1) The transportation of property, unless the
    b. Malicious prosecution;                                                injury or damage arises out of a condition
                                                                             in or on a vehicle not owned or operated
    c. The wrongful eviction from, wrongful entry                            by you, and that condition was created
         into, or invasion of the right of private                           by the "loading or unloading" of that
         occupancy of a room, dwelling or premises                           vehicle by any insured;
         that a person occupies, committed by or on
         behalf of its owner, landlord or lessor;



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       (2) The existence of tools, uninstalled        21. "Your product":
           equipment or abandoned or unused               a. Means:
           materials; or
                                                              (1) Any goods or products, other than real
       (3) Products or operations for which the                    property, manufactured, sold, handled,
              classification, listed in the Declarations or                     distributed or disposed of by:
              in a policy Schedule, states that
              products-completed operations            are                      (a) You;
              subject to the General Aggregate Limit.                           (b) Others trading under your name; or
17. "Property damage" means:                                                    (c) A person or organization whose
    a. Physical injury to tangible property, including                              business or assets you have
         all resulting loss of use of that property. All                            acquired; and
         such loss of use shall be deemed to occur at                      (2) Containers (other than vehicles),
         the time of the physical injury that caused it;                        materials, parts or equipment furnished
         or                                                                     in connection with such goods or
    b. Loss of use of tangible property that is not                             products.
         physically injured. All such loss of use shall                 b. Includes:
         be deemed to occur at the time of the
         "occurrence" that caused it.                                       (1) Warranties or representations made at
                                                                                any time with respect to the fitness,
    For the purposes of this insurance, electronic data                         quality, durability, performance or use of
    is not tangible property.                                                   "your product"; and
    As used in this definition, electronic data means                       (2) The providing of or failure to provide
    information, facts or programs stored as or on,                             warnings or instructions.
    created or used on, or transmitted to or from
    computer software, including systems and                            c. Does not include vending machines or
    applications software, hard or floppy disks, CD-                       other property rented to or located for the
    ROMs, tapes, drives, cells, data processing                            use of others but not sold.
    devices or any other media which are used with                  22. "Your work":
    electronically controlled equipment.
                                                                        a. Means:
18. "Suit" means a civil proceeding in which damages
    because of "bodily injury", "property damage" or                       (1) Work or operations performed by you or
    "personal and advertising injury" to which this                             on your behalf; and
    insurance applies are alleged. "Suit" includes:                        (2) Materials, parts or equipment furnished
    a. An arbitration proceeding in which such                                  in connection with such work or
        damages are claimed and to which the                                    operations.
        insured must submit or does submit with our                     b. Includes:
        consent; or
                                                                           (1) Warranties or representations made at
    b. Any other alternative dispute resolution                                 any time with respect to the fitness,
         proceeding in which such damages are                                   quality, durability, performance or use of
         claimed and to which the insured submits                               "your work"; and
         with our consent.                                                 (2) The providing of or failure to provide
19. "Temporary worker" means a person who is                                    warnings or instructions.
    furnished to you to substitute for a permanent
    "employee" on leave or to meet seasonal or short-
    term workload conditions.
20. "Volunteer worker" means a person who is not
    your "employee", and who donates his or her work
    and acts at the direction of and within the scope of
    duties determined by you, and is not paid a fee,
    salary or other compensation by you or anyone
    else for their work performed for you.




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                                         #:142                         ENDORSEMENT
                                                                                                    NO.     0000

     ATTACHED TO AND
    FORMING A PART OF      ENDORSEMENT EFFECTIVE DATE                           NAMED INSURED                      AGENT NO.
      POLICY NUMBER          (12:01 A.M. STANDARD TIME)




KKO0000005740000                   09/01/15               EQUINOX HOLDINGS, INC.



                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        DUTIES INTHE EVENT OF OCCURRENCE, OFFENSE, CLAIMOR SUIT
                               REDEFINED
                            This endorsement modifies insurance provided under the following:
                                           SELF-INSURED RETENTION ENDORSEMENT
                                               (Defense Costs Included In Retention)

A. SECTIONIV—COMMERCIAL GENERAL LIABILITY CONDITIONS, 2. Duties In The Event of Occurrence, Of-
   fense, Claimor Suit is replaced by the following:
    2. Duties in the Event of Occurrence, Offense, Claimor Suit
        a. You must see to it that the Claims Service Company is notified promptly of an “occurrence” or an offense
               which may result in a claim. Notice should include:
               (1) How, when and where the “occurrence” or offense took place;
               (2) The names and addresses of any injured persons and witnesses; and
               (3) The nature and location of any injury or damage arising out of the “occurrence” or offense.
        b. You must see to it that we are notified promptly of an “occurrence” or an offense that may result in a claim or
               “suit,” which is likely to involve this policy or that involves the following:
               (1) Fatality;
               (2) Paralysis of any part of the body;
               (3) A major extremity or multiple minor extremity amputation;
               (4) A brain or brain stem injury;
               (5) Severe burns or disfigurement;
               (6) Partial or total blindness;
               (7) Loss or impairment of hearing;
               (8) A heart attack;
               (9) Sexual molestation, abuse, rape or harassment; or
               (10) Reserves that exceed 50% of the Self-Insured Retention




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               Notice should include:
               (1) How, when and where the “occurrence” or offense took place;
               (2) The names and addresses of any injured persons and witnesses. Failure to notify us of any act or omis-
                    sion which at the time of its happening did not appear to give rise to claims hereunder, shall not prejudice
                    such claims; and
               (3) The nature and location of any injury or damage arising out of the “occurrence” or offense.
               You and any other involved insured must:
               (1) Immediately send us copies of any demands, notices, summonses or legal papers received in connec-
                    tion with the claim or “suit”;
               (2) Authorize us to obtain records and other information;
               (3) Cooperate with us in the investigation, or settlement of the claim or defense against the “suit”; and
               (4) Assist us, upon our request, in the enforcement of any right against any person or organization which
                    may be liable to the Insured because of injury or damage to which this insurance may also apply.

        c. If a claim is made or “suit” is brought against any Insured involving this policy, you must see to it that we re-
               ceive prompt written notice of the claim or “suit.”




                                                              AUTHORIZED REPRESENTATIVE                           DATE



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                                         #:144                         ENDORSEMENT
                                                                                                          NO.     0000

     ATTACHED TO AND
    FORMING A PART OF     ENDORSEMENT EFFECTIVE DATE                            NAMED INSURED                            AGENT NO.
      POLICY NUMBER         (12:01 A.M. STANDARD TIME)




KKO0000005740000                    09/01/15             EQUINOX HOLDINGS, INC.



                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              SELF-INSURED RETENTIONENDORSEMENT
                                 (Defense Costs Included In Retention)
                               This endorsement modifies insurance provided under the following:

                                     COMMERCIAL GENERAL LIABILITY COVERAGE PART

AGREEMENT: Such insurance is as afforded by this pol-                  Upon satisfaction by the Insured of the aggregate Self-
icy shall apply in excess of the Self-Insured Retention as             Insured Retention, we shall have the right, subject to the
stated below:                                                          maintenance Self-Insured Retention if applicable, to as-
SELF-INSURED RETENTION: The words “Self-Insured                        sume charge of the settlement or defense of any claim or
Retention” shall mean the amount of loss which the In-                 “suit” against the Insured not yet settled, whether or not
sured shall pay first from claims otherwise covered under              reported to us.
the policy. Such Self-Insured Retention shall be primary or            If the maintenance Self-Insured Retention applies after the
underlying to such insurance as is afforded by this policy.            aggregate Self-Insured Retention has been satisfied by
The insured shall pay 100% of such Self-Insured Reten-                 the Insured, the Insured shall be responsible for and pay
tion before this policy applies.                                       all damages, either on an each claim or each occurrence
SELF-INSURED RETENTION                                                 basis, as applicable, up to the maintenance Self-Insured
                                                                       Retention for each claim or “occurrence.”
                           Each Claim
                                                                       Loss Adjustment Expenses and Defense Costs as de-
$250,000                   Each Occurrence                             fined in this Section are included within the Self-Insured
                           Aggregate                                   Retention(s).
                           Maintenance                                 It is agreed that all policy provisions regarding the right
                                                                       and duty of the Company to defend any “suit” against the
(Fill in amounts, if applicable.)                                      Insured seeking damages on account of “occurrence”
The Limits of Insurance of this policy shall be excess of              covered hereunder are deleted and replaced by the follow-
and not reduced by the Insured’s payments of damages                   ing:
and/or defense costs under the Self-Insured Retention(s).              A. The Company shall have no obligation to participate in
If the Self-Insured Retention applies to each claim, the                    or to assume charge of the investigation, defense, or
Insured shall be responsible for and pay up to that reten-                  settlement of any claims made, or “suits” brought or
tion all damages arising from each claim against the In-                    proceedings instituted against the Insured unless the
sured to which this policy applies.                                         retention of the Insured has been paid; but the Com-
                                                                            pany shall have the right and be given the opportunity
If the Self-Insured Retention applies to each “occurrence,”                 to associate with the Insured and the Insured’s de-
the Insured shall be responsible for and pay up to that re-                 fense counsel in defense and control of any claim,
tention all damages for which the Insured is liable in all                  “suit,” or proceeding relative to any “occurrence”
claims and/or “suits” arising from one “occurrence,” re-                    which, in the opinion of the Company, may involve li-
gardless of the number of persons or companies making                       ability on the part of the Company under the terms of
such claim(s) or properties sustaining such damages.                        this policy. In the event of the actual or probable ex-
If the Self-Insured Retention applies in the aggregate, the                 haustion or reduction of the Self-Insured Retention,
Insured shall be responsible for and pay all damages, ei-                   the Company, at its sole discretion, may elect to as-
ther on an each claim or each “occurrence” basis as appli-                  sume control and defense of any or all claims, “suits”
cable, up to the aggregate Self-Insured Retention.

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    and proceedings which, in the Company’s opinion,                          have paid, offered to pay, or deposited in court the
    may involve this policy.                                                  part of the judgment that is within the applicable
B. Unless the Company elects otherwise, the Insured                           limit of insurance.
    shall be solely responsible for the investigation, de-            We shall have the right and opportunity to associate, at
    fense, settlement and final disposition of any claim              our own expense, with the Insured in the defense, appeal,
    made or “suit” brought or proceedings instituted                  settlement, or control of any claim or "suit" to which this
    against the Insured to which this policy would apply up           policy applies seeking damages in excess of the Self-
    to the limit of the Self-Insured Retention. The Insured           Insured Retention. In such event, we and the Insured shall
    shall use due diligence and prudence to settle all such           cooperate fully.
    claims and “suits” which, in the exercise of sound                Should any claim or "suit" to which this policy applies ap-
    judgment should be settled; provided, however, that               pears likely to exceed the Self-Insured Retention, no de-
    the Insured shall not make or agree to any settlement             fense costs shall be incurred on behalf of us without our
    for any sum, which would involve the limits of this in-           prior consent.
    surance without the prior written approval of the Com-
    pany.                                                             Claim means, whenever used in this policy, a demand
                                                                      received by the Insured for money or services, including
For purposes of this endorsement, “Loss Adjustment                    the service of suit or institution of arbitration proceedings
Expense” shall mean expenditures, including, but not lim-             against the Insured.
ited to, investigations, experts, adjustment services, legal
services, court costs and other such costs.                           A. SECTION IV—COMMERCIAL GENERAL LIABILITY
                                                                         CONDITIONS, 2. Duties In The Event of Occur-
We shall have the right, but no obligation, in all cases, at
our expense, to assume charge of the defense or settle-
                                                                         rence, Offense, Claim or Suit is replaced by the fol-
                                                                          lowing:
ment of any claim, and, upon our written request, you shall
tender such portion of the Self-Insured Retention as we                   2. Duties in the Event of Occurrence, Offense,
may deem necessary to complete settlement of such                            Claimor Suit
claim.                                                                       a. You must see to it that the Claims Service
Defense costs, as used herein, means:                                               Company is notified promptly of an “occur-
    1. Claims expense, including attorneys fees, in-                                rence” or an offense which may result in a
        curred by or on behalf of the Insured in the han-                           claim. Notice should include:
        dling and defense of claims or “suits” against the                          (1) How, when and where the “occurrence” or
        Insured arising out of an “occurrence” to which                                 offense took place;
        this policy applies, but excluding salaries or
        wages of the Insured’s officers or employees or
                                                                                    (2) The names and addresses of any injured
                                                                                        persons and witnesses; and
        the Insured's office expenses.
    2. Up to $250 for the cost of bail bonds required be-                           (3) The nature and location of any injury or
                                                                                        damage arising out of the “occurrence” or
        cause of accidents or traffic law violations arising
                                                                                        offense.
        out of the use of any vehicle to which the Bodily
        Injury Liability Coverage applies. We do not have                     b. You must see to it that we are notified
        to furnish these bonds.                                                     promptly of an “occurrence” or an offense that
                                                                                    may result in a claim or “suit,” which is likely to
    3. The cost of bonds to release attachments, but                                involve this policy or that involves the follow-
        only for the bond amounts within the applicable
                                                                                    ing:
        limit of insurance. We do not have to furnish these
        bonds.                                                                      (1) Fatality;
    4. All reasonable expenses incurred by the Insured                              (2) Amputation of a major extremity;
        at our request to assist us in the investigation or                         (3) Any serious head injury, including skull
        defense of the claim or “suit,” including actual loss                           fracture, loss of sight of either or both
        of earnings up to $250 a day because of time off                                eyes, or serious hearing impairment;
        from work.
                                                                                    (4) Any injury to the spinal cord resulting in
    5. All costs taxed against the Insured in the “suit.”                               hemiplegia/paraplegia/quadriplegia;
    6. Prejudgment interest awarded against the insured                             (5) Any disability of more than one year or
        on that part of the judgment we pay. If we make                                 where it appears reasonably likely that
        an offer to apply the applicable limit of insurance,                            there will be a disability of more than one
        we will not pay any prejudgment interest based on                               year;
        that period of time after the offer.
                                                                                    (6) Any burn of 25% of more of the body;
    7. All interest on the full amount of any judgment that
        accrues after entry of the judgment and before we                           (7) Heart or vascular disorders;

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          (8) Accident where multiple injuries are             B. SPECIAL CONDITIONS
              involved;
                                                                  1. Under the terms and conditions of this Self-
          (9) Cosmetic deformities;                                  Insured Retention Endorsement, you shall con-
        (10) Loss of, or loss of function of, vital organ;           tract with:
        (11) Sexual molestation, abuse, rape, or                     EQUINOX HOLDINGS, INC
                  harassment;                                                        (Name of Claims Service Company)
          (12) Reserves at more than 50% of the In-                           to administer claims handling within the Self-
                  sured’s Self-Insured Retention;                             Insured Retention until the conclusion of all re-
                                                                              ported incidents or claims. The expiration or ter-
          (13) Verdict potential at more than 75% of the                      mination of this policy with us shall not absolve
                  Insured’s Self-insured Retention;                           you of this obligation.
          (14) All potential coverage disputes of bad                     2. In the event of a cancellation, expiration or revi-
                  faith situations that may give rise to an                   sion of the contract between you and the Claims
                  excess of original policy limits judgment or                Service Company, you will notify us within ten
                  an extra contractual obligation award; or                   days from the date of such cancellation, expiration
          (15) Any “suit” in which the ad damnum ex-                          or revision of the contract. If you fail to contract
                  ceeds the policy Limits of Insurance.                       with a substitute Claims Service Company ac-
                                                                              ceptable to us or are unable to pay for covered
           Notice should include:                                             damages, defense costs, or supplementary pay-
           (1) How, when and where the “occurrence” or                        ments within the Self-Insured Retention you ac-
                  offense took place;                                         knowledge that we shall have the right but not the
                                                                              obligation, including but not limited to contracting
           (2) The names and addresses of any injured                         directly with a Claims Service Company, to admin-
                  persons and witnesses. Failure to notify                    ister claims handling within the Self-Insured Re-
                  us of any act or omission which at the                      tention until the conclusion of all reported claims
                  time of its happening did not appear to                     and you shall indemnify us for any costs or ex-
                  give rise to claims hereunder, shall not                    penses incurred to administer claims handling
                  prejudice such claims; and                                  within the Self-Insured Retention should we elect
           (3) The nature and location of any injury or                       to exercise our rights under the circumstances set
                  damage arising out of the “occurrence” or                   forth above, including the right to contract directly
                  offense.                                                    with a Claims Service Company.
           You and any other involved insured must:                       3. We shall have the right but not the duty to assume
           (1) Immediately send us copies of any de-                          charge of the defense and/or settlement of any
                  mands, notices, summonses or legal pa-                      claim or “suit” brought against the Insured and,
                  pers received in connection with the claim                  upon written request from us, you shall tender
                  or “suit”;                                                  such portion of the Self-Insured Retention as we
                                                                              may deem necessary to complete the settlement
           (2) Authorize us to obtain records and other                       of such claim or "suit" and to pay for defense
                  information;                                                costs.
           (3) Cooperate with us in the investigation, or                 4. You shall provide us quarterly reports of all claims
                  settlement of the claim or defense against                  or incidents occurring within the Self-Insured Re-
                  the “suit”; and                                             tention including a description of each claim and
           (4) Assist us, upon our request, in the en-                        amounts paid or reserved. Each report is to be
                  forcement of any right against any person                   submitted within twenty (20) days following the
                  or organization which may be liable to the                  end of each quarterly period and this shall apply in
                  Insured because of injury or damage to                      addition to the individual claim reporting require-
                  which this insurance may also apply.                        ments set forth above.
       c. If a claim is made or “suit” is brought against              This policy will not drop down to assume or satisfy your
           any Insured involving this policy, you must                 obligation under the Self-Insured Retention.
           see to it that we receive prompt written notice
           of the claim or “suit.”




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      POLICY NUMBER       (12:01 A.M. STANDARD TIME)




 KKO0000005740000                09/01/15              EQUINOX HOLDINGS, INC.



             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            COMMERCIALGENERAL LIABILITYBROADENEDCOVERAGE
                             This endorsement modifies insurance provided under the following:

                                COMMERCIAL GENERAL LIABILITY COVERAGE FORM

A. SECTION I—COVERAGES, COVERAGE A                                     c. Material Published Prior To Policy Period
   BODILY INJURY AND PROPERTY DAMAGE                                       “Personal and advertising injury” arising out of
   LIABILITY, subsection 2. Exclusions, paragraph a.
   is replaced by:                                                         publication of material, including, but not limited
                                                                           to, oral, written, televised, videotaped or elec-
   a. “Bodily injury” or “property damage” expected or                     tronically transmitted publication of material,
        intended from the standpoint of the insured.                       whose first publication took place before the
        This exclusion does not apply to “bodily injury”                   beginning of the policy period.
        or “property damage” resulting from the use of
        reasonable force to protect persons or prop-
                                                                    D. SECTION I—COVERAGES, SUPPLEMENTARY
        erty.
                                                                       PAYMENTS—COVERAGES                A.     and    B.,
                                                                       paragraph 1.b. and 1.d. are replaced by:
B. SECTION I—COVERAGES, Coverage A. BODILY
   INJURY AND PROPERTY DAMAGE LIABILITY,                               b. Up to $1,000 for the cost of bail bonds required
   subsection 2. Exclusions, paragraph g.(2) is re-                        because of accidents or traffic law violations
                                                                           arising out of the use of any vehicle to which the
   placed by:
                                                                           Bodily Injury Liability Coverage applies. We do
   (2) A watercraft you do not own that is:                                not have to furnish these bonds.
       (a) Less than fifty-one (51) feet long; and                     d. All reasonable expenses incurred by the in-
                                                                           sured at our request to assist us in the investi-
       (b) Not being used to carry persons or property                     gation or defense of the claim or “suit,” including
             for a charge.
                                                                           actual loss of earnings up to $500 a day be-
C. SECTION I—COVERAGES, Coverage B.                                        cause of time off from work.
   PERSONAL AND ADVERTISING INJURY                                  E. The following replaces SECTION II—WHO IS AN
   LIABILITY, subsection 2. Exclusions, paragraph b.                   INSURED, 3.a.:
   and c. are replaced by:
                                                                       a. Coverage under this provision is afforded only
   b. Material Published With Knowledge of                                 until the 180th day after you acquire or form the
      Falsity                                                              organization or the end of the policy period,
        “Personal and advertising injury” arising out of                   whichever is earlier.
        publication of material, including, but not limited
        to, oral, written, televised, videotaped or elec-
        tronically transmitted publication of material, if
        done at the direction of the insured with knowl-
        edge of its falsity;




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F. The following are added to SECTION IV—          a. False arrest, detention or imprisonment;
   COMMERCIAL GENERAL LIABILITY CONDI-
   TIONS, paragraph 2. Duties In The Event of      b. Malicious prosecution or abuse of process;
   Occurrence, Offense, ClaimOr Suit:              c. The wrongful eviction from, wrongful entry
                                                                               into, or invasion of the right of private occu-
   Knowledge of the “occurrence,” offense, claim or
   “suit” by the agent, servant, or “employee” of an in-                       pancy of a room, dwelling or premises that
                                                                               a person occupies, committed by or on be-
   sured shall not in itself constitute your knowledge
                                                                               half of its owner, landlord or lessor;
   unless one of your officers, manager or partners
   has received notice of the “occurrence,” offense,                       d. Any publication of material including, but
   claim or “suit.”                                                            not limited to oral, written, televised, video-
   Failure by the agent, servant or “employee” of an                           taped or electronically transmitted publica-
                                                                               tion of material that slanders or libels a
   insured (other than an officer, manager or partner)
                                                                               person or organization or disparages a per-
   to notify us of an “occurrence” shall not constitute a
   failure to comply with Items a. and b. of this condi-                       son’s or organization’s goods, products or
                                                                               services;
   tion.
G. The following are added to SECTION IV—                                  e. Any publication of material, including but
                                                                               not limited to oral, written, televised, video-
   COMMERCIAL           GENERAL    LIABILITY
   CONDITIONS:                                                                 taped or electronically transmitted publica-
                                                                               tion of material that violates a person’s right
   Unintentional Error or Omission                                             of privacy;
    Any unintentional error or omission in the descrip-                    f. The use of another’s advertising idea in
    tion of or failure to completely describe, any prem-                       your “advertisement”; or
    ises or operations intended to be covered by this
    Coverage Part will not invalidate or affect coverage                   g. Infringing upon another’s copyright, trade
                                                                               dress or slogan in your “advertisement.”
    for those premises or operations. However, you
    must report such error or omission to us as soon as           I.   Broadened Coverage—Damage to Premises
    practicable after its discovery.                                   Rented to You
   Waiver of Right of Recovery                                         1. The word fire is replaced with the phrase fire or
    We waive all rights of recovery when you have                         explosion where it appears in:
    agreed to waive your rights of recovery when re-                      a. SECTION I—COVERAGES, Coverage A.,
    quired by a written contract. However, this provision                     2. Exclusions, j. Damage to Property;
    only applies if the written contract was executed
    prior to the date of the “occurrence.”                                b. SECTION I—COVERAGES, Coverage A.,
                                                                              2. Exclusions, last paragraph;
H. With respect to this endorsement, the following re-
   places SECTION V—DEFINITIONS, paragraph 3.                             c. SECTION III—LIMITS OF INSURANCE,
   and 14.:                                                                   Item 6.;

   3. “Bodily injury” means bodily injury, sickness or                    d. SECTION IV—COMMERCIAL GENERAL
       disease sustained by a person. This includes                           LIABILITY CONDITIONS, 4. Other
       mental anguish, mental injury, shock, fright,                          Insurance, Item (1)(b).
       humiliation, emotional distress or death result-                2. The Limit of Insurance applicable to Damage to
       ing from bodily injury, sickness or disease.                        Premises Rented to You is $300,000 unless a
  14. “Personal and advertising injury” means injury,                      higher limit is specified on the Commercial
       including consequential “bodily injury,” arising                    General Liability Coverage Part Supplemental
       out of one or more of the following offenses:                       Declarations.




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 KKO0000005740000              09/01/15                EQUINOX HOLDINGS, INC.



             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        ADDITIONALINSURED—MEDICAL PERSONNEL
                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                                                          SCHEDULE
Name of Person(s) or Organization(s):
EMPLOYEES AND VOLUNTEERS WHO ARE NURSES, EMERGENCY TECHINICIANS, FIRST AID
ATTENDANTS AND PARAMEDICS.




(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
applicable to this endorsement.)
SECTION II—WHO IS AN INSURED is amended to include as an insured the person(s) or organization(s) shown in
the Schedule but only with respect to liability arising out of your activities or operations. The person(s) or organiza-
tion(s) shown in the Schedule above shall not be an insured for “bodily injury” or “personal and advertising injury”
arising out of:
1. The rendering of or failure to render professional health care services other than “emergency medical services”;
   or
2. Acts or services performed by any insured who is not properly registered, licensed or certified to perform such
   acts or services, if such licensing, registration or certification is required by law or by any federal, state, or local
   governmental, regulatory or administrative agency.
For the purposes of this endorsement, “emergency medical services” means the providing or administering of imme-
diate first aid care, emergency care or basic life support care services to any person(s).




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 KKO0000005740000              09/01/15                EQUINOX HOLDINGS, INC.



           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           DELETION—CO-EMPLOYEE EXCLUSION
                         This endorsement modifies insurance provided under the following:

                             COMMERCIAL GENERAL LIABILITY COVERAGE FORM
        SECTION I—COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LI-
        ABILITY, 2. Exclusions, Paragraph e. Employer’s Liability is deleted if “bodily injury” to an
        “employee”:
             (1) Arises out of an action or omission of a fellow “employee;” and
             (2) Arises out of the fellow “employee’s” employment or while performing duties related to the
                  conduct of your business.
        For the purposes of this endorsement, SECTION II—WHO IS AN INSURED, Paragraph 2., Part
        a.(1), Subparagraphs (a), (b) and (c) are deleted.




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 KKO0000005740000              09/01/15                EQUINOX HOLDINGS, INC.



                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             EXCLUSION OF LIABILITY INSURANCE AFFORDED
                                      UNDER ANOTHER POLICY

                             This endorsement modifies insurance provided under the following:

                                  COMMERCIALGENERAL LIABILITY COVERAGE PART
This insurance does not apply to any claim or “suit” which is covered under any other insurance policy specifically desig-
nated in the Schedule below.
This exclusion applies to any claim or “suit” which:
   1.    Is covered under any replacement, renewal or extension of any such other policy; or
   2. Would have been covered under any such other policy, but for the exhaustion of limits, cancellation or expiration of
      such policy.

                                                 Schedule of Designated Policies

Policy                      Company                                               Operations or Premises
KKO 57401-00                NATIONAL CASUALTY CO                                  BLINK HOLDINGS, INC. OPERATIONS
                                                                                  (HEALTH CLUB)




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      POLICY NUMBER       (12:01 A.M. STANDARD TIME)




KKO0000005740000               09/01/15                EQUINOX HOLDINGS, INC.



                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                  POLICY CONDITIONS
                             This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART

    The Other Insurance condition of this Coverage Part is replaced by the provision marked below with an “X” in the
    box:
    Other Insurance
             If other valid and collectible insurance with any other insurer including any formal self-insured retention
             programs is available to you covering a loss also covered by this Coverage Part, other than insurance that
             is in excess of the insurance afforded by this Coverage Part, the insurance afforded by this Coverage Part
             shall be in excess of and shall not contribute with such other insurance. Nothing herein shall be construed
             to make this insurance subject to the terms, conditions and limitations of other insurance.
             Coverage afforded under this Coverage Part is primary insurance and Other Insurance shall not apply as
             respects


             as additional insureds.
    The Cancellation condition of this Coverage Part is amended by the addition of the following if an “X” is in the
    box:
         X Cancellation
             The following is added: It is a condition of the Policy by this Endorsement that the Policy will not be can-
             celled without *30 DAYS/10 DAYS NON PAY days’ prior written notice to:
             **                                                                                     and further,
             that the person(s) named above are not liable for the payment of any premiums or assessments on this
             Policy.
             *30 DAYS EXCEPT 10 DAYS FOR NON PAYMENT OF PREMIUM

             **ANY PERSON OR ORGANIZTION TO WHOM YOU BECOME LEGALLY OBLIGATED
             BY VALID WRITTEN CONTRACT




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      POLICY NUMBER        (12:01 A.M. STANDARD TIME)




 KKO0000005740000               09/01/15                EQUINOX HOLDINGS, INC.



             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        AMENDMENT OF OTHER INSURANCE CONDITION
                           This endorsement modifies insurance provided under the following:

                                COMMERCIAL GENERAL LIABILITY COVERAGE FORM
The following replaces SECTION IV—COMMERCIAL                                     products and completed operations, for
GENERAL LIABILITY CONDITIONS, 4. Other Insur-                                    which you have been added as an addi-
ance, Item b. Excess Insurance:                                                  tional insured by attachment of an en-
                                                                                 dorsement.
   b. Excess Insurance
                                                                             (3) Any other primary insurance available to
        This insurance is excess over:                                           you for damages arising out of premises or
        (1) Any of the other insurance, whether pri-                             operations for which any person or organi-
             mary, excess, contingent or on any other                            zation is obligated contractually to indemnify
             basis:                                                              you.
             (a) That is Fire, Extended Coverage, Build-                     When this insurance is excess, we will have no
                  er’s Risk, Installation Risk or similar                    duty under Coverages A or B to defend the in-
                  coverage for “your work”;                                  sured against any “suit” if any other insurer has
                                                                             a duty to defend the insured against that “suit.”
             (b) That is Fire insurance for premises                         If no other insurer defends, we will undertake to
                  rented to you or temporarily occupied by                   do so, but we will be entitled to the insured’s
                  you with permission of the owner;                          rights against all those other insurers.
             (c) That is insurance purchased by you to                       When this insurance is excess over other insur-
                  cover your liability as a tenant for “prop-                ance, we will pay only our share of the amount
                  erty damage” to premises rented to you                     of the loss, if any, that exceeds the sum of:
                  or temporarily occupied by you with
                  permission of the owner; or                                (a) The total amount that all such other insur-
                                                                                 ance would pay for the loss in the absence
             (d) If the loss arises out of the maintenance                       of this insurance; and
                  or use of aircraft, “autos” or watercraft
                  to the extent not subject to exclusion g.                  (b) The total of all deductible and self-insured
                  of SECTION I—COVERAGES, COV-                                   amounts under all that other insurance.
                  ERAGE A BODILY INJURY AND                                  We will share the remaining loss, if any, with
                  PROPERTY DAMAGE LIABILITY.                                 any other insurance that is not described in this
        (2) Any other primary insurance available to                         Excess Insurance provision and was not bought
             you covering liability for damages arising                      specifically to apply in excess of the Limits of
             out of the premises or operations, or the                       Insurance shown in the Declarations of this
                                                                             Coverage Part.




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POLICY NUMBER: KKO0000005740000                          COMMERCIAL GENERAL LIABILITY
                                                                         CG 20 01 04 13

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             PRIMARY ANDNONCONTRIBUTORY –
                               OTHERINSURANCE CONDITION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


The following is added to the Other Insurance                       (2) You have agreed in writing in a contract or
Condition and supersedes any provision to the contrary:                agreement that this insurance would be
                                                                       primary and would not seek contribution from
      Primary And Noncontributory Insurance                            any other insurance available to the additional
      This insurance is primary to and will not seek                   insured.
      contribution from any other insurance available to
      an additional insured under your policy provided
      that:
     (1) The additional insured is a Named Insured
         under such other insurance; and




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POLICY NUMBER: KKO0000005740000                         COMMERCIAL GENERAL LIABILITY
                                                                         CG21 47 12 07

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         EMPLOYMENT-RELATEDPRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,               B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily In-                  Exclusions of Section I – Coverage B – Personal
   jury And Property Damage Liability:                                And Advertising Injury Liability:
   This insurance does not apply to:                                  This insurance does not apply to:
   "Bodily injury" to:                                                "Personal and advertising injury" to:
  (1) A person arising out of any:                                   (1) A person arising out of any:
     (a) Refusal to employ that person;                                 (a) Refusal to employ that person;
     (b) Termination of that person's employment; or                    (b) Termination of that person's employment; or
     (c) Employment-related practices, policies, acts                   (c) Employment-related practices, policies, acts
          or omissions, such as coercion, demotion,                          or omissions, such as coercion, demotion,
          evaluation, reassignment, discipline, defama-                      evaluation, reassignment, discipline, defama-
          tion, harassment, humiliation, discrimination                      tion, harassment, humiliation, discrimination
          or malicious prosecution directed at that per-                     or malicious prosecution directed at that per-
          son; or                                                            son; or
  (2) The spouse, child, parent, brother or sister of that           (2) The spouse, child, parent, brother or sister of that
      person as a consequence of "bodily injury" to that                 person as a consequence of "personal and ad-
      person at whom any of the employment-related                       vertising injury" to that person at whom any of the
      practices described in Paragraphs (a), (b), or (c)                 employment-related practices described in Para-
      above is directed.                                                 graphs (a), (b), or (c) above is directed.
   This exclusion applies:                                            This exclusion applies:
  (1) Whether the injury-causing event described in                  (1) Whether the injury-causing event described in
      Paragraphs (a), (b) or (c) above occurs before                     Paragraphs (a), (b) or (c) above occurs before
      employment, during employment or after em-                         employment, during employment or after em-
      ployment of that person;                                           ployment of that person;
  (2) Whether the insured may be liable as an em-                    (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                               ployer or in any other capacity; and
  (3) To any obligation to share damages with or repay               (3) To any obligation to share damages with or repay
      someone else who must pay damages because                          someone else who must pay damages because
      of the injury.                                                     of the injury.




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POLICY NUMBER: KKO0000005740000                          COMMERCIAL GENERAL LIABILITY
                                                                         CG 01 63 07 11

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            NEWYORKCHANGES –
                 COMMERCIAL GENERAL LIABILITY COVERAGE FORM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Paragraph 1. Insuring Agreement of Section I –                     (3) Prior to the policy period, no insured listed
   Coverage A Bodily Injury And Property Damage                           under Paragraph 1. of Section II – Who Is
   Liability is replaced by the following:                                 An Insured and no "employee" authorized
                                                                           by you to give or receive notice of an
   1. Insuring Agreement                                                   "occurrence" or claim, knew that the
      a. We will pay those sums that the insured                           "bodily injury" or "property damage" had
         becomes legally obligated to pay as damages                       occurred, in whole or in part. If such a
         because of "bodily injury" or "property                           listed insured or authorized "employee"
         damage" to which this insurance applies. We                       knew, prior to the policy period, that the
         will have the right and duty to defend the                        "bodily injury" or "property damage"
         insured against any "suit" seeking those                          occurred, then any continuation, change
         damages even if the allegations of the "suit"                     or resumption of such "bodily injury" or
         are groundless, false or fraudulent. However,                     "property damage" during or after the
         we will have no duty to defend the insured                        policy period will be deemed to have been
         against any "suit" seeking damages for                            known prior to the policy period.
         "bodily injury" or "property damage" to which              c. "Bodily injury" or "property damage" which
         this insurance does not apply. We may, at our                 occurs during the policy period and was not,
         discretion, investigate any "occurrence" and                  prior to the policy period, known to have
         settle any claim or "suit" that may result. But:              occurred by any insured listed under
         (1) The amount we will pay for damages is                     Paragraph 1. of Section II – Who Is An
             limited as described in Section III – Limits              Insured or any "employee" authorized by you
             Of Insurance; and                                         to give or receive notice of an "occurrence" or
                                                                       claim, includes any continuation, change or
         (2) Our right and duty to defend end when we                  resumption of that "bodily injury" or "property
             have used up the applicable limit of                      damage" after the end of the policy period.
             insurance in the payment of judgments or
             settlements under Coverages A or B or                  d. "Bodily injury" or "property damage" will be
             medical expenses under Coverage C.                        deemed to have been known to have
                                                                       occurred at the earliest time when any
         No other obligation or liability to pay sums or               insured listed under Paragraph 1. of Section II
         perform acts or services is covered unless                    – Who Is An Insured or any "employee"
         explicitly provided for under Supplementary                   authorized by you to give or receive notice of
         Payments – Coverages A and B.                                 an "occurrence" or claim:
      b. This insurance applies to "bodily injury" and                (1) Reports all, or any part, of the "bodily
         "property damage" only if:                                        injury" or "property damage" to us or any
         (1) The "bodily injury" or "property damage" is                   other insurer;
             caused by an "occurrence" that takes                     (2) Receives a written or verbal demand or
             place in the "coverage territory";                            claim for damages because of the "bodily
         (2) The "bodily injury" or "property damage"                      injury" or "property damage"; or
             occurs during the policy period; and                     (3) Becomes aware by any other means that
                                                                           "bodily injury" or "property damage" has
                                                                           occurred or has begun to occur.


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      e. Damages because of "bodily injury" include
         damages claimed by any person or
                                                         (1) To join us as a party or otherwise bring us
          organization for care, loss of services or                           into a "suit" asking for damages from an
                                                                               insured; or
          death resulting at any time from the "bodily
          injury".                                                         (2) To sue us on this Coverage Part unless all
B. Paragraph 1.a. of Section I – Coverage B Personal                           of its terms have been fully complied with.
   And Advertising Injury Liability is replaced by the                     A person or organization may sue us to
   following:                                                              recover on an agreed settlement or on a final
                                                                           judgment against an insured; but we will not
   1. Insuring Agreement                                                   be liable for damages that are not payable
      a. We will pay those sums that the insured                           under the terms of this Coverage Part or that
          becomes legally obligated to pay as damages                      are in excess of the applicable limit of
          because of "personal and advertising injury"                     insurance. An agreed settlement means a
          to which this insurance applies. We will have                    settlement and release of liability signed by
          the right and duty to defend the insured                         us, the insured and the claimant or the
          against any "suit" seeking those damages                         claimant's legal representative.
          even if the allegations of the "suit" are                     b. With respect to "bodily injury" and "personal
          groundless, false or fraudulent. However, we                     and advertising injury" claims, if we deny
          will have no duty to defend the insured                          coverage or do not admit liability because an
          against any "suit" seeking damages for
                                                                           insured or the injured person, someone acting
          "personal and advertising injury" to which this                  for the injured person or other claimant fails to
          insurance does not apply. We may, at our                         give us written notice as soon as practicable,
          discretion, investigate any offense and settle                   then the injured person, someone acting for
          any claim or "suit" that may result. But:                        the injured person or other claimant may bring
         (1) The amount we will pay for damages is                         an action against us, provided the sole
             limited as described in Section III – Limits                  question is whether the denial of coverage or
                Of Insurance; and                                          nonadmission of liability is based on the
                                                                           failure to provide timely notice.
         (2) Our right and duty to defend end when we
                have used up the applicable limit of                       However, the injured person, someone acting
                insurance in the payment of judgments or                   for the injured person or other claimant may
                settlements under Coverages A and B or                     not bring an action if within 60 days after we
                medical expenses under Coverage C.                         deny coverage or do not admit liability, we or
                                                                           an insured:
          No other obligation or liability to pay sums or
          perform acts or services is covered unless                       (1) Brings an action to declare the rights of
          explicitly provided for under Supplementary                          the parties under the policy; and
          Payments – Coverages A and B.                                    (2) Names the injured person, someone
C. The following is added as Paragraph e. to the                               acting for the injured person or other
   Duties In The Event Of Occurrence, Offense,                                 claimant as a party to the action.
   Claim Or Suit Condition (Paragraph 2. of Section               E. The following provision is added and supersedes
   IV – Commercial General Liability Conditions):                   any provision to the contrary:
       e. Notice given by or on behalf of the insured, or            Failure to give notice to us as required under this
          written notice by or on behalf of the injured              Coverage Part shall not invalidate any claim made
          person or any other claimant, to any agent of              by the insured, injured person or any other claimant,
          ours in New York State, with particulars                   unless the failure to provide such timely notice has
          sufficient to identify the insured, shall be               prejudiced us. However, no claim made by the
          considered to be notice to us.                             insured, injured person or other claimant will be
D. Paragraph 3. of Section IV – Commercial General                   invalidated if it shall be shown not to have been
   Liability Conditions is replaced by the following:                reasonably possible to give such timely notice and
                                                                     that notice was given as soon as was reasonably
   3. Legal Action Against Us                                        possible thereafter.
      a. Except as provided in Paragraph b., no                   F. The definition of "loading or unloading" in the
          person or organization has a right under this              Definitions Section does not apply.
          Coverage Part:




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          EXHIBIT D
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                                             #:159
                                                                           WORKERS COMPENSATION AND EMPLOYERS’ LIABILITY
                                                                                    INSURANCE POLICY -- INFORMATION PAGE

INSURER:                                                                       POLICY NO:      WCC330508A
NATIONAL CASUALTY COMPANY
1100 Locust St. Dept 3000                                                      RENEWAL OF:               WCC330508A
Des Moines, IA 50391-3000                                                      NCCI Company No:          18805
                                                                               Account No:      330508
                                                                               RISK ID #911409895
                                                                               N.J. Taxpayer Identification No. 134034296000

ITEM 1.    NAMED INSURED AND MAILING ADDRESS:                                  PRODUCER NAME AND ADDRESS:
EQUINOX HOLDINGS INC                                                           K & K INSURANCE GROUP
ONE PARK AVENUE                                                                1712 MAGNAVOX WAY
NEW YORK NY 10016                                                              FORT WAYNE IN 46804


                                                                               PRODUCER NO.:         93627
   LEGAL ENTITY:              CORPORATION
   OTHER WORKPLACES NOT SHOWN ABOVE:                               (See Workers Compensation Classification Schedule)

ITEM 2.    POLICY PERIOD: From:               09-01-2015 To:                   09-15-2016
           Effective 12:01 A.M. Standard Time at the Insured’s mailing address.
ITEM 3.    COVERAGE:

   A.      Workers Compensation Insurance: Part One of the policy applies to the Workers Compensation Law of the states
           listed here:
           CA CT DC FL GA IL MA MD NJ NY TX VA

   B.      Employers’ Liability Insurance: Part Two of the policy applies to work in each state listed in Item 3.A. The limits of
           liability under Part Two are:

               Bodily Injury by Accident:                   $        1,000,000             each accident
               Bodily Injury by Disease:                    $        1,000,000             policy limit
               Bodily Injury by Disease:                    $        1,000,000             each employee

   C.      Other States Insurance: Part Three of the policy applies to the states, if any, listed here:
           AL AK AZ AR CO DE HI ID IN IA KS KY LA ME MI MN MS MO MT NE NV NH
           NM NC OK OR PA RI SC SD TN UT VT WV WI

   D.      This Policy includes these Endorsements and Schedules:
           See Schedule of Forms and Endorsements.
ITEM 4.    PREMIUM: The premium for this Policy will be determined by our Manuals of Rules, Classifications, Rates and
           Rating Plans. All information required on the Workers Compensation Classification Schedule is subject to
           verification and change by audit.
                                                                   Total Estimated
           Minimum Premium: $                                                  Annual Premium: $
           Audit Period: ANNUAL


           Issued At:
           Date:   09-02-15                                      Countersigned by




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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                              WC 04 00 01 A




                                                        INFORMATION PAGE

NATIONAL CASUALTY COMPANY                                                      Policy No.           WCC330508A
Insurer ID No(s).   18805                                                      Prior Policy No.     WCC330508A
1. Named Insured: EQUINOX HOLDINGS INC                                                              Individual
    Mailing Address: ONE PARK AVENUE                                                    X           Corporation
                     NEW YORK NY 10016
                                                                                                    Partnership
                                                                                                    LLC
                                                                                                    LLP
                                                                                                    Other:   CORPORATION
     FEIN:    XX-XXXXXXX
     Intra/ Interstate Risk ID No.        RISK ID #911409895
     Other workplaces not shown above:              See Schedule of Locations
2.   The policy period is from       09-01-2015 to 09-15-2016 12:01 A.M. standard time at the insured’s mailing address.
3.   A. Workers Compensation Insurance: Part One of the policy applies to the Workers Compensation Law of the states
        listed here:
     CA CT DC FL GA IL MA MD NJ NY TX VA


     B. Employers Liability Insurance: Part Two of the policy applies to work in each state listed in Item 3A. The limits of our
        liability under Part Two are:
                                      Bodily Injury by Accident          1,000,000                 each accident
                                      Bodily Injury by Disease           1,000,000                 policy limit
                                      Bodily Injury by Disease           1,000,000                 each employee
     C. Other States Insurance: Part Three of the policy applies to the states, if any, listed here:
         AL AK AZ AR CO DE HI ID IN IA KS KY LA ME MI MN MS MO MT NE
         NV NH NM NC OK OR PA RI SC SD TN UT VT WV WI

     D. This policy includes these endorsements and schedules:
         See Schedule of Forms and Endorsements
4.   The premium for this policy will be determined by our Manual of Rules, Classifications, Rates and Rating Plans. All
     information required below is subject to verification and change by audit.
                                                        Premium Basis                         Rate Per                 Estimated
     Code                                              Estimated Annual                       $100 of                   Annual
      No.           Classifications                     Remuneration                        Remuneration               Premium
     See Extension of Information Page
Experience Modification         See Extension of Information Page              Total Estimated Annual Premium      $
Minimum Premium                       $                                        Deposit Premium                     $
Premium Adjustment Period:            ANNUAL               Countersigned By
Producer Information:                 K & K INSURANCE GROUP                 93627
Servicing / Issuing Office
                                                                               Date


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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            WC 00 00 00 C
                                                                                                                              (Ed. 1-15)



                   WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY


In return for the payment of the premium and subject to                                           PART ONE
all terms of this policy, we agree with you as follows:                                 WORKERS COMPENSATION INSURANCE

                                                                                A. How This Insurance Applies
                    GENERAL SECTION                                                This workers compensation insurance applies to
                                                                                   bodily injury by accident or bodily injury by disease.
A. The Policy                                                                      Bodily injury includes resulting death.
   This policy includes at its effective date the Infor-                           1. Bodily injury by accident must occur during the
   mation Page and all endorsements and schedules                                      policy period.
   listed there. It is a contract of insurance between                             2. Bodily injury by disease must be caused or ag-
   you (the employer named in Item 1 of the Infor-                                     gravated by the conditions of your employment.
   mation Page) and us (the insurer named on the In-                                   The employee’s last day of last exposure to the
   formation Page). The only agreements relating to                                    conditions causing or aggravating such bodily in-
   this insurance are stated in this policy. The terms of                              jury by disease must occur during the policy
   this policy may not be changed or waived except                                     period.
   by endorsement issued by us to be part of this
   policy.
                                                                               B. We Will Pay
                                                                                  We will pay promptly when due the benefits required
B. Who is Insured
                                                                                  of you by the workers compensation law.
   You are insured if you are an employer named in
   Item 1 of the Information Page. If that employer is a
                                                                               C. We Will Defend
   partnership, and if you are one of its partners, you
   are insured, but only in your capacity as an em-                               We have the right and duty to defend at our expense
   ployer of the partnership’s employees.                                         any claim, proceeding or suit against you for benefits
                                                                                  payable by this insurance. We have the right to in-
                                                                                  vestigate and settle these claims, proceedings or
C. Workers Compensation Law                                                       suits.
   Workers Compensation Law means the workers or                                  We have no duty to defend a claim, proceeding or
   workmen’s compensation law and occupational                                    suit that is not covered by this insurance.
   disease law of each state or territory named in Item
   3.A. of the Information Page. It includes any
   amendments to that law which are in effect during                           D. We Will Also Pay
   the policy period. It does not include any federal                             We will also pay these costs, in addition to other
   workers or workmen’s compensation law, any fed-                                amounts payable under this insurance, as part of
   eral occupational disease law or the provisions of                             any claim, proceeding or suit we defend:
   any law that provide nonoccupational disability                                1. reasonable expenses incurred at our request,
   benefits.                                                                          but not loss of earnings;
                                                                                  2. premiums for bonds to release attachments and
D. State                                                                              for appeal bonds in bond amounts up to the
   State means any state of the United States of                                      amount payable under this insurance;
   America, and the District of Columbia.                                         3. litigation costs taxed against you;
                                                                                  4. interest on a judgment as required by law until
E. Locations                                                                          we offer the amount due under this insurance;
   This policy covers all of your workplaces listed in                                and
   Items 1 or 4 of the Information Page; and it covers                            5. expenses we incur.
   all other workplaces in Item 3.A. states unless you
   have other insurance or are self-insured for such                           E. Other Insurance
   workplaces.
                                                                                  We will not pay more than our share of benefits and
                                                                                  costs covered by this insurance and other



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    insurance or self-insurance. Subject to any limits of                                workers compensation law that apply to:
    liability that may apply, all shares will be equal until                             a. benefits payable by this insurance;
    the loss is paid. If any insurance or self-insurance
                                                                                         b. special taxes, payments into security or oth-
    is exhausted, the shares of all remaining insurance
    will be equal until the loss is paid.                                                    er special funds, and assessments payable
                                                                                             by us under that law.
                                                                                    6. Terms of this insurance that conflict with the
F. Payments You Must Make                                                                workers compensation law are changed by this
   You are responsible for any payments in excess of                                     statement to conform to that law.
   the benefits regularly provided by the workers                                   Nothing in these paragraphs relieves you of your du-
   compensation law including those required                                        ties under this policy.
   because:
   1. of your serious and willful misconduct;
   2. you knowingly employ an employee in violation                                              PART TWO
       of law;                                                                          EMPLOYERS LIABILITY INSURANCE
   3. you fail to comply with a health or safety law or
       regulation; or                                                          A. How This Insurance Applies
   4. you discharge, coerce or otherwise discriminate                             This employers liability insurance applies to bodily
       against any employee in violation of the workers                           injury by accident or bodily injury by disease. Bodily
       compensation law.                                                          injury includes resulting death.
   If we make any payments in excess of the benefits                              1. The bodily injury must arise out of and in the
   regularly provided by the workers compensation                                      course of the injured employee’s employment by
   law on your behalf, you will reimburse us promptly.                                 you.
                                                                                  2. The employment must be necessary or inci-
                                                                                       dental to your work in a state or territory listed in
G. Recovery From Others
                                                                                       Item 3.A. of the Information Page.
   We have your rights, and the rights of persons enti-
                                                                                  3. Bodily injury by accident must occur during the
   tled to the benefits of this insurance, to recover our                              policy period.
   payments from anyone liable for the injury. You will
   do everything necessary to protect those rights for                            4. Bodily injury by disease must be caused or ag-
   us and to help us enforce them.                                                     gravated by the conditions of your employment.
                                                                                       The employee’s last day of last exposure to the
                                                                                       conditions causing or aggravating such bodily in-
H. Statutory Provisions                                                                jury by disease must occur during the policy
   These statements apply where they are required by                                   period.
   law.                                                                           5. If you are sued, the original suit and any related
   1. As between an injured worker and us, we have                                     legal actions for damages for bodily injury by ac-
        notice of the injury when you have notice.                                     cident or by disease must be brought in the
   2. Your default or the bankruptcy or insolvency of                                  United States of America, its territories or pos-
        you or your estate will not relieve us of our du-                              sessions, or Canada.
        ties under this insurance after an injury occurs.
   3. We are directly and primarily liable to any per-                         B. We Will Pay
        son entitled to the benefits payable by this in-                          We will pay all sums that you legally must pay as
        surance. Those persons may enforce our duties;                            damages because of bodily injury to your employ-
        so may an agency authorized by law. Enforce-                              ees, provided the bodily injury is covered by this
        ment may be against us or against you and us.                             Employers Liability Insurance.
   4. Jurisdiction over you is jurisdiction over us for                           The damages we will pay, where recovery is permit-
        purposes of the workers compensation law. We                              ted by law, include damages:
        are bound by decisions against you under that
                                                                                  1. For which you are liable to a third party by rea-
        law, subject to the provisions of this policy that                            son of a claim or suit against you by that third
        are not in conflict with that law.
                                                                                      party to recover the damages claimed against
   5. This insurance conforms to the parts of the




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       such third party as a result of injury to your em-                              901–944), any other federal workers or work-
       ployee;                                                                         men’s compensation law or other federal occupa-
    2. For care and loss of services; and                                              tional disease law, or any amendments to these
                                                                                       laws;
    3. For consequential bodily injury to a spouse, child,
       parent, brother or sister of the injured employee;                           9. Bodily injury to any person in work subject to the
       provided that these damages are the direct con-                                 Federal Employers’ Liability Act (45 U.S.C. Sec-
       sequence of bodily injury that arises out of and in                             tions 51 et seq.), any other federal laws obligat-
       the course of the injured employee’s employment                                 ing an employer to pay damages to an employee
       by you; and                                                                     due to bodily injury arising out of or in the course
                                                                                       of employment, or any amendments to those
    4. Because of bodily injury to your employee that
                                                                                       laws;
       arises out of and in the course of employment,
       claimed against you in a capacity other than as                              10.Bodily injury to a master or member of the crew
       employer.                                                                       of any vessel, and does not cover punitive dam-
                                                                                       ages related to your duty or obligation to provide
C. Exclusions                                                                          transportation, wages, maintenance, and cure
                                                                                       under any applicable maritime law;
   This insurance does not cover:
                                                                                    11.Fines or penalties imposed for violation of federal
   1. Liability assumed under a contract. This exclu-                                  or state law; and
      sion does not apply to a warranty that your work
      will be done in a workmanlike manner;                                         12.Damages payable under the Migrant and Sea-
                                                                                       sonal Agricultural Worker Protection Act (29
   2. Punitive or exemplary damages because of bodi-                                   U.S.C. Sections 1801 et seq.) and under any
      ly injury to an employee employed in violation of                                other federal law awarding damages for violation
      law;                                                                             of those laws or regulations issued thereunder,
   3. Bodily injury to an employee while employed in                                   and any amendments to those laws.
      violation of law with your actual knowledge or the
      actual knowledge of any of your executive offic-                         D. We Will Defend
      ers;
                                                                                  We have the right and duty to defend, at our ex-
   4. Any obligation imposed by a workers compensa-                               pense, any claim, proceeding or suit against you for
      tion, occupational disease, unemployment com-
                                                                                  damages payable by this insurance. We have the
      pensation, or disability benefits law, or any simi-
                                                                                  right to investigate and settle these claims, proceed-
      lar law;
                                                                                  ings and suits.
   5. Bodily injury intentionally caused or aggravated
      by you;                                                                     We have no duty to defend a claim, proceeding or
                                                                                  suit that is not covered by this insurance. We have
   6. Bodily injury occurring outside the United States                           no duty to defend or continue defending after we
      of America, its territories or possessions, and                             have paid our applicable limit of liability under this
      Canada. This exclusion does not apply to bodily                             insurance.
      injury to a citizen or resident of the United States
      of America or Canada who is temporarily outside
      these countries;                                                         E. We Will Also Pay
   7. Damages arising out of coercion, criticism, de-                             We will also pay these costs, in addition to other
      motion, evaluation, reassignment, discipline, def-                          amounts payable under this insurance, as part of
      amation, harassment, humiliation, discrimination                            any claim, proceeding, or suit we defend:
      against or termination of any employee, or any                              1. Reasonable expenses incurred at our request,
      personnel practices, policies, acts or omissions;                              but not loss of earnings;
    8. Bodily injury to any person in work subject to the                         2. Premiums for bonds to release attachments and
       Longshore and Harbor Workers’ Compensation                                    for appeal bonds in bond amounts up to the limit
       Act (33 U.S.C. Sections 901 et seq.), the Nonap-                              of our liability under this insurance;
       propriated Fund Instrumentalities Act (5 U.S.C.                            3. Litigation costs taxed against you;
       Sections 8171 et seq.), the Outer Continental
                                                                                  4. Interest on a judgment as required by law until
       Shelf Lands Act (43 U.S.C. Sections 1331 et
                                                                                     we offer the amount due under this insurance;
       seq.), the Defense Base Act (42 U.S.C. Sections
                                                                                     and
       1651–1654), the Federal Mine Safety and Health
       Act (30 U.S.C. Sections 801 et seq. and                                    5. Expenses we incur.




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(Ed. 1-15)



F. Other Insurance
   We will not pay more than our share of damages                                       2. The amount you owe has been determined with
   and costs covered by this insurance and other in-                                        our consent or by actual trial and final judgment.
   surance or self-insurance. Subject to any limits of li-                              This insurance does not give anyone the right to add
   ability that apply, all shares will be equal until the                               us as a defendant in an action against you to deter-
   loss is paid. If any insurance or self-insurance is ex-                              mine your liability. The bankruptcy or insolvency of
   hausted, the shares of all remaining insurance and                                   you or your estate will not relieve us of our obliga-
   self-insurance will be equal until the loss is paid.                                 tions under this Part.

G. Limits of Liability                                                                                  PART THREE
   Our liability to pay for damages is limited. Our limits                                        OTHER STATES INSURANCE
   of liability are shown in Item 3.B. of the Information
   Page. They apply as explained below.                                            A. How This Insurance Applies
   1. Bodily Injury by Accident. The limit shown for                                  1. This other states insurance applies only if one or
        “bodily injury by accident—each accident” is the                                 more states are shown in Item 3.C. of the Infor-
        most we will pay for all damages covered by this                                 mation Page.
        insurance because of bodily injury to one or
                                                                                      2. If you begin work in any one of those states after
        more employees in any one accident.
                                                                                         the effective date of this policy and are not in-
        A disease is not bodily injury by accident unless                                sured or are not self-insured for such work, all
        it results directly from bodily injury by accident.                              provisions of the policy will apply as though that
   2. Bodily Injury by Disease. The limit shown for                                      state were listed in Item 3.A. of the Information
        “bodily injury by disease—policy limit” is the                                   Page.
        most we will pay for all damages covered by this                              3. We will reimburse you for the benefits required
        insurance and arising out of bodily injury by dis-                               by the workers compensation law of that state if
        ease, regardless of the number of employees                                      we are not permitted to pay the benefits directly
        who sustain bodily injury by disease. The limit                                  to persons entitled to them.
        shown for “bodily injury by disease—each em-                                  4. If you have work on the effective date of this pol-
        ployee” is the most we will pay for all damages                                  icy in any state not listed in Item 3.A. of the In-
        because of bodily injury by disease to any one                                   formation Page, coverage will not be afforded for
        employee.                                                                        that state unless we are notified within thirty
        Bodily injury by disease does not include dis-                                   days.
        ease that results directly from a bodily injury by
        accident.                                                                  B. Notice
   3. We will not pay any claims for damages after we                                 Tell us at once if you begin work in any state listed in
        have paid the applicable limit of our liability un-                           Item 3.C. of the Information Page.
        der this insurance.
                                                                                                        PART FOUR
H. Recovery From Others
                                                                                               YOUR DUTIES IF INJURY OCCURS
   We have your rights to recover our payment from
   anyone liable for an injury covered by this insurance.                               Tell us at once if injury occurs that may be covered
   You will do everything necessary to protect those                                    by this policy. Your other duties are listed here.
   rights for us and to help us enforce them.
                                                                                        1. Provide for immediate medical and other ser-
                                                                                             vices required by the workers compensation law.
I.      Actions Against Us
                                                                                        2. Give us or our agent the names and addresses
        There will be no right of action against us under this                               of the injured persons and of witnesses, and
        insurance unless:                                                                    other information we may need.
        1. You have complied with all the terms of this poli-                           3. Promptly give us all notices, demands and legal
            cy; and




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                                       #:165 INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            WC 00 00 00 C
                                                                                                                               (Ed. 1-15)



       papers related to the injury, claim, proceeding                         D. Premium Payments
       or suit.                                                                   You will pay all premium when due. You will pay the
    4. Cooperate with us and assist us, as we may re-                             premium even if part or all of a workers compensa-
       quest, in the investigation, settlement or defense                         tion law is not valid.
       of any claim, proceeding or suit.
    5. Do nothing after an injury occurs that would in-                        E. Final Premium
       terfere with our right to recover from others.                             The premium shown on the Information Page,
    6. Do not voluntarily make payments, assume obli-                             schedules, and endorsements is an estimate. The
       gations or incur expenses, except at your own                              final premium will be determined after this policy
       cost.                                                                      ends by using the actual, not the estimated, premi-
                                                                                  um basis and the proper classifications and rates
                                                                                  that lawfully apply to the business and work covered
                              PART FIVE
                                                                                  by this policy. If the final premium is more than the
                              PREMIUM                                             premium you paid to us, you must pay us the bal-
                                                                                  ance. If it is less, we will refund the balance to you.
A. Our Manuals                                                                    The final premium will not be less than the highest
   All premium for this policy will be determined by our                          minimum premium for the classifications covered by
   manuals of rules, rates, rating plans and classifica-                          this policy.
   tions. We may change our manuals and apply the                                 If this policy is canceled, final premium will be de-
   changes to this policy if authorized by law or a gov-                          termined in the following way unless our manuals
   ernmental agency regulating this insurance.                                    provide otherwise:
                                                                                  1. If we cancel, final premium will be calculated pro
B. Classifications                                                                      rata based on the time this policy was in force.
   Item 4 of the Information Page shows the rate and                                    Final premium will not be less than the pro rata
   premium basis for certain business or work classifi-                                 share of the minimum premium.
   cations. These classifications were assigned based                             2. If you cancel, final premium will be more than
   on an estimate of the exposures you would have                                       pro rata; it will be based on the time this policy
   during the policy period. If your actual exposures are                               was in force, and increased by our short-rate
   not properly described by those classifications, we                                  cancelation table and procedure. Final premium
   will assign proper classifications, rates and premium                                will not be less than the minimum premium.
   basis by endorsement to this policy.
                                                                               F. Records
C. Remuneration
                                                                                  You will keep records of information needed to com-
   Premium for each work classification is determined                             pute premium. You will provide us with copies of
   by multiplying a rate times a premium basis. Remu-                             those records when we ask for them.
   neration is the most common premium basis. This
   premium basis includes payroll and all other remu-
                                                                               G. Audit
   neration paid or payable during the policy period for
   the services of:                                                               You will let us examine and audit all your records
                                                                                  that relate to this policy. These records include ledg-
   1. all your officers and employees engaged in work
                                                                                  ers, journals, registers, vouchers, contracts, tax re-
       covered by this policy; and
                                                                                  ports, payroll and disbursement records, and pro-
   2. all other persons engaged in work that could                                grams for storing and retrieving data. We may con-
       make us liable under Part One (Workers Com-                                duct the audits during regular business hours during
       pensation Insurance) of this policy. If you do not                         the policy period and within three years after the pol-
       have payroll records for these persons, the con-                           icy period ends. Information developed by audit will
       tract price for their services and materials may                           be used to determine final premium. Insurance rate
       be used as the premium basis. This paragraph 2                             service organizations have the same rights we have
       will not apply if you give us proof that the em-                           under this provision.
       ployers of these persons lawfully secured their
       workers compensation obligations.




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                        WORKERS COMPENSATION
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                                                                                    If you die and we receive notice within thirty days af-
                           PART SIX                                                 ter your death, we will cover your legal representa-
                          CONDITIONS                                                tive as insured.

A. Inspection                                                                  D. Cancelation
   We have the right, but are not obliged to inspect                              1. You may cancel this policy. You must mail or de-
   your workplaces at any time. Our inspections are not                              liver advance written notice to us stating when
   safety inspections. They relate only to the insurabil-                            the cancelation is to take effect.
   ity of the workplaces and the premiums to be                                   2. We may cancel this policy. We must mail or de-
   charged. We may give you reports on the conditions                                liver to you not less than ten days advance writ-
   we find. We may also recommend changes. While                                     ten notice stating when the cancelation is to take
   they may help reduce losses, we do not undertake                                  effect. Mailing that notice to you at your mailing
   to perform the duty of any person to provide for the                              address shown in Item 1 of the Information Page
   health or safety of your employees or the public. We                              will be sufficient to prove notice.
   do not warrant that your workplaces are safe or
   healthful or that they comply with laws, regulations,                          3. The policy period will end on the day and hour
   codes or standards. Insurance rate service organiza-                              stated in the cancelation notice.
   tions have the same rights we have under this                                  4. Any of these provisions that conflict with a law
   provision.                                                                        that controls the cancelation of the insurance in
                                                                                     this policy is changed by this statement to com-
B. Long Term Policy                                                                  ply with the law.
   If the policy period is longer than one year and six-
   teen days, all provisions of this policy will apply as                      E. Sole Representative
   though a new policy were issued on each annual                                 The insured first named in Item 1 of the Information
   anniversary that this policy is in force.                                      Page will act on behalf of all insureds to change this
                                                                                  policy, receive return premium, and give or receive
C. Transfer of Your Rights and Duties                                             notice of cancelation.
   Your rights or duties under this policy may not be
   transferred without our written consent.




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                          WORKERS COMPENSATION




                                                              SCHEDULE

                                                                                            DESIGNATED WORKERS
                      EMPLOYEES                              STATE OF EMPLOYMENT             COMPENSATION LAW

ALL OFFICERS AND EMPLOYEES,                                  CA                           STATE OF HIRE
INCLUDING ANY VOLUNTEERS NOT                                 CT
SUBJECT TO THE WORKERS                                       DC
COMPENSATION LAW EXCEPT                                      FL
MASTERS AND MEMBERS OF THE                                   GA
CREW OF ANY VESSEL                                           IL
                                                             MD
                                                             NY
                                                             TX
                                                             VA
                                                             MA
                                                             NJ




This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 09-01-15                      Policy No. WCC330508A                   Endorsement No.

Insured   EQUINOX HOLDINGS INC                                                               Premium $   INCL.
Insurance Company         NATIONAL CASUALTY COMPANY
                                                                       Countersigned By




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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                                WC 04 03 01 B

                                                                                                                                 (Ed. 01-12)

                                     POLICY AMENDATORY ENDORSEMENT CALIFORNIA

It is agreed that, anything in the policy to the contrary notwithstanding, such insurance as is afforded by this policy by reason of the
designation of California in Item 3 of the Information Page is subject to the following provisions:

1.   Minors Illegally Employed --- Not Insured. This policy does not cover liability for additional compensation imposed on you
     under Section 4557, Division IV, Labor Code of the State of California, by reason of injury to an employee under sixteen years
     of age and illegally employed at the time of injury.

2.   Punitive or Exemplary Damages --- Uninsurable. This policy does not cover punitive or exemplary damages where insurance of
     liability therefor is prohibited by law or contrary to public policy.

3.   Increase in Indemnity Payment --- Reimbursement. You are obligated to reimburse us for the amount of increase in indemnity
     payments made pursuant to Subdivision (d) of Section 4650 of the California Labor Code, if the late indemnity payment which
     gives rise to the increase in the amount of payment is due less than seven (7) days after we receive the completed claim form
     from you. You are obligated to reimburse us for any increase in indemnity payments not covered under this policy and will
     reimburse us for any increase in indemnity payment not covered under the policy when the aggregate total amount of the
     reimbursement payments paid in a policy year exceeds one hundred dollars ($100).

     If we notify you in writing, within 30 days of the payment, that you are obligated to reimburse us, we will bill you for the
     amount of increase in indemnity payment and collect it no later than the final audit. You will have 60 days, following notice of
     the obligation to reimburse, to appeal the decision of the insurer to the Department of Insurance.

4.   Application of Policy. Part One, "Workers Compensation Insurance", A, "How This Insurance Applies", is amended to read as
     follows:

     This workers compensation insurance applies to bodily injury by accident or disease, including death resulting therefrom. Bodily
     injury by accident must occur during the policy period. Bodily injury by disease must be caused or aggravated by the conditions
     of your employment. Your employee’s exposure to those conditions causing or aggravating such bodily injury by disease must
     occur during the policy period.

5.   Rate Changes. The premium and rates with respect to the insurance provided by this policy by reason of the designation of
     California in Item 3 of the Information Page are subject to change if ordered by the Insurance Commissioner of the State of
     California pursuant to Section 11737 of the California Insurance Code.

6.   Long Term Policy. If this policy is written for a period longer than one year, all the provisions of this policy shall apply
     separately to each consecutive twelve-month period or, if the first or last consecutive period is less than twelve months, to such
     period of less than twelve months, in the same manner as if a separate policy had been written for each consecutive period.

7.   Statutory Provision. Your employee has a first lien upon any amount which becomes owing to you by us on account of this
     policy, and in the case of your legal incapacity or inability to receive the money and pay it to the claimant, we will pay it directly
     to the claimant.

8.   Part Five, "Premium", E, "Final Premium", is amended to read as follows:

     The premium shown on the Information Page, schedules, and endorsements is an estimate. The final premium will be
     determined after this policy ends by using the actual, not the estimated, premium basis and the proper classifications and rates
     that lawfully apply to the business and work covered by this policy. If the final premium is more than the premium you paid to
     us, you must pay us the balance. If it is less, we will refund the balance to you. The final premium will not be less than the
     highest minimum premium for the classifications covered by this policy.

     If this policy is canceled, final premium will be determined in the following way unless our manuals provide otherwise:

     a.   If we cancel, final premium will be calculated pro rata based on the time this policy was in force. Final premium will not be
          less than the pro rata share of the minimum premium.
     b.   If you cancel, final premium may be more than pro rata; it will be based on the time this policy was in force, and may be
          increased by our short-rate cancelation table and procedure. Final premium will not be less than the pro rata share of the
          minimum premium.




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It is further agreed that this policy, including all endorsements forming a part thereof, constitutes the entire contract of insurance.
No condition, provision, agreement, or understanding not set forth in this policy or such endorsements shall affect such contract or
any rights, duties, or privileges arising therefrom.




 This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

 Endorsement Effective 09-01-15                   Policy No. WCC330508A                                   Endorsement No.

 Insured      EQUINOX HOLDINGS INC                                                                           Premium $      INCL.
 Insurance Company        NATIONAL CASUALTY COMPANY
                                                                       Countersigned By




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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                         WC 04 03 10




                                          DUTY TO DEFEND-CALIFORNIA


The insurance afforded by Part One, Section C, "We Will Defend", is hereby deleted and replaced with the following:

WE WILL DEFEND

We have the right and duty to defend at our expense any claim or proceeding against you before the California
Workers’ Compensation Appeals Board or its equivalent in any other state (and any appeal of a decision therefrom)
for the benefits payable by this workers’ compensation insurance. We have the right to investigate and settle these
claims or proceedings.

We have no duty to defend a claim, proceeding, or suit that is not covered by this insurance.

Nothing contained in this Section shall amend, modify, restrict or otherwise alter any obligations or conditions under
Part Two-Employer’s Liability Insurance of the policy.




This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 09-01-15                    Policy No. WCC330508A                                  Endorsement No.

Insured   EQUINOX HOLDINGS INC                                                                            Premium $   INCL.
Insurance Company       NATIONAL CASUALTY COMPANY
                                                                       Countersigned By



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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                   WC 04 03 60 B
                                                                                                                  (Ed. 01-15)


          EMPLOYERS’ LIABILITY COVERAGE AMENDATORY ENDORSEMENT                                     CALIFORNIA

The insurance afforded by Part Two (Employers’ Liability Insurance) by reason of designation of California in item
3 of the information page is subject to the following provisions:

A. “How This Insurance Applies,” is amended to read as follows:

        A. How This Insurance Applies

            This employers’ liability insurance applies to bodily injury by accident or bodily injury by disease. Bodily
            injury means a physical injury, including resulting death.

            1.    The bodily injury must arise out of and in the course of the injured employee’s employment by you.
            2.    The employment must be necessary or incidental to your work in California.
            3.    Bodily injury by accident must occur during the policy period.
            4.    Bodily injury by disease must be caused or aggravated by the conditions of your employment. The
                  employee’s last day of last exposure to the conditions causing or aggravating such bodily injury by
                  disease must occur during the policy period.
            5.    If you are sued, the original suit and any related legal actions for damages for bodily injury by
                  accident or by disease must be brought in the United States of America, its territories or
                  possessions, or Canada.
C.    The “Exclusions” section is modified as follows (all other exclusions in the “Exclusions” section remain as is):

            1.    Exclusion 1 is amended to read as follows:
                         1.      liability assumed under a contract.

            2.    Exclusion 2 is deleted.

            3.    Exclusion 7 is amended to read as follows:
                         7.      damages arising out of coercion, criticism, demotion, evaluation, reassignment,
                                 discipline, defamation, harassment, humiliation, discrimination against or termination
                                 of any employee, termination of employment, or any personnel practices, policies,
                                 acts or omissions.

            4.    The following exclusions are added:
                         1.     bodily injury to any member of the flying crew of any aircraft.
                         2.     bodily injury to an employee when you are deprived of statutory or common law
                                defenses or are subject to penalty because of your failure to secure your obligations
                                under the workers’ compensation law(s) applicable to you or otherwise fail to comply
                                with that law.
                         3.     liability arising from California Labor Code Section 2810.3 which relates to labor
                                contracting.
       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Endorsement Effective 09-01-15                      Policy No. WCC330508A                             Endorsement No.
Insured EQUINOX          HOLDINGS INC                                                                 Premium $ INCL.
Insurance Company NATIONAL                 CASUALTY COMPANY

                                                                         Countersigned By




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